EXHIBIT D
                             GIUFFRE

                                  VS.

                            MAXWELL
                               Deposition


                       VIRGINIA GIUFFRE

                               05/03/2016



_______________________________________________________________________




      Agren Blando Court Reporting & Video, Inc.
                       216 16th Street, Suite 600
                       Denver Colorado, 80202
                            303-296-0017
                                       Agren Blando Court Reporting & Video, Inc.
                                                            Page 1                                                               Page 3
             IN THE UNITED STATES DISTRICT COURT                      1          Pursuant to Notice and the Federal Rules
                  SOUTHERN DISTRICT OF NEW YORK                       2   of Civil Procedure, the VIDEOTAPED DEPOSITION OF
     Civil Action No. 15-cv-07433-RWS                                 3   VIRGINIA GIUFFRE, called by Defendant, was taken on
     __________________________________________________
                                                                      4   Tuesday, May 3, 2016, commencing at 9:00 a.m., at 150
     CONFIDENTIAL VIDEOTAPED DEPOSITION OF
     VIRGINIA GIUFFRE           May 3, 2016                           5   East 10th Avenue, Denver, Colorado, before Kelly A.
     __________________________________________________
                                                                      6   Mackereth, Certified Shorthand Reporter, Registered
     VIRGINIA L. GIUFFRE,
                                                                      7   Professional Reporter, Certified Realtime Reporter
     Plaintiff,
                                                                      8   and Notary Public within Colorado.
     v.
                                                                      9
     GHISLAINE MAXWELL,                                                                *******
                                                                     10                 INDEX
     Defendant.
     __________________________________________________              11
                                                                          EXAMINATION                           PAGE
     APPEARANCES:                                                    12
                                                                          MS. MENNINGER                            8
          FAMER, JAFFE, WEISSING, EDWARDS, FISTOS &                  13
          LEHRMAN, P.L.
            By Brad Edwards, Esq.                                    14   PRODUCTION REQUEST(S):
              425 N. Andrews Avenue
              Suite 2                                                15   (None.)
              Fort Lauderdale, FL 33301
              Phone: 954.524.2820                                    16
              brad@pathtojustice.com
              Appearing on behalf of the                             17
              Plaintiff
                                                                     18
          BOIES, SCHILLER & FLEXNER LLP                              19
            By Sigrid S. McCawley, Esq. (For Portion)
              401 East Las Olas Boulevard                            20
              Suite 1200
              Fort Lauderdale, FL 33301-2211                         21
              Phone: 954.356.0011
              smccawley@bsfllp.com                                   22
              Appearing on behalf of the
              Plaintiff                                              23
                                                                     24
                                                                     25

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 1        APPEARANCES: (Continued)                                    1                 INDEX OF EXHIBITS
 2           HADDON, MORGAN AND FORMAN, P.C.                          2
               By Laura A. Menninger, Esq.                                                                     INITIAL
 3               Jeffrey S. Pagliuca, Esq.                            3   DESCRIPTION                                REFERENCE
                 150 East 10th Avenue
 4               Denver, CO 80203                                     4
                 Phone: 303.831.7364                                       Exhibit 1 Complaint and Demand for Jury                  17
 5               lmenninger@hmflaw.com                                5             Trial re Jane Doe No. 102 v.
                 jpagliuca@hmflaw.com                                               Jeffrey Epstein
 6               Appearing on behalf of the                           6
                 Defendant                                                 Exhibit 2 Jane Doe #3 and Jane Doe #4's                  21
 7                                                                    7             Motion Pursuant to Rule 21 for
          Also Present:                                                             Joinder in Action
 8                Brenda Rodriguez, Paralegal                         8
                  Nicholas F. Borgia, CLVS Videographer                    Exhibit 3 Declaration of Virginia L.     23
 9                                                                    9             Giuffre re Jane Doe #1 and Jane
                                                                                    Doe #2 vs. United States of
10                                                                   10             America
11                                                                   11    Exhibit 4 Declaration of Jane Doe 3 re   31
                                                                                    Jane Doe #1 and Jane Doe #2 vs.
12                                                                   12             United States of America
13                                                                   13    Exhibit 5 Declaration of Virginia Giuffre           33
                                                                                    re Bradley J. Edwar
14                                                                   14                       ssell vs.
15                                                                   15
                                                                           Exhibit 6 FBI documentation, date of entry 36
16                                                                   16             7/5/13
17                                                                   17    Exhibit 7 Document titled Telecon,                  39
                                                                                    Participants Jack Scarola, Brad
18                                                                   18             Edwards, Virginia Roberts. Re
                                                                                    Edwards adv. Epstein, 4/7/11,
19                                                                   19             (23 pages of transcription)
20                                                                   20    Exhibit 8 The Billionaire's Playboy Club,           41
                                                                                    By Virginia Roberts
21                                                                   21
                                                                           Exhibit 9 Plaintiff's Response and               44
22                                                                   22             Objections to Defendant's First
                                                                                    Set of Discovery Requests to
23                                                                   23             Plaintiff re Giuffre v. Maxwell
24                                                                   24
25                                                                   25

                                                        VIRGINIA GIUFFRE 5/3/2016                                                   1 (1 - 4)
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                                                       Page 5                                                            Page 7
 1                                                               1                    *******
                                    INITIAL
 2   DESCRIPTION                          REFERENCE              2                 PROCEEDINGS
 3                                                               3           THE VIDEOGRAPHER: We're on the record at
     Exhibit 10 Plaintiff's Supplemental         46
 4            Response and Objections to                         4   9 a.m. Today is May 3rd, 2016. This begins the
              Defendant's First Set of
 5            Discovery Requests to Plaintiff                    5   videotaped deposition of Virginia Giuffre in the
 6   Exhibit 11 Undated Declaration of Virginia       46         6   matter of Virginia L. Giuffre versus Ghislaine
              Giuffre re Plaintiff's
 7            Supplemental Response and                          7   Maxwell.
              Objections to Defendant's First
 8            Set of Discovery Requests served                   8           We're located at 150 East 10th Street --
              on March 22, 2016
 9                                                               9   excuse me, 10th Ave., in Denver, Colorado.
     Exhibit 12 Plaintiff's Second Amended           47
10            Supplemental Response and                         10           Our court reporter is Kelly Mackereth.
              Objections to Defendant's First
11            Set of Discovery Requests to                      11   The videographer is Nicholas F. Borgia, CLVS.
              Plaintiff
12                                                              12           Will counsel please introduce yourselves
     Exhibit 13 Mrs. Virginia Giuffre resume         67
13                                                              13   for the record.
     Exhibit 14 Compilation of e-mails re Open        68
14            Position - Virginia Giuffre                       14           MR. EDWARDS: Sure. Brad Edwards and
15   Exhibit 15 Virginia Lee Roberts passport        180        15   Sigrid McCawley on behalf of the plaintiff,
              application
16                                                              16   Ms. Giuffre.
     Exhibit 16 Composite of e-mail strings          251
17                                                              17           MS. MENNINGER: Laura Menninger and
     Exhibit 17 Compilation of e-mails between        259
18            Giuffre and Silva and others                      18   Jeffrey Pagliuca on behalf of the defendant,
19   Exhibit 18 Compilation of e-mails between        265       19   Ghislaine Maxwell.
              Virginia Giuffre and Sandra
20            White                                             20           THE VIDEOGRAPHER: And will our court
21   Exhibit 19 Compilation of e-mails between        269       21   reporter please swear in the deponent.
              Marianne Strong and Virginia
22            Giuffre                                           22                  VIRGINIA GIUFFRE,
23   Exhibit 20 Compilation of e-mails between        276       23   being first duly sworn in the above cause, was
              Virginia Roberts and Jason
24            Richards                                          24   examined and testified as follows:
25                                                              25           MR. EDWARDS: Just before we get started,

                                                       Page 6                                                            Page 8
 1                                                               1   I just wanted to make sure that we're clear, and I
                                   INITIAL
 2   DESCRIPTION                         REFERENCE               2   think that we are, that this deposition in total will
 3                                                               3   be treated as confidential until such time as we are
     Exhibit 21 Compilation of e-mails between       284
 4            Sharon Churcher and Virginia                       4   able to review and de-designate.
              Giuffre
 5                                                               5           MS. MENNINGER: Yes.
     Exhibit 22 Compilation of e-mails among   287
 6            Sharon Churcher, Michael Thomas,                   6           MR. EDWARDS: Okay.
              Virginia Giuffre and others
 7                                                               7                     EXAMINATION
     Exhibit 23 Compilation of May 2011 e-mails 288
 8            among Sharon Churcher, Virginia                    8   BY MS. MENNINGER:
              Giuffre, Paulo Silva and others
 9                                                               9      Q     Good morning, Ms. Giuffre.
     Exhibit 24 Compilation of June 2011 e-mails 289
10            between Virginia Giuffre and                      10      A    Good morning, Laura.
              Sharon Churcher
11                                                              11      Q     Can you please state your full name?
     Exhibit 26 PR Hub Statement on Behalf of        300
12            Ghislaine Maxwell article                         12      A    Virginia Lee Giuffre.
13   Exhibit 27 1/2/15 e-mail from              to    309       13      Q     And where do you live right now,
              To Whom It May Conce
14                                                              14   Ms. Giuffre?
15                                                              15      A
16                                                              16
17                                                              17      Q     All right. And who lives with you there?
18                                                              18      A    My son, my other son, my daughter, my
19                                                              19   husband and my in-laws.
20                                                              20      Q     And when did you return to the U.S. for
21                                                              21   this visit?
22                                                              22      A    I believe it was around Thursday, the
23                                                              23   29th, I think.
24                                                              24      Q     Okay. And who traveled with you?
25                                                              25      A    Myself.

                                                VIRGINIA GIUFFRE 5/3/2016                                                    2 (5 - 8)
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 1      Q       Yourself?                                           1   under oath?
 2      A       Yes.                                                2      A     Yes.
 3      Q       Are you able to travel freely between the           3      Q     What does it mean to you?
 4   U.S. and Australia?                                            4      A     To tell the truth, the whole truth and
 5      A       Yes.                                                5   nothing but the truth.
 6      Q       Are you married?                                    6      Q     All right. And what does the word truth
 7      A       Yes.                                                7   mean to you?
 8      Q       To whom?                                            8      A     To be honest.
 9      A                                                           9      Q     Is there more than one truth?
10      Q       All right. And did Mr. Giuffre travel              10      A     Is there more than -- no, there's no more
11   with you back to the U.S.?                                    11   than one truth.
12      A       No.                                                12      Q     If you are confused by a question, you
13      Q       All right. Have you taken any medications 13            need to let me know that so I can clarify the
14   in the last 24 hours?                                         14   question, okay?
15      A       I have taken -- I have a cold, but I have          15      A     Okay.
16   taken non-drowsy cold tablets and some DayQuil.               16      Q     For example, if I asked you the question
17      Q       All right. Anything else?                          17   were you sexually trafficked to foreign presidents,
18      A       No.                                                18   do you understand what that question means?
19      Q       All right. And what is your current                19      A     Yes.
20   profession, Ms. Giuffre?                                      20      Q     What does it mean?
21      A       I'm a housewife.                                   21      A     Was I lent out for the purposes of sex to
22      Q       All right. And how long have you been a            22   a foreign person -- president.
23   housewife?                                                    23      Q     All right. And what is the answer to that
24      A       For the last ten years, since I've had             24   question?
25   kids.                                                         25      A     Yes.
                                                         Page 10                                                          Page 12
 1      Q    All right. And what was your profession                1      Q    And if I ask you have you met any foreign
 2   in 2014?                                                       2   presidents, do you understand what that question
 3      A    A housewife.                                           3   means?
 4      Q    All right. Any other profession?                       4      A    Yes.
 5      A    No.                                                    5      Q    And what is the answer to that question?
 6      Q    All right. You understand that you're                  6      A    Yes.
 7   under oath today?                                              7      Q    All right. And if I asked you which
 8      A    Yes.                                                   8   foreign presidents have you met, do you understand
 9      Q    And you understand that if you don't                   9   what that question means?
10   understand a question, you need to let me know that.          10      A    Yes.
11      A    Okay.                                                 11      Q    What is the answer to that question?
12      Q    And ask for clarification.                            12      A    What is the name of the person?
13      A    Um-hum.                                               13      Q    Yes. Who are the foreign presidents that
14      Q    Do you understand?                                    14   you have met?
15      A    Yes.                                                  15      A    I honestly can't remember his name at this
16      Q    You also understand, I'm assuming, that               16   time. I'm a very visual person so --
17   you have to say yes or no in answer to a question, or         17      Q    All right. Can you describe him, then?
18   you have to make a verbal response and not just shake 18              A    Yes. He's Spanish.
19   your head or something --                                     19      Q    Okay.
20      A    Yes.                                                  20      A    Tall, dark hair.
21      Q    -- so the court reporter can get it.                  21      Q    All right. Anything else?
22           You have -- you have been deposed before,             22      A    And he's got a foreign tongue, accent.
23   correct?                                                      23      Q    And what age, approximately?
24      A    Yes.                                                  24      A    Was I or was he?
25      Q    Do you understand what it means to be                 25      Q    Was he.

                                                 VIRGINIA GIUFFRE 5/3/2016                                                3 (9 - 12)
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                                                         Page 13                                                             Page 15
 1      A    I'd say in his 40s.                                    1      A     Yes.
 2      Q    Okay. And where did you meet him?                      2      Q     And which ones did you review?
 3      A    I believe it was New Mexico.                           3      A     I'd have to see which ones you're
 4      Q    New Mexico?                                            4   specifically talking about. There's quite a lot of
 5      A    Possibly New Mexico. I'm sorry. It's                   5   statements I've made.
 6   really hard to go back and remember lots of different          6      Q     Right. And which ones do you recall
 7   events with lots of different people.                          7   having reviewed before you attended this deposition
 8      Q    Okay. And is that the only foreign                     8   today?
 9   president that you have met?                                   9      A     I've reviewed my affidavit. I'm not a
10      A    I've met a lot of very high, powerful                 10   lawyer so I really don't know legal terms to half of
11   people and I wasn't just introduced to them as who            11   the, you know, legal jargon of statements, which they
12   they were. It's only going back through photos in             12   are. If you showed me, I'd be able to tell you if
13   time to be able to realize who they are and what they         13   I've seen it or not.
14   are now. So it's hard for me to distinguish who I've          14      Q     Okay. So to your knowledge, can you
15   actually met and when and where I've met them.                15   identify any sworn statement you reviewed before
16      Q    So to your knowledge, you have only met               16   attending the deposition today?
17   one foreign president?                                        17      A     Could I name what the statement is?
18      A    To my knowledge at this time, yes.                    18      Q     Right.
19      Q    And is there anything that might change               19      A     The actual piece of paper that has the
20   your knowledge at a different time?                           20   title at the top?
21      A    If I were to see more photos of other                 21      Q     Right.
22   people. I mean, I've been able to distinguish the             22      A     No, I don't.
23   majority of the people I've been lent out to, but             23      Q     Can you describe it in any other fashion?
24   who's to say there's not more.                                24      A     I don't understand. I'm sorry.
25      Q    All right. If I were to ask you the                   25      Q     That's all right. You have to tell me if

                                                         Page 14                                                             Page 16
 1   question how many times have you had sex with                  1   you don't.
 2              do you know what that question means?               2           Do you have any reason to believe that any
 3      A    I believe so.                                          3   of your previous sworn statements that you have made
 4      Q    All right. And what is the answer to that              4   are not true?
 5   question?                                                      5      A     No.
 6      A    I believe I was with       once.                       6            MR. EDWARDS: I just object and ask that
 7      Q    Okay. I would like to ask you about your               7   if we're going to ask the witness questions about any
 8   prior sworn statement.                                         8   of her statements in whole or in part that the
 9          You understand you're under oath today,                 9   witness be allowed to see the statement, review the
10   correct?                                                      10   statement and then answer your questions.
11      A    Yes.                                                  11      Q     (BY MS. MENNINGER) You may answer the
12      Q    All right. You've previously made                     12   question.
13   statements under oath, correct?                               13      A     Can you reask the question? I'm sorry.
14      A    Yes.                                                  14      Q     Do you have any reason to believe that any
15      Q    And you've previously authorized pleadings            15   of your prior sworn statements are untrue?
16   to be filed on your behalf, correct?                          16      A     I have no reason to believe that my prior
17      A    Yes.                                                  17   statements are untrue.
18      Q    By various attorneys, right?                          18      Q     Has anyone told you to say something that
19      A    Yes.                                                  19   was not true in connection with this case?
20      Q    All right. You have included in your                  20      A     No, ma'am.
21   sworn statement allegations about my client,                  21      Q     All right. I'd like to start with a
22   Ghislaine Maxwell, correct?                                   22   lawsuit that you filed under the caption Jane Doe
23      A    Yes.                                                  23   versus Jeffrey Epstein.
24      Q    And did you review any of those prior                 24           Do you recall that lawsuit?
25   sworn statements before appearing here today?                 25      A     I believe so.

                                                  VIRGINIA GIUFFRE 5/3/2016                                                  4 (13 - 16)
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                                                          Page 17                                                            Page 19
 1          (Exhibit 1 marked.)                                      1      Q      No. I'm just -- did you find it?
 2      Q    (BY MS. MENNINGER) I'm going to show you                2      A      I can see paragraph 23.
 3   an exhibit that we are marking as Defendant's                   3      Q      Okay. And do you see that there are
 4   Exhibit 1.                                                      4   allegations about a Ms. Maxwell contained in that
 5          MR. EDWARDS: Can I see that for a second?                5   complaint?
 6          I'd just like to make an objection on the                6      A      Yes, I do.
 7   record for the misidentification of this document.              7      Q      All right. And do you understand that to
 8          While there was a lawsuit filed under the                8   be Ghislaine Maxwell, my client?
 9   style of Jane Doe versus Jeffrey Epstein, Jane Doe              9      A      Yes.
10   was not Virginia Giuffre. And the lawsuit that's now           10      Q      All right. And Ms. Maxwell was not sued
11   being handed to this witness is Jane Doe 102 versus            11   as a part of this case, correct?
12   Jeffrey Epstein.                                               12           MR. EDWARDS: Object to the form.
13          Is that the document we're talking about?               13           THE DEPONENT: Does that mean I can
14          MS. MENNINGER: Counsel, if you have an                  14   answer?
15   objection, you should state the basis for your                 15           MR. EDWARDS: Sure, you can answer.
16   objection in a non-leading, non-suggestive manner.             16           MS. MENNINGER: Right.
17          If you have any other record to make, you               17           MR. EDWARDS: If you understand the
18   can do so in a pleading filed with the Court.                  18   question, answer it.
19          MR. EDWARDS: Sure. My objection is                      19      A      Yes, Ms. Maxwell -- sorry, repeat the
20   you've misrepresented what you've handed the witness.          20   question.
21   I want to make sure that the witness is holding what           21      Q      (BY MS. MENNINGER) Was Ms. Maxwell sued
22   you actually want her to be holding as opposed to the          22   in this --
23   lawsuit you said that you were going to hand her.              23      A      No, she wasn't.
24          That's it.                                              24      Q      -- in the case that's represented by
25          MS. MENNINGER: Counsel, I will ask the                  25   Defendant's Exhibit 1?

                                                          Page 18                                                            Page 20
 1   witness questions about the document. I did not ask             1      A      No, she wasn't. I'm sorry for
 2   you any questions about the document.                           2   interrupting you. But no, she was not sued at this
 3      Q     (BY MS. MENNINGER) Ms. Giuffre, could you              3   time, no.
 4   please take a look at what we have marked as                    4      Q      And why not?
 5   Defendant's Exhibit 1.                                          5           MR. EDWARDS: I'd object and ask the
 6           Do you recognize that document,                         6   witness not answer that question because that would
 7   Ms. Giuffre?                                                    7   be privileged, attorney-client privileged,
 8      A     I believe so. Yes. Yes, I do.                          8   information that was between Ms. Giuffre and the
 9      Q     And do you see that the counsel on the                 9   Podhurst Orseck firm at that time.
10   last page -- I'm sorry, not the last page, but the             10           So I'm instructing you not to answer.
11   third from the last page are Mr. Josefsberg and                11      Q      (BY MS. MENNINGER) All right.
12   Ms. Ezell from Podhurst Orseck?                                12   Ms. Giuffre, did you make a decision yourself whether
13      A     Yes.                                                  13   or not to sue Ms. Maxwell as a part of this lawsuit
14      Q     Were those your lawyers?                              14   against -- Jane Doe 102 versus Jeffrey Epstein?
15      A     Yes, they were.                                       15      A      I think I've been advised not to answer
16      Q     And did you authorize them to file Jane               16   that question.
17   Doe 102 versus Epstein on your behalf?                         17      Q      This is a different question.
18      A     Yes, I did.                                           18      A      Oh, okay.
19      Q     And is that this complaint that's been                19      Q      So your counsel can assert a privilege,
20   marked as Defendant's Exhibit 1?                               20   but that question did not call for privileged
21      A     I believe so.                                         21   information.
22      Q     In that document, if I could ask you to               22           MR. EDWARDS: I --
23   turn to page -- well, I'll turn to page 9 and                  23      Q      (BY MS. MENNINGER) I'm asking about what
24   paragraph 23.                                                  24   -- what you decided to do. Whether you decided to
25      A     Would you like me to read it?                         25   sue Ms. Maxwell or not at the time Jane Doe 102

                                                      VIRGINIA GIUFFRE 5/3/2016                                              5 (17 - 20)
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                                                         Page 21                                                              Page 23
 1   versus Epstein was filed?                                      1   CVRA action in or about December 30th, 2014, correct?
 2           MR. EDWARDS: And I disagree. And I                     2      A    I -- I'm not aware of the exact dates.
 3   object to this invading the attorney-client                    3   There's no dates on this. But I did try to join the
 4   privilege.                                                     4   motion, yes.
 5           And I'm instructing you not to answer.                 5      Q    All right. If you can look at the top
 6      Q     (BY MS. MENNINGER) Can you answer that                6   line of the document.
 7   question without revealing any attorney-client                 7      A    Yes.
 8   communications, whether you made a decision to file a          8      Q    Does it say, Entered on FLSD --
 9   lawsuit or not?                                                9      A    Oh, it does, too, I'm sorry, yes.
10      A     I'm going to have to listen to my attorney           10      Q    That's all right. So does that refresh
11   and not answer the question.                                  11   your memory as to about when you first sought to join
12      Q     All right. I would like to show you some             12   the CVRA action?
13   documents that were filed in what we'll call the CVRA         13      A    Yes.
14   case, the Crime Victims' Rights Act case.                     14      Q    December 30th, 2014, correct?
15           Do you know what I mean by that reference?            15      A    Yes.
16      A     I am familiar with that.                             16      Q    And the corrected motion was filed a few
17      Q     Okay. I'm going to start with one on or              17   days later, correct?
18   about December 30th, 2014. We will mark it as                 18      A    Yes, correct.
19   Defendant's Exhibit 2.                                        19      Q    If I could turn to Defendant's Exhibit 3,
20           (Exhibit 2 marked.)                                   20   which was January 21st.
21           MR. EDWARDS: Thank you.                               21          (Exhibit 3 marked.)
22      Q     (BY MS. MENNINGER) All right.                        22          MR. EDWARDS: Thank you.
23   Ms. Giuffre, do you recognize Defendant's Exhibit 2?          23      Q    (BY MS. MENNINGER) Do you recognize this
24      A     Yes.                                                 24   document?
25      Q     And what do you understand it to be?                 25      A    Yes, I do.

                                                         Page 22                                                              Page 24
 1      A    I believe this is when I was hoping to                 1      Q     What do you understand this document to
 2   join the CVRA case.                                            2   be?
 3      Q    All right. And do you know when this                   3      A     It's a rough background of the years that
 4   document was filed?                                            4   I was abused by Ghislaine and Jeffrey.
 5          And actually, just to be clear, about                   5      Q     All right. And this is something I
 6   halfway there's actually a second document that was            6   believe that you on page 15 signed; is that true?
 7   filed. So this is a composite exhibit. Let me be               7      A     Just let me have a look.
 8   very clear.                                                    8      Q     Sure.
 9          So after page 14 -- I'm sorry, 13, there's              9      A     I think I'm actually missing page 15. Oh,
10   a second document that is styled Jane Doe #3 and Jane         10   here we go.
11   Doe #4's Corrected Motion Pursuant to Rule 21 for             11      Q     Sorry. I'm looking at the numbers on the
12   Joinder In Action.                                            12   top right. I apologize. I believe there was some
13          Do you see that?                                       13   cover page or something that was excluded.
14      A    Did you say page 14?                                  14           MR. EDWARDS: And just for the record, I'm
15      Q    It is on the 14th page of this document.              15   going to object to the relevance of this document.
16          Do you see that?                                       16   I'm going to allow the witness to answer the
17      A    I do.                                                 17   question, but I want my objection on the record.
18      Q    And so this composite Exhibit 2 has both a            18           MS. MENNINGER: Okay. Simple objection,
19   motion and a corrected motion.                                19   relevance.
20          Do you see that?                                       20      A     Are we talking about this page?
21      A    Yes.                                                  21      Q     (BY MS. MENNINGER) Yes, the one with the
22      Q    And were both of those pleadings                      22   black box, yes. Do you believe that to have
23   authorized by you to be filed?                                23   contained your signature?
24      A    Yes.                                                  24      A     Yes.
25      Q    In other words, you wanted to join the                25      Q     All right. And you executed that on

                                                      VIRGINIA GIUFFRE 5/3/2016                                               6 (21 - 24)
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                                                       Page 25                                                               Page 27
 1   January 19th, 2015?                                          1   filed under oath is no longer true, correct?
 2      A    At the very top of the page it says                  2           MR. EDWARDS: Object to the form.
 3   January 21st, 2015.                                          3      A     I wouldn't say that it wasn't true. I was
 4      Q     The date it was filed. Is there a date              4   just unaware of the times and the dates.
 5   just above the signature block?                              5      Q     (BY MS. MENNINGER) Again, is there more
 6      A    Oh, yes, sorry. Yes, there is.                       6   than one truth, Ms. Roberts?
 7      Q     And what date -- what date was that?                7      A     No, there's no more than one truth.
 8      A    The 19th day of January, 2015.                       8      Q     All right. So a document in which you
 9      Q     Okay. And this document is something that           9   swore that you were 15 years old when you met
10   you believe contains the truth, correct?                    10   Ms. Ghislaine Maxwell is an untrue statement,
11      A    To the best of my knowledge at the time,            11   correct?
12   yes.                                                        12           MR. EDWARDS: Object to the form.
13      Q     All right. Did something change between            13      A     It's not that it's an untrue statement.
14   the time then and today that makes you believe that 14           It was a mistake. So it wasn't intentionally trying
15   it's not all accurate?                                      15   to say something that wasn't true. It was to my best
16      A    Well, as you can see, in line 4 on page 1,          16   knowledge that I thought it was 1999. And when I got
17   I wasn't aware of my dates. I was just doing the            17   my records from Mar-a-Lago I was able to find out
18   best to guesstimate when I actually met them.               18   that it was 2000. And this was entered before I
19           Since then I've been able to find out that          19   found out the actual dates that I did work at
20   through my Mar-a-Lago records that it was actually          20   Mar-a-Lago.
21   the summer of 2000, not the summer of 1999.                 21      Q     (BY MS. MENNINGER) Okay. So a document
22      Q     Oh, I'm sorry. Are you back on page 1?             22   that you filed under oath --
23      A    On the first page.                                  23      A     Um-hum.
24      Q     Okay.                                              24      Q     -- is now, you believe to be untrue,
25      A    Yes.                                                25   correct?

                                                       Page 26                                                               Page 28
 1      Q    And you're talking about line 4?                     1           MR. EDWARDS: Objection. Asked and
 2      A    Line 4.                                              2   answered.
 3      Q    Paragraph 4 or line 4?                               3      Q    (BY MS. MENNINGER) You may answer.
 4      A    Oh, sorry. Number 4, the paragraph                   4           MR. EDWARDS: Answer again.
 5   number 4.                                                    5      A    Again, I wouldn't say it's untrue. Untrue
 6      Q    Okay. And what part of paragraph 4 do you            6   would mean that I would have lied. And I didn't lie.
 7   now believe to be untrue?                                    7   This was my best knowledge at the time. And I did my
 8      A    In approximately --                                  8   very best to try to pinpoint time periods going back
 9          MR. EDWARDS: Object to the form.                      9   such a long time ago.
10          You can answer.                                      10           It wasn't until I found the facts that I
11      A    In approximately 1999 when I was 15 years           11   worked at Mar-a-Lago in 2000 that I was able to
12   old I met Ghislaine Maxwell.                                12   figure that out.
13      Q    (BY MS. MENNINGER) Okay.                            13      Q    (BY MS. MENNINGER) And approximately when
14      A    I now know that it was 2000, that I was 16          14   did you learn those facts about the dates you worked
15   years old when I met Ghislaine Maxwell.                     15   at Mar-a-Lago?
16      Q    So when you signed this document under              16      A    I would say it was mid-2015.
17   penalty of perjury stating that it was true, you no         17      Q    Mid-2015 is the first time you became
18   longer believe that to be true, correct?                    18   aware of the dates --
19      A    It was an honest mistake. We had no idea            19      A    I don't know the exact --
20   how to pinpoint without any kind of records or dates        20      Q    If you could just let me finish.
21   or anything like that. I was just going back                21      A    I'm sorry.
22   chronologically through time. And that's the best           22      Q    That's all right. Approximately mid-2015
23   time that I thought it was. And now I know the              23   when you learned the true dates that you had worked
24   facts, so it's good to know.                                24   at Mar-a-Lago?
25      Q    So you now believe that a document you              25      A    That's correct. Sorry.

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                                                           Page 29                                                                 Page 31
 1      Q      And based on the fact that you learned the             1      Q        (BY MS. MENNINGER) I'm going to show you
 2   fact you had worked at Mar-a-Lago in 2000 -- you                 2   an exhibit filed on, I believe on or about
 3   became aware in mid-2015 --                                      3   February 6th of 2015. Defendant's Exhibit 4.
 4      A      Um-hum.                                                4            (Exhibit 4 marked.)
 5      Q      -- that you had met Ms. Maxwell in 2000,               5            MR. EDWARDS: Thank you.
 6   correct?                                                         6      Q        (BY MS. MENNINGER) And drawing your
 7      A      That's --                                              7   attention to the heading line that says, Entered on
 8           MR. EDWARDS: Object to the form.                         8   the docket February 6th, 2015.
 9      A      That's correct.                                        9            Do you see that?
10      Q      (BY MS. MENNINGER) All right. And you                 10      A        Yes.
11   became aware in mid-2015 that you were not 15 years             11      Q        All right. And Declaration of Jane Doe 3,
12   old when you met Ghislaine Maxwell, correct?                    12   do you see that on the first page?
13           MR. EDWARDS: Object to the form.                        13      A        Yes.
14      A      That's correct.                                       14      Q        And it's in the CVRA case, correct, Jane
15      Q      (BY MS. MENNINGER) Okay. And who                      15   Doe 1 and Jane Doe 2 versus United States of America?
16   provided you those Mar-a-Lago records in                        16      A        Yes.
17   approximately mid-2015?                                         17      Q        All right. And do you recognize this
18           MR. EDWARDS: I'm going to object.                       18   document?
19           And to the extent that this invades the                 19      A        Yes.
20   attorney-client privilege, if it was your attorneys             20      Q        And what do you understand this document
21   that you spoke to and learned this information or               21   to be?
22   received this information from, then you're                     22      A        I believe it's more reason to why I should
23   instructed not to answer.                                       23   have been added to the CVRA case.
24      A      I cannot answer that question.                        24            MR. EDWARDS: Objection to the relevance,
25      Q      (BY MS. MENNINGER) Did you yourself look              25   Counsel.

                                                           Page 30                                                                 Page 32
 1   at records in the middle of 2015 regardless of who               1      Q        (BY MS. MENNINGER) Okay. And again, if
 2   showed them to you?                                              2   you look to the last page of the document,
 3           MR. EDWARDS: Objection. And to the                       3   paragraph 67 --
 4   extent that they were showed to you or shared by any             4      A        The last page?
 5   of your lawyers, you're instructed not to answer the             5      Q        Yes, the very last.
 6   question. It invades the attorney-client privilege.              6      A        67, yes.
 7      Q      (BY MS. MENNINGER) Did you look at                     7      Q        All right. It says in paragraph 67: I
 8   Mar-a-Lago records in the middle of 2015 yourself?               8   declare under penalty of perjury that the foregoing
 9           MR. EDWARDS: She's not answering the                     9   is true and correct, right?
10   question.                                                       10      A        Yes.
11           MS. MENNINGER: On what grounds is she not               11      Q        And it was executed on or about the
12   answering the question?                                         12   5th day of February, 2015, correct?
13           MR. EDWARDS: I just told you it invades                 13      A        It's a bit smudged, but it kind of looks
14   the attorney-client privilege. If she learned --                14   like a 5.
15           I will instruct her if she learned by some              15      Q        All right. And then there's a signature
16   other way than her attorneys sharing the information            16   block that's redacted that says Jane Doe 3, correct?
17   with her, then she can answer the question.                     17      A        Correct.
18      Q      (BY MS. MENNINGER) I'm asking you not to              18      Q        Do you believe that you signed this
19   tell me whether your attorneys showed you the record. 19             document and it was later covered up by that block?
20   I'm asking you not to tell me the source of the                 20      A        Yes.
21   record.                                                         21      Q        All right. And again, is there anything
22          I'm asking you if you personally in the                  22   in this document that you believe today to not be
23   middle of 2015 looked at Mar-a-Lago records?                    23   true?
24           MR. EDWARDS: Same objection.                            24            MR. EDWARDS: I just ask that you read
25           Same instruction.                                       25   through the entire document and answer the question.

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                                                           Page 33                                                               Page 35
 1      Q    (BY MS. MENNINGER) Have you seen this                   1    against                       ; is that your understanding?
 2   document before, Ms. Giuffre?                                   2             It's your understanding. You don't have
 3      A    I'm sure I have, but it's always good to                3    to look at your lawyer if you don't understand. You
 4   refresh your memory just looking over something.                4    don't have to --
 5      Q    All right.                                              5       A      No, I just don't know if I'm allowed --
 6           (Pause.)                                                6       Q      That's all right.
 7      A    Thank you for giving me time to read that               7       A      -- to say certain things about that. But,
 8   over.                                                           8    yes, I believe they were in a lawsuit.
 9      Q    Certainly. So have you had a chance to                  9       Q      Okay. And that's against                       ,
10   read it now?                                                    10   right?
11      A    Yes.                                                    11      A      Correct.
12      Q    All right. And what parts of this                       12            MR. EDWARDS: Object to the form. I
13   document sworn by you under penalty of perjury are              13   object to the relevance of the document.
14   not true?                                                       14      Q      (BY MS. MENNINGER) All right.
15      A    Again, the only thing that I see is the                 15   Ms. Giuffre, again, if you could turn to the last
16   mistake that I made, I first met Epstein when I was             16   page of this document. And do you see a signature on
17   15 years old.                                                   17   that page?
18      Q    Okay. And that's in paragraph 5?                        18      A      I do.
19      A    That's in paragraph 5 on the first page.                19      Q      Whose signature is that?
20      Q    All right. And everything else you                      20      A      That is mine.
21   believe to be true?                                             21      Q      And approximately when did you sign that
22      A    Yes.                                                    22   document?
23      Q    Okay. If I could now turn to what I'll                  23      A      Executed this 20th day of November, 2015.
24   mark as Defendant's Exhibit 5.                                  24      Q      All right. So you signed that on
25           (Exhibit 5 marked.)                                     25   November 20th, 2015, correct?

                                                           Page 34                                                               Page 36
 1           THE DEPONENT: Thank you.                                 1      A      Correct.
 2           MR. EDWARDS: Thank you.                                  2      Q      All right. And that was under penalty of
 3           MS. MENNINGER: I think I have one more.                  3   perjury, correct?
 4           MS. McCAWLEY: It's okay if you don't.                    4      A      Correct.
 5           MS. MENNINGER: I don't think I have all                  5      Q      All right. If I could now turn to what
 6   of them.                                                         6   we'll mark as Defendant's Exhibit 6.
 7      Q       (BY MS. MENNINGER) All right. Do you                  7            (Exhibit 6 marked.)
 8   recognize Defendant's Exhibit 5?                                 8            MR. EDWARDS: Thank you.
 9      A       Yes.                                                  9            MS. McCAWLEY: Thanks.
10      Q       What is the title of that document?                  10      Q      (BY MS. MENNINGER) Do you recognize this
11      A       Declaration of Virginia Giuffre.                     11   document, Ms. Giuffre?
12      Q       And that's you, correct?                             12      A      I do.
13      A       Yes.                                                 13      Q      All right. What do you believe this
14      Q       And do you recognize which case this                 14   document to be?
15   declaration was filed in?                                       15      A      I believe this is when I spoke to the FBI.
16      A       Yes. Bradley Edwards and Paul Cassell,               16      Q      Okay. And do you remember about when you
17   Plaintiff versus                                  .             17   spoke to the FBI?
18      Q       All right. And who do you understand                 18      A      It says, Date of entry July 5th, 2013.
19   Mr. Edwards and Mr. Cassell to be?                              19      Q      Do you believe that you spoke to the FBI
20      A       Mr. Edwards is my lawyer sitting next to             20   in 2013?
21   me.                                                             21      A      I thought it was 2011 when I talked to
22      Q       All right.                                           22   them.
23      A       And Mr. Cassell is another one of my                 23      Q      Okay. I'm going to direct your attention
24   lawyers.                                                        24   to the bottom of that page.
25      Q       All right. And they are in a lawsuit                 25      A      Yes.

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                                                         Page 37                                                             Page 39
 1      Q      The first page. Do you see that?                     1      Q    Okay. And have you reviewed any -- have
 2      A      Yes.                                                 2   you at any time reviewed this document without those
 3      Q      The last few lines there have another                3   portions whited out?
 4   date.                                                          4      A    I don't believe I've seen this document
 5      A      Oh, yes, investigation of, yes.                      5   without the portions.
 6      Q      All right.                                           6      Q    Okay. So you don't know, for example,
 7      A      So that makes sense, okay.                           7   what's behind those, other than what you recall --
 8      Q      Okay. What do you understand that to be?             8      A    No.
 9   And if it refreshes your recollection about when you           9      Q    -- having told the FBI at the time,
10   spoke to the FBI, just let us know.                           10   correct?
11      A      Yeah, March 17th, 2011 sounds more right            11      A    That's correct.
12   than 2013.                                                    12      Q    Okay. I'm going to show you a new
13      Q      Okay. And where did you speak to them?              13   document.
14      A      I believe this was in the office of the             14      A    Okay.
15   consulate, American Consulate, in Sydney.                     15      Q    You can just put that to the side.
16      Q      Sydney, Australia?                                  16   Defendant's Exhibit 7.
17      A      Sydney, Australia.                                  17          (Exhibit 7 marked.)
18      Q      Okay. And you were there in person with             18      Q    (BY MS. MENNINGER) All right.
19   these FBI agents?                                             19          MR. EDWARDS: Thanks.
20      A      Correct.                                            20      Q    (BY MS. MENNINGER) And do you recognize
21      Q      And were they taking notes when they spoke          21   this document?
22   to you?                                                       22      A    Yes.
23      A      Yes.                                                23      Q    And what do you understand it to be?
24      Q      Were they recording the interview, to your          24      A    This was a phone conversation that I had
25   knowledge?                                                    25   between Jack Scarola and Brad Edwards.

                                                         Page 38                                                             Page 40
 1      A      I believe they were.                                 1      Q    Okay. And do you see a date reflected on
 2      Q      Okay. Have you had a chance to review                2   the front page?
 3   this report?                                                   3      A    April 7, 2011.
 4            And I will make note for the record that              4      Q    Is that when you had that phone
 5   there are obviously many places that are blacked               5   conversation with them?
 6   out --                                                         6      A    If it's dated like that, it must be, yes.
 7      A      Yeah.                                                7      Q    Well, I just need you to say from your
 8      Q      -- or whited out. Is that fair?                      8   memory, does that sound about right in terms of what
 9      A      Yes.                                                 9   you recall having been the phone conversation?
10      Q      All right. Have you had a chance to                 10      A    I'm sure it's correct.
11   review this one with whited-out portions of it before         11      Q    Okay.
12   today?                                                        12      A    I don't have a good calendar in my brain.
13      A      Yes.                                                13   So, yes, I'm sure that that's the correct date.
14      Q      All right. And you understood when you              14      Q    Did you understand it was being recorded,
15   were speaking to the FBI that they were federal               15   correct?
16   agents, correct?                                              16      A    Yes.
17      A      Yes.                                                17      Q    Okay. Have you listened to the recording
18      Q      And that you were supposed to tell them             18   of that phone call?
19   the truth, correct?                                           19      A    I don't believe I listened to the
20      A      Absolutely.                                         20   recording, but I have seen the document.
21      Q      And do you believe that you did, in fact,           21      Q    All right. And again, you were speaking
22   tell them the truth?                                          22   the truth at the time you were speaking to them as
23      A      To the best of my knowledge. Again, when            23   lawyers and officers of the court, correct?
24   it comes to dates and times, I was obviously off.             24      A    Yes. And again, to the best of my
25   But everything else is absolutely 100 percent true.           25   knowledge when it comes to dates.

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                                                         Page 41                                                                Page 43
 1      Q     Okay. And then the last -- the last                   1   as you sit here right now, is there anything in that
 2   document, I hope, is --                                        2   manuscript about Ghislaine Maxwell that is untrue?
 3           MS. MENNINGER: The big one.                            3         A    I don't believe so. Like I said, there is
 4           (Exhibit 8 marked.)                                    4   a lot of stuff that I actually have left out of here.
 5      Q     (BY MS. MENNINGER) All right. Do you                  5         Q    Um-hum.
 6   recognize -- I'm going to -- I'm sorry, if I didn't            6         A    So there is a lot more information I could
 7   say it already. This is Defendant's Exhibit 8.                 7   put in there. But as far as Ghislaine Maxwell goes,
 8          Do you recognize this document?                         8   I would like to say that there is 99.9 percent of it
 9      A    Yes, I do.                                             9   would be to the correct knowledge.
10      Q     And what is this document?                           10         Q    All right. Is there anything that you --
11      A    This is a manuscript that I was writing, I            11   and I understand you're doing this from memory. Is
12   believe, back in 2011 regarding some of my life               12   there anything that you recall, as you're sitting
13   story. And just to make it known, this is a based on          13   here today, about Ghislaine Maxwell that is contained
14   true events. But I wouldn't say fictional, but just           14   in that manuscript, that is not true?
15   based on true events.                                         15         A    You know, I haven't read this in a very
16           Not everything in it is -- not everything             16   long time. I don't believe that there's anything in
17   is in there and not everything is, you know, correct.         17   here about Ghislaine Maxwell that is not true.
18   So there's a few mistakes in there.                           18             MR. EDWARDS: I'd just ask, Counsel, if
19      Q     Okay. Off the top of your head, do you               19   you have anything specific to show her about
20   recall any mistakes that are in there now without             20   Ghislaine Maxwell --
21   reading the 140-page document?                                21             MS. MENNINGER: I'll ask questions.
22           MR. EDWARDS: We're going to be here a                 22             MR. EDWARDS: -- I'll have her look at it.
23   long time.                                                    23             MS. MENNINGER: I'll ask questions.
24      A    Yeah, we could be here a very long time.              24             MR. EDWARDS: I know, but I want the
25   I mean, I'd like to say a majority of it is correct.          25   record clear that if she hasn't read it in a long

                                                         Page 42                                                                Page 44
 1   Some names have been changed in order to protect               1   time, she --
 2   other people.                                                  2             MS. MENNINGER: She made the record very
 3      Q     (BY MS. MENNINGER) Protect their privacy?             3   clear. Thank you. She doesn't need you to make a
 4      A    Protect their privacy, yeah, I would say,              4   record.
 5   just not getting them involved in, if this were to             5             MR. EDWARDS: I'm not making records, but
 6   ever go public.                                                6   you're making this last longer. There's no need for
 7      Q     Well, again, without rereading the whole              7   this. This doesn't have to be an unpleasant process.
 8   manuscript --                                                  8   I want her to help you.
 9      A    Reading it, yeah. I'm trying to see if I               9             MS. MENNINGER: I don't find it
10   can -- see something in here.                                 10   unpleasant. I'm sorry if you do.
11      Q     Let me narrow my question and maybe that             11             MR. EDWARDS: Okay. Well, then, I object
12   will help.                                                    12   to that last series of questions to the extent that
13      A    Yes.                                                  13   she was unable to look at what you wanted her to look
14      Q     Is there anything -- well, first of all,             14   at.
15   did you author that entire manuscript?                        15         Q   (BY MS. MENNINGER) I would like to next
16      A    Yes, I did.                                           16   turn to a document filed on March 16th of this year.
17      Q     Did anyone else author part of that                  17   Or actually, let me rephrase that. A document dated
18   manuscript?                                                   18   March 16th of this year, which we will mark as
19      A    Do you mean did anyone else write this                19   Defendant's Exhibit 9.
20   with me?                                                      20             (Exhibit 9 marked.)
21      Q     Right.                                               21         Q   (BY MS. MENNINGER) Do you recognize this
22      A    No.                                                   22   document, Ms. Giuffre?
23      Q     That's all your writing?                             23         A   Yes, I do.
24      A    This is my writing.                                   24         Q   All right. And what is your understanding
25      Q     Okay. To the best of your recollection,              25   of what this document represents?

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                                                          Page 45                                                         Page 47
 1      A       Based upon the title, it is Plaintiff's              1          Do you see your attorney's signature and
 2   Response and Objections to Defendant's First Set of             2   the date, March 22nd, 2016, correct?
 3   Discovery Requests to Plaintiff.                                3      A    I do.
 4      Q       And are you the plaintiff?                           4      Q    All right. And then looking at
 5      A       I am the plaintiff, yes.                             5   Defendant's Exhibit 11, that's your declaration,
 6      Q       All right. So it's your response to                  6   correct?
 7   Ms. Maxwell's discovery request, correct?                       7      A    Yes, it is.
 8      A       Correct.                                             8      Q    And declaring under penalty of perjury as
 9      Q       All right. And if you look at the last               9   of March 22nd, 2016 that the supplemental response
10   page -- or, I'm sorry, it would be the second to last          10   and objections are true and correct, right?
11   page -- you might see signatures of your attorney,             11      A    Correct.
12   correct?                                                       12      Q    And you -- that's your signature?
13      A       I see printed names.                                13      A    That is mine.
14      Q       Printed. Electronic signature --                    14      Q    And you are swearing under penalty of
15      A       Okay.                                               15   perjury that Defendant's Exhibit 10 is true and
16      Q       -- will have a little S in front of it.             16   correct?
17      A       All right.                                          17      A    Yes.
18      Q       Do you see that?                                    18      Q    As of March 22nd, 2016, right?
19      A       I can see the, yeah the printed names. So           19      A    Yes.
20   if it's electronic signature, then yes.                        20      Q    All right. And then one more on that.
21      Q       All right. And the date on that is                  21   Defendant's Exhibit 12.
22   March 16th of 2016?                                            22          (Exhibit 12 marked.)
23      A       Correct.                                            23      Q    (BY MS. MENNINGER) And do you recognize
24      Q       All right. And so without revealing the             24   this document?
25   content of your conversations, you assisted in                 25      A    Yes.

                                                          Page 46                                                         Page 48
 1   preparing responses to discovery requests, correct?             1      Q    Okay. And what is this document?
 2      A       Yes.                                                 2      A    Plaintiff's Second Amended Supplemental
 3      Q       All right. I'm going to show you a                   3   Response and Objections to Defendant's First Set of
 4   subsequent one marked Defendant's Exhibit 10 and                4   Discovery Requests to Plaintiff.
 5   dated March 22nd.                                               5      Q    All right. And again, turning to the very
 6           (Exhibit 10 marked.)                                    6   rear section, I think you'll see your attorney's
 7      Q       (BY MS. MENNINGER) If you can take a look            7   signatures again and the date of April 29th, 2016?
 8   at that.                                                        8      A    I do see that.
 9      A       Thank you.                                           9      Q    All right. And again, you authorized this
10      Q       And while we're at it, I'm going to give            10   document to be filed, correct?
11   you Defendant's Exhibit 11 so you can look at them             11      A    Correct.
12   together.                                                      12      Q    And the statements contained therein are
13           (Exhibit 11 marked.)                                   13   true, to the best of your knowledge, correct?
14      Q       (BY MS. MENNINGER) All right.                       14      A    Correct.
15      A       Thank you.                                          15      Q    And that's -- April 29th is just a few
16      Q       All right. So looking at Defendant's                16   days ago, correct?
17   Exhibit 10, do you recognize that document?                    17      A    Yes.
18      A       Plaintiff's Supplemental Response and               18      Q    All right. Did you review this April 29th
19   Objections to Defendant's First Set of Discovery               19   document before it was filed or served?
20   Requests to Plaintiff.                                         20      A    Like I said, I've seen a lot of documents
21           I've seen a lot of documents, and they all             21   and they all look alike, but I'm sure I've seen this
22   look the same. But I'm sure I've seen it.                      22   one.
23      Q       All right. And looking, again, at the               23      Q    Okay. And if it's something that was
24   last page -- or I'm sorry, this time it will be the            24   served last Friday, does that refresh your
25   third to last page.                                            25   recollection that you reviewed it before it was

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                                                               Page 49                                                            Page 51
 1   served on April 29th, 2016?                                          1      Q     Written from Taco Bell?
 2      A      I believe I have seen this.                                2      A     You know, I don't know, sorry. I just --
 3      Q      And you were here in the U.S. last Friday?                 3   I remember he asked me to come in and help him out,
 4      A      Yes.                                                       4   and that's -- I didn't really consider myself an
 5      Q      So you saw it in person, correct?                          5   employee there, but --
 6      A      Yes, I was looking at a lot of documents                   6      Q     Just wearing the shirt and getting a
 7   on Friday.                                                           7   paycheck didn't cause you to think you were an
 8      Q      Okay.                                                      8   employee?
 9      A      I believe this could definitely be one I                   9      A     Well --
10   looked at.                                                          10           MR. EDWARDS: Object to the form.
11      Q      All right. If I could direct your                         11   Mischaracterizes her testimony.
12   attention to -- let me see, in that document --                     12      A     Yeah, I know. I mean, it was my
13             MR. EDWARDS: Exhibit 12?                                  13   boyfriend. I was helping him out. So that's the way
14             MS. MENNINGER: Um-hum, Defendant's                        14   I looked at it.
15   Exhibit 12.                                                         15      Q     (BY MS. MENNINGER) Is there any other
16      Q      (BY MS. MENNINGER) -- to page -- sorry.                   16   place that you wore a uniform and got a check from in
17   You're not the only one who's seen a lot of                         17   the years from '96 to 2000?
18   documents.                                                          18      A     I did work at Publix as a bag girl, but
19             Well, without asking you to look at a                     19   that was only for a couple weeks, I think.
20   page, can you tell me what your -- between 1996                     20      Q     Which Publix was that?
21   and -- well, in 1996 to 2002, what was the first job 21                     A     I believe it was in Loxahatchee.
22   that you held?                                                      22      Q     Okay. Do you remember the street?
23      A      I believe the first job that I held was in                23      A     No.
24   the year 2000, and that was at Mar-a-Lago.                          24      Q     All right. Anywhere else you wore a
25      Q      Okay. And is that the first job you held                  25   uniform and got a paycheck?

                                                               Page 50                                                            Page 52
 1   as a teenager or at any point in time, that you                      1       A    I volunteered at a bird aviary.
 2   recall?                                                              2       Q    What was the name of that?
 3      A      Yes, that I recall.                                        3       A    I don't know the name of it. But it
 4      Q      All right. Did you ever work at Taco                       4   was -- I'm an animal lover. So --
 5   Bell?                                                                5       Q    Okay.
 6      A      My ex-boyfriend used to work there and I                   6       A    -- it's something I enjoyed doing.
 7   would help him out. I was never really -- I don't                    7       Q    Okay. Did you get a check from them?
 8   think I was employed there. He was my boyfriend so I                 8       A    I volunteered. I think they eventually
 9   stayed there with him all the time.                                  9   put me on some kind of payroll. I don't think it was
10      Q      What was his name?                                        10   much, though.
11      A      I called him             but I think his real             11       Q    Okay. So what year were you in helping
12   name was                                                            12   out in a Taco Bell wearing the uniform and getting a
13      Q      Okay. And so he was employed there, but                   13   check?
14   you were not employed there?                                        14       A    I have no idea when it comes to years.
15      A      I used to go there and help him out.                      15       Q    Was it before or after Mar-a-Lago?
16      Q      Did you have a uniform?                                   16       A    Before Mar-a-Lago.
17      A      I would have to wear a shirt when I was                   17       Q    Okay. And how --
18   there, yes. He was the manager, so --                               18       A    Mar-a-Lago was my first real job so --
19      Q      Oh, a Taco Bell shirt?                                    19       Q    What's that?
20      A      Yes.                                                      20       A    Mar-a-Lago was like my first real job.
21      Q      Okay. And did you get a paycheck from                     21       Q    What do you mean by real job?
22   them?                                                               22       A    Like, you know, fully employed, sit down
23      A      I believe             paid me.                            23   for an interview and, you know.
24      Q      How did he pay you?                                       24       Q    Okay. So Taco Bell, was Taco Bell the
25      A      With a check.                                             25   first place you got a paycheck from?

                                                         VIRGINIA GIUFFRE 5/3/2016                                               13 (49 - 52)
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                                                           Page 53                                                                Page 55
 1            MR. EDWARDS: Object to the form.                        1      Q      Months. And what was the job you believe
 2      A     Uhm, I don't know, to be honest.                        2   you had immediately prior to Mar-a-Lago?
 3      Q      (BY MS. MENNINGER) And in what order did               3      A      If I were correct, it would be the aviary
 4   Taco Bell, Publix and Mar-a-Lago go, and the aviary,             4   that I volunteered at.
 5   sorry?                                                           5      Q      Okay. And you believe you were living
 6      A     Oh, I would have to guess. Do you want me               6   with your parents at the time you worked at the
 7   to guess?                                                        7   aviary?
 8      Q      Sure.                                                  8      A      Yes.
 9      A     Um, I would say Publix. And then, I think               9      Q      Okay. And not living with
10   that's when I helped my boyfriend out at Taco Bell              10      A               might have been living with me and
11   and then I think the aviary.                                    11   my parents.
12      Q      And where was the Taco Bell?                          12      Q      Okay. So you recall                was living
13      A     I was living in Fort Lauder -- I think it              13   with you and your parents at the time you worked at
14   was Fort Lauderdale. Don't quote me on that, but                14   the aviary?
15   somewhere in Florida, Broward County, something like            15      A      Yes.
16   that.                                                           16            MS. McCAWLEY: Objection.
17      Q      And who were you living with at that time?            17   Mischaracterizes testimony.
18      A     Michael. His name is James, but Michael.               18      Q      (BY MS. MENNINGER) And was                        living
19      Q      So you were living with Michael when you              19   with you and your parents at the time you started at
20   worked at the Taco Bell, right?                                 20   Mar-a-Lago?
21      A     Yes, I was living with him.                            21      A      Yes.
22      Q      And you worked with Michael when you                  22      Q      And what address was                  living with
23   worked at the Publix, correct?                                  23   you and your parents at the time you started at
24      A     No.                                                    24   Mar-a-Lago?
25      Q      Okay. So Publix came after Taco Bell or               25      A      My parents' address?

                                                           Page 54                                                                Page 56
 1   before?                                                          1      Q      Whatever address you were living at, at
 2      A     I think it came -- like I said, don't                   2   the time you started at Mar-a-Lago.
 3   quote me on it, but I think Publix came before it.               3      A                           , Loxahatchee, Florida
 4      Q      And who were you living with when you                  4   33470.
 5   worked at Publix?                                                5      Q      How is it that you came to work at
 6      A     My mom and my dad.                                      6   Mar-a-Lago?
 7      Q      And who were you living with when you                  7      A      My dad is a maintenance manager or
 8   worked at the aviary?                                            8   supervisor, I don't know what you call it. But he
 9      A     My mom and my dad.                                      9   worked in the maintenance department, mostly on
10      Q      Anywhere else that you got a paycheck from            10   tennis courts, working on the air conditioning,
11   before 2000?                                                    11   helping set up for functions. And he got me a summer
12      A     No, not that I can think of.                           12   job there.
13      Q      Okay. Anywhere else you wore a uniform?               13      Q      Okay. And you said you were on a break?
14      A     Besides Mar-a-Lago and -- yeah, that's it.             14      A      Yes.
15      Q      Okay. And so how long was it between                  15      Q      What were you on a break from?
16   working at any of those three places and the time               16      A      I think like -- this is going back so long
17   that you worked at Mar-a-Lago?                                  17   now, but I was attempting to get my GED. And it,
18      A     I have no idea. I'm sorry. Um --                       18   summer came, so school stops during the summertime
19      Q      Years? Months?                                        19   here in America, and I got a summer job.
20      A     Oh, we're going to go back                             20      Q      All right. And where were you in school?
21   chronologically. I was trying to get my GED and I --            21      A      I don't actually know the name of the
22   there was a summer break. And that's when I started             22   place. It's -- yeah, I know.
23   working for Mar-a-Lago. So that Mar-a-Lago we know              23      Q      A GED place?
24   now is in the year 2000. So I would have to say a               24      A      Yeah, it was, like, I was previously in
25   month.                                                          25   Royal Palm Beach High School, but, I mean, because of

                                                      VIRGINIA GIUFFRE 5/3/2016                                                  14 (53 - 56)
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 1   a lot of the circumstances that I had been subjected           1      Q     Locker room attendant was the name?
 2   to, I decided I wanted to get my GED.                          2      A     Of the position?
 3      Q    Okay. So you were going to an actual                   3      Q     Yes.
 4   school to get your GED, that's what you're saying?             4      A     Yes.
 5      A    Yes.                                                   5      Q     And did they give you any training?
 6      Q    And that school, whatever it was, where                6      A     No.
 7   you were getting your GED was not Palm Beach High              7      Q     Did they show you how to work the lockers?
 8   School, right?                                                 8      A     Well, I mean, there was a girl who already
 9      A    No.                                                    9   worked there at the front desk. I think she helped
10      Q    And it -- whatever the school was where               10   make appointments and greeted people, and then she
11   you were getting your GED took a summer break?                11   just told me my duties in the locker room were to,
12      A    I believe so, yes.                                    12   you know, make tea. I had never made tea before, so
13      Q    And that was in 2000?                                 13   that was -- that was fun. Learn how to make tea.
14      A    Now that we know the right dates, yes.                14   Clean up after the ladies who had been in the locker
15      Q    And that's when your dad helped you get a             15   room. Make sure the bathrooms were kept nice and
16   quote-unquote summer job?                                     16   tidy. You fold the toilet paper into a little
17      A    Yes.                                                  17   triangle every time anyone went to the toilet. Clean
18      Q    All right. And that summer job was                    18   up the sink area. It was a very crazy job.
19   Mar-a-Lago?                                                   19      Q     Do you remember the names of any of your
20      A    Yes.                                                  20   coworkers who you worked with at Mar-a-Lago?
21      Q    Okay. Now tell me how you sort of came                21      A     I believe the head of the spa area was
22   into Mar-a-Lago for the first time? He asked you to           22   Adriana or Adrienne. I can't remember exactly.
23   come? They called you? What happened?                         23      Q     Okay.
24      A    My dad was very liked there. So I think               24      A     And the girl who trained me, I have a very
25   he talked to the people who were in HR. And then              25   clear picture of her face, but I can't remember her

                                                         Page 58                                                           Page 60
 1   they said for me to come in for an interview.                  1   name.
 2      Q    Um-hum.                                                2      Q     All right. What did she look like?
 3      A    To be interviewed for a locker room                    3      A     She had blonde hair, probably to her
 4   assistant.                                                     4   shoulders, and it was curly.
 5      Q    Um-hum.                                                5      Q     And how old was she?
 6      A    They liked me. I had to go through a                   6      A     I'd say in her 20s.
 7   series of drug tests, polygraph tests. I mean, it              7      Q     All right. Did they check your
 8   was a very extensive regime to get a job there.                8   identification when you went in for your job
 9      Q    Yeah.                                                  9   interview or your --
10      A    And when all those came back good, I                  10      A     It was very extensive. I'm sure they
11   started the job.                                              11   would have had to check and make sure I was who I
12      Q    So how long do you think it took for you              12   was.
13   to go through that extensive series of drug tests and         13      Q     And so you had a driver's license, right?
14   polygraph tests and --                                        14      A     I believe so.
15      A    I did them both in the same day.                      15      Q     All right. And, let's see. Did you move
16      Q    Okay. When was the interview? Was it on               16   to a different position while you were there or did
17   the same day or a different day?                              17   you always stay as a locker room --
18      A    I believe it was like a few days                      18      A     I wasn't there very long. So I just --
19   beforehand.                                                   19      Q     Just one second. Did you always stay as a
20      Q    Okay. And do you remember who you                     20   locker room attendant?
21   interviewed with?                                             21      A     Yes.
22      A    No.                                                   22      Q     Okay. I just need to finish my question
23      Q    Do you remember the title of the job for              23   for the court reporter.
24   which you were interviewing?                                  24      A     I know, I'm sorry. I have a tendency of
25      A    Locker room attendant.                                25   jumping in.

                                                   VIRGINIA GIUFFRE 5/3/2016                                              15 (57 - 60)
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 1      Q    Okay. If I can direct your attention back            1   documents that you met Ghislaine Maxwell in '98 or
 2   to Defendant's Exhibit 12 at page 15. And under the          2   '99, correct?
 3   heading Response to Interrogatory Number 9, do you           3      A    Yes.
 4   see that where it says --                                    4      Q     And you do admit that you told members of
 5      A    Yes.                                                 5   the media that you met Ghislaine Maxwell in '98 or
 6      Q    -- Ms. Joffrey (pronouncing) -- Giuffre,             6   '99, correct?
 7   excuse me, responds as follows?                              7           MR. EDWARDS: Form.
 8      A    Yes.                                                 8      A    That was my closest approximation to what
 9      Q    Okay. It says you worked as a locker room            9   I could actually remember, so --
10   attendant for the spa area, correct?                        10      Q     (BY MS. MENNINGER) You told the media
11      A    Yes.                                                11   that you met her in '98 or '99?
12      Q    And it says records produced in this case           12           MR. EDWARDS: Form.
13   identify the date of employment as 2000, correct?           13      A    Again, yes, as close as I can remember.
14      A    Yes.                                                14      Q     (BY MS. MENNINGER) And the media
15      Q    What records that were produced in this             15   published in the newspapers that you met Ghislaine
16   case cause you to believe that the employment began 16           Maxwell in '98 or '99, correct?
17   in 2000?                                                    17           MR. EDWARDS: Form.
18      A    Uhm, is this going back to another                  18      A    Yes, they did.
19   question that I'm not allowed to answer?                    19      Q     (BY MS. MENNINGER) And the news media
20      Q    No.                                                 20   published in the newspapers what you told them, which
21      A    I have seen the documents, and I know that          21   is that you were 15 when you met Ghislaine Maxwell,
22   my employment now was in 2000.                              22   correct?
23      Q    What documents did you see that caused you          23           MR. EDWARDS: Form.
24   to make that answer?                                        24      A    Which is what I truly thought at the time,
25      A    The Mar-a-Lago employment documents.                25   yes.

                                                       Page 62                                                              Page 64
 1      Q    Are they your Mar-a-Lago employment                  1      Q     (BY MS. MENNINGER) Okay. And it is not
 2   documents?                                                   2   true that you were 15 when you met Ghislaine Maxwell,
 3      A    Um --                                                3   correct?
 4           MR. EDWARDS: Object to the form.                     4      A    It was a mistake that I made, yes.
 5      A    My name is on there.                                 5      Q     So that the printing in the newspaper that
 6      Q    (BY MS. MENNINGER) Okay. Do you believe              6   you met Ghislaine Maxwell when she was -- when you
 7   them to be your Mar-a-Lago employment documents?             7   were 15 is not a true statement of fact, correct?
 8      A    As far as I can tell.                                8      A    It is an incorrect statement as I have now
 9      Q    Okay. So you were able to review your                9   found out, that my employment started in 2000.
10   Mar-a-Lago employment documents --                          10      Q     All right. And to the best of your
11           MR. EDWARDS: Object to the form.                    11   recollection, you found that out in the middle of
12      Q    (BY MS. MENNINGER) -- and respond to the            12   2015, correct?
13   question, as it says right there that you respond,          13           MS. McCAWLEY: Objection.
14   correct?                                                    14      A    To the best of my recollection. I mean, I
15      A    Yes.                                                15   can't pinpoint an exact date I found out. But, yes.
16      Q    When did you review the documents that you          16      Q     (BY MS. MENNINGER) About a year ago?
17   reviewed to cause you to respond to that answer that 17                  MR. PAGLIUCA: Are we all participating in
18   way?                                                        18   this deposition or just --
19      A    I don't think I found out till sometime             19           MS. McCAWLEY: Same way you guys did.
20   mid -- mid last year, I believe.                            20           MR. PAGLIUCA: We did not.
21      Q    Okay.                                               21           MS. MENNINGER: I did not.
22      A    I'm really not too sure. You know, I'm              22           MS. McCAWLEY: You both objected.
23   sorry, dates and documents, there's too many to             23           MS. MENNINGER: No.
24   remember. But --                                            24           MR. PAGLIUCA: No, we didn't.
25      Q    Okay. You do admit that you filed in many           25           MS. McCAWLEY: We can go back through the

                                                  VIRGINIA GIUFFRE 5/3/2016                                             16 (61 - 64)
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 1   record.                                                          1   Mar-a-Lago?
 2             MR. PAGLIUCA: We sure can.                             2      A    Correct.
 3             So if we're all participating, maybe I'll              3      Q    Okay. I'm going to show you an exhibit
 4   have a few questions at the end of this. I think we              4   marked as Defendant's Exhibit 13.
 5   should limit this to one lawyer. And your statement              5          (Exhibit 13 marked.)
 6   about two lawyers participating in the last                      6      Q    (BY MS. MENNINGER) Okay. All right,
 7   deposition is wrong.                                             7   Ms. Giuffre, do you recognize this document?
 8             MS. McCAWLEY: Well, I recall that she got              8      A    Yes, I do.
 9   a microphone because she said she was going to be                9      Q    What is this document?
10   objecting. So --                                                10      A    This is a resume that I created myself.
11             MR. PAGLIUCA: I know. She put on a                    11      Q    All right. And what address did you put
12   microphone and didn't speak through the whole thing.            12   at the top of your resume?
13             MS. McCAWLEY: Well, we can take a look                13      A
14   back at the record. You know, it's not a problem.               14
15   Brad can make the objections.                                   15      Q    And when did you live at that address?
16             MR. PAGLIUCA: Okay. Let's take care of                16      A    I believe from 2013 to 2014.
17   it that way, then.                                              17      Q    Okay. And you said you created this
18             MR. EDWARDS: Can you tell me when you're              18   document, correct?
19   at a good stopping point?                                       19      A    Yes.
20             MS. MENNINGER: I was about to say it's                20      Q    And did you send it out to any employers?
21   been an hour.                                                   21      A    Do you have any attachments that this goes
22             MR. EDWARDS: Yeah.                                    22   with to say that I have? Because I'm not too sure.
23             MS. MENNINGER: So this would be a good                23   I've created a lot of resumes.
24   time to take a break.                                           24      Q    Okay. And hold on, I'll see if we do.
25             MR. EDWARDS: Okay. Thanks.                            25          MS. MENNINGER: All right. I'll mark this

                                                           Page 66                                                           Page 68
 1             THE VIDEOGRAPHER: We're off the record at              1   next as Defendant's Exhibit 14.
 2   10:12.                                                           2          (Exhibit 14 marked.)
 3             (Recess taken from 10:12 a.m. to                       3      A    Thank you.
 4   10:27 a.m.)                                                      4      Q    (BY MS. MENNINGER) All right. Do you
 5             THE VIDEOGRAPHER: We're back on the                    5   recognize this document?
 6   record at 10:27.                                                 6      A    Yes.
 7      Q      (BY MS. MENNINGER) All right.                          7      Q    What is this document?
 8   Ms. Giuffre, you testified that you first became                 8      A    This is me replying to ads for jobs.
 9   aware that you -- your employment at Mar-a-Lago began            9      Q    Okay. And you were communicating with --
10   in 2000, in mid-2015, correct?                                  10   by your e-mail, correct?
11             MR. EDWARDS: Object to the form.                      11      A    Yes.
12   Mischaracterizes her testimony.                                 12      Q    All right. And I apologize. This one
13      A      I don't know exactly when. It could be                13   actually has the resume attached to an e-mail.
14   towards the end of 2015. It could be towards the                14      A    Um-hum.
15   beginning of 2016. I just know that I've learned                15      Q    Do you see that, towards the back of the
16   about it recently. I'm not too sure exactly what                16   document?
17   date I did learn about it.                                      17      A    Yes, I do.
18      Q      (BY MS. MENNINGER) Okay. But to your                  18      Q    Okay. So --
19   mind, it's been within the last 6 to 12 months; is              19      A    Sorry.
20   that fair?                                                      20      Q    To whom -- to whom -- with whom were you
21      A      I wouldn't say 12 months, no. I would                 21   communicating about a job at this time?
22   just say up until -- I don't know when I was shown              22      A    Well, on the very top, Phil or Gary, and
23   that, when I actually first saw it, but it wasn't a             23   that was for a bartending position.
24   year ago.                                                       24      Q    Okay.
25      Q      Saw your employment records from                      25      A    Um --

                                                       VIRGINIA GIUFFRE 5/3/2016                                         17 (65 - 68)
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 1      Q    Was that something your brother had                     1   you believe the one attached to Defendant's
 2   recommended or your father? I don't know who.                   2   Exhibit 14 is the one that you sent?
 3      A    You know, I just looked at that, that's                 3      A        There are differences, isn't there? Yes,
 4   kind of why I giggled. I don't know why my                      4   there is.
 5   brother -- that's my brother. That's the way we talk            5      Q        Okay. What are the differences that you
 6   to each other: Hi, stupid head. Good luck, smelly,              6   know?
 7   XOXOXO, sissie.                                                 7      A        It starts -- I mean, let me see. The very
 8           He's my little brother so you have to                   8   top introduction is the same.
 9   understand we kind of play around. But subject to my            9      Q        Um-hum.
10   resume for hospitality, I'm not too sure why he would          10      A        After the experience.
11   have gotten it, but apparently he did.                         11      Q        Um-hum.
12      Q    Okay. And you see that your resume was                 12      A        That changes. The dates change. And then
13   attached to an e-mail communication you had with your          13   underneath Employment Training Recruitment is Indigo
14   brother?                                                       14   Bar & Grill on Exhibit 14. On Exhibit 13 it's
15      A    Yes, I do.                                             15   Mannway Logistics underneath Employment Training
16      Q    Right. And that's also your brother was                16   Recruitment.
17   part of the e-mail chain with respect to an ad placed          17           And then underneath Mannway Logistics on
18   on craigslist for a position, correct?                         18   Exhibit 13 is Mar-a-Lago Resort and Spa. And on
19      A    He was on -- let me just check the dates,              19   Exhibit 14 is Gemma Catering/Wedding Receptions. So
20   then.                                                          20   there is quite a few differences.
21      Q    Sure.                                                  21      Q        Okay. Great. Do you have any idea when
22      A    1/20/2014, 1/21, so just within a day of               22   you sent out Defendant's Exhibit 13, or if you did,
23   each other, yes.                                               23   to an employer?
24      Q    All right. And then the resume that's                  24      A        Unless you have something that's attached
25   attached is the address you were living at in                  25   to it, I can't be sure that I did.

                                                          Page 70                                                                 Page 72
 1   January --                                                      1      Q        Okay. Is the content in Defendant's
 2       A      Yes.                                                 2   Exhibit 14, that you believe you sent out to an
 3       Q      -- of 2014, correct?                                 3   employer, correct?
 4       A      Correct.                                             4       A       Unfortunately, I have to tell you that
 5       Q      All right. So you believe you created the            5   they are not correct. Through my experience I was in
 6   resume that's attached to Defendant's Exhibit 14,               6   the mind-set that I was unemployable. I had been
 7   correct?                                                        7   abused for many years and I was told by a job agency
 8       A      Correct.                                             8   that I need to show that I've consistently worked at
 9       Q      And you sent it out with respect to this             9   various places and given experience. So it's not
10   employment you saw on craigslist, correct?                     10   something that I'm proud of, but I have had to plump
11       A      Correct.                                            11   up my resumes to make it look as though I could be
12       Q      And you are the one who put into this               12   employed.
13   document the contents of the resume, right?                    13      Q        What do you mean by plump up your resume?
14       A      Yes.                                                14       A       Well, I couldn't -- I didn't feel that I
15       Q      All right.                                          15   could go to an employer and tell them that I had
16            MR. EDWARDS: We're talking about the                  16   held, you know, one job in the last 10 to 12 years
17   resume that's attached to Exhibit 14, right?                   17   and before that I was trafficked for the purpose of
18            MS. MENNINGER: We are.                                18   sex. And that's definitely something you don't want
19            MR. EDWARDS: Okay. Got it.                            19   to put down on your resume, which makes you quite
20            MS. MENNINGER: Thank you for clarifying.              20   highly unemployable.
21            MR. EDWARDS: Got it.                                  21           So I did add places in, such as Indigo Bar
22            MS. MENNINGER: Although, I don't know                 22   & Grill, Calmao Flamenco Bar & Restaurant.
23   there are any differences with Defendant's                     23      Q        Wait, wait. Which one?
24   Exhibit 13.                                                    24       A       On Exhibit 14.
25       Q      (BY MS. MENNINGER) But just to be safe, 25                  Q        Um-hum.

                                                       VIRGINIA GIUFFRE 5/3/2016                                                 18 (69 - 72)
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 1         A   Underneath Experience, the dates are all               1       A      I never worked there.
 2   incorrect, as well. It's just to show that I was                 2       Q       The description that you typed out about
 3   consistently working, which I was not. And I needed              3   the things that you did at that Indigo Bar & Grill is
 4   a job to help my family. I've got a family of five.              4   made up, correct?
 5   So like I said, it's not something proud that I had              5       A      Well, it's -- it's generally what you
 6   to do, but I felt it was the only way that I could               6   would do if you were a server or a waitress. But,
 7   actually get employed.                                           7   like I said, I did not work at Indigo Bar & Grill.
 8         Q   You lied on your resume?                               8       Q       So when you represented to an employer
 9         A   I made it look as though I had                         9   that you were applying for a job that you had done
10   continuously worked throughout the years so that way            10   these things, you had not actually done these things
11   an employer would see me as a potential candidate.              11   at Indigo Bar & Grill, correct?
12         Q   Okay. Well, let's start with Employment               12       A      Not at Indigo Bar & Grill, no.
13   Training and Recruitment, ET Australia.                         13       Q       All right. Can you read the first
14             Did you work at that place of employment?             14   sentence of your job description?
15         A   I did work there.                                     15       A      For Indigo Bar & Grill?
16         Q   What dates did you actually work there?               16       Q       Right.
17         A   I know I finished working for -- we call              17       A      At this restaurant located inside of an
18   it ET Australia, so if you don't mind me abbreviating           18   RSL, we were never slow.
19   it.                                                             19       Q       Okay. So when you said, "We were never
20         Q   However you want.                                     20   slow," you just made that up, correct?
21         A   I know I finished there in January of 2006            21              MR. EDWARDS: Form.
22   right before my son was born, my first son was born.            22       A      I tried to give as much information to my
23   And I believe I worked there for a year, I believe              23   potential employer to show that I could handle a
24   so. It might have been a little bit over a year, but            24   large amount of pressure and guests. So, yes, I put
25   just around a year.                                             25   that in there.

                                                           Page 74                                                              Page 76
 1         Q   All right. So you worked at a place for                1       Q      (BY MS. MENNINGER) But you represented
 2   about a year. And on your resume you typed that you              2   you were there working as a server or waitress and
 3   worked there for nine years, correct?                            3   that we were never slow. That is not true, correct?
 4         A   Correct.                                               4       A      Well, I never worked there, so it's --
 5         Q   And you did that, correct?                             5   again, I was very highly unemployable, given my past.
 6         A   I did.                                                 6   So I did whatever I could to make it look as though
 7         Q   Nobody else typed that for you?                        7   my potential employer could hire me.
 8         A   No, I did it myself.                                   8       Q      Okay. You described your duties that were
 9         Q   All right. And the next employment you                 9   not -- those were fictional duties, correct?
10   list here -- well, is your job description accurate?            10       A      They were duties that a waitress and a
11         A   Yes, that is actually accurate.                       11   server would do.
12         Q   Okay. And everything in there is what you             12       Q      But you did not do at Indigo Bar --
13   actually did?                                                   13       A      But I did not do them at Indigo Bar &
14         A   Yes, for ET Australia.                                14   Grill.
15         Q   Okay. Indigo Bar & Grill, did you type                15       Q      Okay. You described your energetic
16   that in?                                                        16   service and your service with a smile to the guests.
17         A   I did type that in.                                   17   That was not true, correct?
18         Q   And did you actually work at Indigo Bar &             18       A      Everything in Indigo Bar & Grill is not
19   Grill?                                                          19   correct.
20         A   No, I did not.                                        20       Q      And you created that entire description,
21         Q   All right. So the dates that you put on               21   correct?
22   your resume are not true, correct?                              22       A      For the sole purpose of being able to
23         A   That's correct.                                       23   obtain employment, yes.
24         Q   The title of your job at that place was               24       Q      To get money?
25   not correct; you didn't work there, right?                      25              MR. EDWARDS: Form.

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                                                         Page 77                                                                Page 79
 1      A    To make a wage for my family.                          1      Q       And after you moved to Australia, which
 2      Q    (BY MS. MENNINGER) All right. The next                 2   was what year?
 3   job, Gemma Catering and Wedding Receptions, did it --          3      A       I moved to Australia at the end of 2002, I
 4   is that a job that you actually held?                          4   believe.
 5      A    I did actually work there. I don't know                5      Q       All right. Do you recall going to work
 6   the dates, but I was a server, waitress and                    6   shortly after you got to Australia?
 7   bartender.                                                     7      A       Yes.
 8      Q    March of 2003 to April 2004, is that about             8      Q       How --
 9   when you worked there?                                         9      A       I had to obtain my -- my ability to work
10      A    It could be very close to it. I'm not too             10   there. So I think that took a couple months. You
11   sure.                                                         11   can get a temporary visa that allows you to work
12      Q    You're not sure?                                      12   while you're waiting for your permanent resident
13      A    No, I'm not sure.                                     13   status, and that's what we did.
14      Q    Did you have children -- had you already              14      Q       All right. Were you able to apply for
15   had children at the time you worked there?                    15   that temporary job permission before you actually got
16      A    No, I do not believe I did. I became a                16   married in Australia?
17   stay-at-home mom when I had my first child.                   17      A       I got married in Aus -- we were married in
18      Q    And what year was that?                               18   Thailand, really, but we made it official in January
19      A    2006.                                                 19   of 2003. And within a couple of weeks, I was granted
20      Q    Okay. So you believe you worked at Gemma              20   the permission to work in Australia legally.
21   Catering and Wedding Receptions before 2006?                  21      Q       Okay. So to the best of your
22      A    I believe so.                                         22   recollection, you got permission to work in Australia
23      Q    And other than that, you can't recall what            23   sometime in the spring of 2003?
24   dates you worked there?                                       24            MR. EDWARDS: Form.
25      A    I'm sorry, I couldn't help, no.                       25      A       That's actually summer over there.

                                                         Page 78                                                                Page 80
 1      Q    All right. And then what were your                     1      Q       (BY MS. MENNINGER) Fair enough. The
 2   actual -- is that your actual job that you had there?          2   first quarter of the year, calendar year --
 3      A    The description of it?                                 3      A       Yes.
 4      Q    The title, server, waitress, bartender?                4      Q       -- 2003?
 5      A    Yes.                                                   5      A       If we're going to be politically correct,
 6      Q    All right. Is the description accurate?                6   yes.
 7      A    To a T.                                                7      Q       That's what you recall?
 8      Q    What's that?                                           8      A       (Indicating.)
 9      A    To a T.                                                9              I'm sorry, yes.
10      Q    Okay. The next job you list is Mannway                10      Q       And is your description of Mannway
11   Logistics, Logistics Receptionist.                            11   Logistics correct?
12           Is that a job you actually held?                      12      A       Yes.
13      A    It is a job I held.                                   13      Q       All right. And how long did you work
14      Q    And when did you hold it?                             14   there?
15      A    Again, I'm very bad at dates. I'm not too             15      A       I think that was less than a year that I
16   sure.                                                         16   worked there. I would approximate about six, seven
17      Q    All right. Approximately when did you                 17   months.
18   have it?                                                      18      Q       Can you name one coworker you had or boss
19      A    I don't want to speculate and give you the            19   or anybody else that worked there?
20   wrong answer, so I'm not too sure.                            20      A       I know her name started with an M, but I
21      Q    Did you have children at the time you                 21   can't remember. I remember what she looks like. I
22   worked there?                                                 22   just don't remember her name.
23      A    No.                                                   23      Q       Okay. And how much did you make there?
24      Q    So before 2006?                                       24      A       I don't remember the exact amount.
25      A    Yes.                                                  25   Approximately about $20 an hour, I think.

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                                                          Page 81                                                               Page 83
 1         Q   And how many hours per week were you                  1      A    Before I worked at ET Australia, I was

 2   working for that six months to a year?                          2   actually a job seeker there. And a job seeker, I

 3         A   I believe that was full time.                         3   don't know if you're familiar with the term.

 4         Q   And is full time the same in Australia?               4          Somebody who is looking for work and you

 5         A   Yeah it's a 40-hour week.                             5   go to a job agency, and you go look on the computer.

 6         Q   Okay.                                                 6   And you actually have somebody who helps you find

 7         A   Well, 38 because you get two hours of                 7   employment. And they are the ones who recommend that

 8   lunch, so, yes.                                                 8   you show that you've continuously worked throughout

 9         Q   All right. Have you been in touch with                9   your years. They ended up really liking me, so

10   anyone from that employment in a while?                        10   that's how I got the job there.

11         A   No.                                                  11      Q    Okay. Was it a particular person there

12         Q   All right. The next job listed there is              12   that gave you the advice to plump up your resume?

13   what?                                                          13      A    It would have been one of the counselors.

14         A   Calmao Flamenco Bar & Restaurant.                    14      Q    Which one?

15         Q   Is that someplace you actually worked?               15      A    I don't know.

16         A   No, it's not.                                        16      Q    Okay. Do you remember the names of any of

17         Q   Is that a place that actually exists?                17   the counselors?

18         A   I don't really know.                                 18      A    I only remember the name of one of the

19         Q   All right.                                           19   girls I worked with, but I don't remember -- I don't

20         A   I mean, I think I looked on the Internet             20   remember anyone else's name.

21   and found something similar to what the description I          21      Q    When did you first become a job seeker at

22   was needing to fill, and that was it.                          22   ET Australia?

23         Q   Okay. So when you were creating this                 23      A    Well, if I finished there in 2006 and I

24   document in 2013/2014, right, that's when you had the          24   worked there for approximately a year, it would have

25   Titusville address?                                            25   been 2005 -- late 2004, 2005. I'm not too sure.

                                                          Page 82                                                               Page 84
 1         A   Yes.                                                  1      Q     Okay. So you were a job seeker there
 2         Q   All right. You went on the Internet and               2   first and then got employment there, right?
 3   you searched for a place that would be like the job             3      A     Yes.
 4   you were looking for?                                           4      Q     Okay. So the advice to plump up your
 5         A   Correct.                                              5   resume was while you were seeking a job or while you
 6         Q   And you found the name of an actual place,            6   were employed there?
 7   Calmao Flamenco Bar & Restaurant.                               7      A     While I was seeking a job.
 8             Did I get that right?                                 8      Q     All right. And you were assigned a
 9         A   I'm not 100 percent on that, but I think              9   counselor?
10   so.                                                            10      A     Yes.
11         Q   Okay. And you did that in order to                   11      Q     One or more than one?
12   impress the employer you were applying for here in             12      A     It changes on a daily basis. There's
13   the e-mail, correct?                                           13   somebody who comes into the office and they sit with
14         A   Correct.                                             14   you and they help you with your resume. And then
15         Q   All right. And you did that in order to              15   they help you go on the computer and look for open
16   get money from a job that you hoped to get from this           16   vacancies.
17   employer in the e-mail, correct?                               17      Q     So someone in approximately 2005 gave you
18         A   I was hoping to gain employment. And not             18   the advice to plump up your resume. That's what
19   having much experience, I put in there that I had              19   you're saying?
20   experience.                                                    20      A     To make it look like I've continuously
21         Q   Okay. And you said that you had been                 21   worked, yes.
22   advised to plump up your resume by a job agency; is            22      Q     Okay. So back to Calmao Flamenco Bar &
23   that right?                                                    23   Restaurant, which is a place you found on the
24         A   Yes.                                                 24   Internet but did not actually work. Is that, the
25         Q   What was the name of that job agency?                25   dates for your employment there, December 2001 to

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                                                         Page 85                                                             Page 87
 1   February 2003, not true, correct?                              1   experience than you had had, correct; that's what you
 2      A     Obviously, yes. At that time I was --                 2   just said?
 3   during 2001 I was with Jeffrey and Ghislaine being             3      A    Correct, I mean given that my past had not
 4   trafficked.                                                    4   enabled me to be able to look for work or I wasn't
 5      Q     Um-hum. So you were not working at Calmao             5   able to put down what I actually had -- had to do in
 6   Flamenco Bar --                                                6   my past. So I made it look as though I was able to
 7      A     Obviously not, yes.                                   7   be employed.
 8      Q     And you said you got to Australia in                  8      Q    You did not have the past that you thought
 9   late '02 and did not work there between late '02 and           9   the employer was looking for, right?
10   February of ' 03, correct?                                    10      A    I couldn't put down on there that I was
11      A     I've never worked at Calmao Flamenco Bar &           11   sex trafficked for a couple years and did not have
12   Grill, period.                                                12   the experience to be able to apply for jobs and
13      Q     All right. And the job description that              13   provide for my family.
14   you crafted there is also fictional, correct?                 14          So this is something that I said. Again,
15      A     Yes.                                                 15   I am not proud of, but I felt was necessary to do to
16      Q     All right. And Mar-a-Lago Resort and Spa             16   be able to gain employment.
17   you put down as a place you had worked, correct?              17      Q    All right. So you were applying for a job
18      A     Correct.                                             18   at a restaurant, right?
19      Q     And you typed in August 2000 to September            19      A    At this -- according to the front e-mail,
20   2001, correct?                                                20   yes.
21      A     Correct.                                             21      Q    All right. And you did not put down Taco
22      Q     And you created your job description                 22   Bell on this resume, correct?
23   there, correct?                                               23      A    No. The only jobs on here are the ones
24      A     Correct.                                             24   that we have mentioned.
25      Q     All right. And then turning to the last              25      Q    Right. And so why did you choose August

                                                         Page 86                                                             Page 88
 1   page you have your education, correct?                         1   of 2000 as your start date for Mar-a-Lago?
 2      A     Can I just make a statement to say that,              2      A    It just looks as though I've given them a
 3   again, with the Mar-a-Lago Resort and Spa, I did have          3   longstanding history of employment.
 4   to add dates to make it look as though I had                   4      Q    You chose a month. Why did you choose
 5   continuously worked. So those, again, are incorrect            5   that month?
 6   dates.                                                         6      A    I chose months and dates for every single
 7      Q     But it is a date that you typed into a                7   position on that resume. There is no specific reason
 8   resume in 2013 or 2014 --                                      8   why I chose that month. It was just purely to show
 9      A     That is the date that --                              9   that I was continuously employed.
10      Q     If you could just let me finish my                   10      Q    On the last page it has some education.
11   question.                                                     11   Which part of that is untrue?
12      A     Sure.                                                12          MR. EDWARDS: Object to the form.
13      Q     That is a date that you typed into your              13      A    I have received my business admin cert 3
14   resume in 2013 or 2014, correct?                              14   from ET Australia. I've never held responsible
15      A     That is the date that I did type in, but             15   service of alcohol and gambling.
16   those are incorrect dates.                                    16      Q    (BY MS. MENNINGER) Do you understand that
17      Q     All right.                                           17   to be a licensing of some sort or a class? Or what
18      A     And, as well as the -- the position,                 18   do you understand that --
19   organizing, making and canceling appointments for             19      A    In Australia you have to have something
20   massage therapists.                                           20   called an RSA and RCG to be able to work as a
21      Q     All right.                                           21   waitress or bartender or anything. And I didn't know
22      A     I mean, I was their locker room attendant.           22   if it was the same out here in America. So I put
23   I just wanted it to sound like I had more                     23   down that I had.
24   receptionist experience than I did.                           24          I had taken a CPR and first aid. I don't
25      Q     You wanted it to look like you had more              25   remember when, but it's not current.

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 1            And I did go to Royal Palm Beach High                   1      A     I remember spending a birthday with them
 2   School and I didn't put down a degree there or                   2   on Jeffrey Epstein's island called Little Saint
 3   anything.                                                        3   Jeff's. I wouldn't say it was a party. It was just
 4      Q     So is it fair to say you never worked as a              4   Ghislaine, me, Jeffrey. I believe                  was
 5   waitress in Australia. Is that what you just said?               5   there. I got some presents from them.
 6      A     I did work as a waitress at Gemma                       6      Q     What presents did you get?
 7   Catering.                                                        7      A     Ghislaine gave me a whole bunch of makeup,
 8      Q     Oh, okay.                                               8   like boxes of different kinds of eye shadows and
 9      A     I don't believe I needed my RSA to work                 9   lipsticks and just makeup altogether.
10   there. I'm not too sure.                                        10            Jeffrey gave me a bracelet and, I think
11      Q     All right. And if I could just ask you                 11   earrings.
12   one other question about Gemma Catering. In the last            12      Q     What kind of earrings?
13   line of the job description it says: This job was a             13      A     They were what I believed to be diamonds.
14   second job. I would work in the evenings and                    14   I don't know what they exactly were. I think Jeffrey
15   weekends for saving extra cash.                                 15   was talking about, they could have been passed off as
16            What was it a second job to?                           16   good knock-offs. But they appeared to be diamonds.
17      A     If my time period is right, it would be my             17      Q     Any other presents?
18   second job to Mannway Logistics because they were               18      A     I remember the makeup and the jewelry. I
19   both -- Gemma Catering and Mannway Logistics were               19   don't remember much else.
20   both in Sydney, whereas ET Australia was on the                 20      Q     And that was your 17th birthday, you said?
21   central coast.                                                  21            MR. EDWARDS: Form.
22      Q     All right. ET Australia is on the central              22      A     It's hard for me to really pinpoint
23   coast?                                                          23   exactly which birthday it was.
24      A     Correct.                                               24      Q     (BY MS. MENNINGER) So it could have been
25      Q     And Gemma and Mannway are in Sydney?                   25   your 18th or your 19th?

                                                           Page 90                                                                Page 92
 1      A     In Sydney, yeah.                                        1       A       I don't want to lock down on which exact
 2      Q     All right. Got it.                                      2   birthday it could have been without knowing.
 3            Do you know if those two organizations                  3      Q        You don't know which birthday it was; is
 4   still exist?                                                     4   that what you're saying?
 5      A     Mannway, I would definitely say, it's a --              5       A       The one that I'm specifically telling you
 6   it's a large logistic company. I would say it still              6   about?
 7   does exist.                                                      7      Q        Right. You don't know which one?
 8            Gemma Catering, I'm not too sure if that                8       A       No.
 9   exists anymore or not.                                           9      Q        All right. Do you remember spending more
10      Q     Okay. All right. So did you spend your                 10   than one birthday with Jeffrey Epstein and Ghislaine
11   16th birthday with Ghislaine Maxwell and Jeffrey                11   Maxwell?
12   Epstein?                                                        12       A       Yes.
13      A     No. I was 16 when I met them, now that I               13      Q        Okay. Tell me about the other ones that
14   know the correct dates. So I would have spent my                14   you remember.
15   17th birthday with them.                                        15       A       Well, I know my 19th birthday. I can't
16      Q     So when you represented that you spent                 16   remember, really, my 18th birthday. But my 19th
17   your 16th birthday with Ghislaine Maxwell and Jeffrey           17   birthday we celebrated it early, earlier than my
18   Epstein, that was not true, correct?                            18   actual date of birth. And that's when he surprised
19      A     At my ability at the time, that's what I               19   me with tickets to Thailand.
20   believed to be true. It wasn't until I found the                20      Q        What do you mean he surprised you with
21   Mar-a-Lago records stating the year 2000. Me being              21   tickets to Thailand?
22   born in 1983 would make me turning 17 that year.                22       A       He told me that the tickets for Thailand
23      Q     So please describe for me your 17th                    23   were for my birthday.
24   birthday that you claim you spent with Ghislaine                24      Q        Did he hand you something that looked like
25   Maxwell and Jeffrey Epstein.                                    25   a ticket to Thailand? What do you mean?

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 1      A       He didn't hand me the tickets at that                  1   shortly before my birthday, but not my birthday.
 2   time, but he told me that he had booked me in for                 2      Q    (BY MS. MENNINGER) Okay. And he told you
 3   massage training at an institute in Chiang Mai.                   3   he had booked you tickets to go to Thailand, right?
 4      Q       And he told you he had booked you tickets              4      A    Correct.
 5   to a massage training in Chiang Mai, Thailand                     5      Q    All right. So you remember one birthday
 6   sometime before your actual 19th birthday?                        6   at which you received makeup, bracelet and earrings
 7            MR. EDWARDS: Form.                                       7   and one birthday at which you received tickets to
 8      Q       (BY MS. MENNINGER) Did I get that right?               8   Thailand.
 9      A       Yes.                                                   9          Do you remember any other birthdays that
10      Q       Okay. Did he hand you --                              10   you spent with Jeffrey Epstein and/or Ghislaine
11      A       Excuse me.                                            11   Maxwell?
12      Q       -- hand you anything at that time?                    12      A    I'm sure there is, but I honestly can't
13      A       No, I don't think so.                                 13   remember what I did for my 18th birthday.
14      Q       And where were you located when he told               14      Q    Okay. Well, I'm sorry, did you know for
15   you this about the Thailand massage training?                    15   sure that the bracelet, earrings and makeup were from
16      A       Jeffrey, Ghislaine and I had just gone                16   your 17th birthday, or do you know?
17   scuba -- not scuba diving, not with the big tanks,               17      A    I don't know.
18   but snorkeling with just the mask and the two-piece,             18      Q    But you know they were not for your
19   and on Jeffrey's island, by the way.                             19   16th birthday, right?
20            And we had gone out for a while. And we                 20      A    Correct.
21   had come back. And he's got a pier where it's got a              21      Q    All right. If I could have you go back to
22   ladder and you climb up. And we were wearing wet                 22   Defendant's Exhibit 1, I think.
23   suits. So we were taking off our flippers and our                23      A    Defendant's, sorry, Exhibit 1?
24   wet suits and all of our gear.                                   24      Q    Um-hum. Page 9, either at the bottom or
25            And they said they wanted to sit down and               25   in the upper right-hand corner.

                                                            Page 94                                                             Page 96
 1   talk to me, just the three of us. And he -- first,                1          Do you see that page?
 2   he told me about the --                                           2      A    Page 9 of 27, yes.
 3      Q       If I could just stop you. I think I asked              3      Q    All right. And paragraph 23, do you see
 4   where were you --                                                 4   that paragraph?
 5      A       Oh, I'm sorry.                                         5      A    I see the paragraph.
 6      Q       -- when you had this conversation about                6      Q    All right.
 7   the --                                                            7      A    I was just going to read it over quickly.
 8      A       Just the island. I'm just trying to                    8      Q    By all means.
 9   describe the instance that he gave it to me.                      9      A    I've read it.
10      Q       Oh, okay.                                             10      Q    And the sentence, Defendant and
11      A       It was on the island, on the pier in the              11   Ms. Maxwell acknowledged and celebrated plaintiff's
12   Caribbean.                                                       12   16th birthday, is not a true statement, correct?
13      Q       Okay. And it was sometime before your                 13      A    Only upon learning about the fact that I
14   19th birthday?                                                   14   just found out my records. I assumed at the time it
15      A       Correct.                                              15   was my 16th birthday. But now we know different.
16      Q       How much time before?                                 16      Q    You admit, as you sit here today, that
17      A       I don't know. A couple -- six weeks, a                17   defendant and Ms. Maxwell did not celebrate your 16th
18   couple of months. I don't know. Close to my                      18   birthday with you, correct?
19   birthday. It was my birthday present, that's what he             19      A    Correct, based upon the records.
20   told me.                                                         20      Q    Which you don't know when you saw?
21      Q       Okay. So you don't know when you had this             21      A    I know it was, you know, it wasn't -- it
22   conversation?                                                    22   wasn't a year ago, but it wasn't that long ago
23            MR. EDWARDS: Form.                                      23   either. So I'm not too sure. I can't tell you the
24      A       I mean, I -- no, I didn't record the time             24   date that I actually saw them.
25   and the date, so I can only speculate. It was                    25      Q    All right. Last year you lived in

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 1   Colorado for part of the year, correct?                           1   mischaracterized her testimony. She actually just
 2      A    For part of the year, yes.                                2   testified that she may have heard that.
 3      Q    And then you moved to Australia, correct?                 3             MS. MENNINGER: No, you're not testifying.
 4      A    Yes.                                                      4   I've asked her --
 5      Q    You did not live in Florida at any point                  5             MR. EDWARDS: I'm clearing the record up
 6   in time during 2015, correct?                                     6   right now, though.
 7      A    I believe I left Titusville at the end of                 7             MS. MENNINGER: You can object based on
 8   2014.                                                             8   form. That's a valid objection. You've made your
 9      Q    Okay. So you did not live in Florida                      9   record.
10   during 2015, correct?                                            10       Q      (BY MS. MENNINGER) Did you review records
11      A    I believe so.                                            11   that clarified dates for you?
12      Q    All right. So when you reviewed these                    12       A      I've either reviewed them or I've been
13   records sometime in 2015 that caused you to know the 13               told about -- I can't remember. I'm sorry. I
14   real date of when you worked at Mar-a-Lago, where                14   know -- I know now that the dates are what they are,
15   were you physically located?                                     15   but I don't remember.
16           MR. EDWARDS: Object to the form and                      16       Q      You don't know when you learned that the
17   mischaracterized her testimony.                                  17   dates are what they are?
18      A    I don't remember where I saw these                       18       A      No, I don't.
19   records, when I saw these records. I know it wasn't              19       Q      And your best guess is what?
20   a year ago. I know it was more recent. I can't                   20             MR. EDWARDS: Objection.
21   pinpoint the date that I actually saw them, but I                21             If any of your answer is based on
22   recently, I believe -- I don't know. I don't want to             22   attorney-client privilege, I'm instructing you not to
23   sit here and speculate and then give you the wrong               23   answer.
24   answer. It's just new knowledge for me.                          24       A      I can't answer, then.
25      Q    (BY MS. MENNINGER) All right. Did you                    25       Q      (BY MS. MENNINGER) Okay. So have your

                                                            Page 98                                                             Page 100
 1   receive the records by e-mail?                                    1   attorneys told you to change your dates?

 2      A     I believe so.                                            2           MR. EDWARDS: Objection.

 3      Q     Okay. Did you use any e-mail address                     3           Do not answer that question. This is a

 4   other than                                                        4   question intentionally devised to invade the

 5      A     No.                                                      5   attorney-client privilege.

 6      Q     That's the only e-mail address that you've               6           She's not going to answer those questions.

 7   used?                                                             7      Q      (BY MS. MENNINGER) You can answer a

 8      A     That's correct.                                          8   question about whether your attorneys had told you to

 9      Q     And the Mar-a-Lago records that you                      9   lie. Because that would be a crime, and I'm sure --

10   reviewed you received by e-mail at that e-mail                   10      A      I will --

11   address?                                                         11      Q      -- I'm sure you want to tell me that your

12      A     Possibly. I mean, I can't say                           12   attorneys did not tell you to lie, correct?

13   100 percent. I could have been told about them. I                13      A      I can tell you for a fact my attorneys

14   could have seen them on a piece of paper. I really               14   have never told me to lie.

15   don't know. This is a very hazy subject. All I know              15      Q      All right. And did your attorneys tell

16   is that I found out and that was able to clarify a               16   you to change a date?

17   lot of dates for us.                                             17           MR. EDWARDS: Objection. She's not

18      Q     Okay. What other dates were clarified?                  18   answering any questions about communications between

19           MR. EDWARDS: I object and instruct the                   19   her lawyers and herself, period.

20   witness not to answer if any of your knowledge is                20      Q      (BY MS. MENNINGER) So if I could also

21   based on any privileged communication that you had               21   direct your attention to Defendant's Exhibit 8. It's

22   between yourself and any of your lawyers.                        22   the manuscript. If you could turn to page 40.

23      Q     (BY MS. MENNINGER) Okay. You just said                  23           THE VIDEOGRAPHER: I just have a quick

24   you reviewed records yourself, correct?                          24   request, Counsel.

25           MR. EDWARDS: Object. That                                25           Ms. Giuffre, would you mind bringing the

                                                         VIRGINIA GIUFFRE 5/3/2016                                            25 (97 - 100)
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                                                         Page 101                                                              Page 103
 1   mic higher up on your jacket, please?                           1            If you remember the answer, please tell
 2             THE DEPONENT: Sure.                                   2   her the answer.
 3             THE VIDEOGRAPHER: Thank you.                          3       A     I don't know the answer, where I spent my
 4             THE DEPONENT: Tell me if that's okay.                 4   sweet 16th birthday.
 5   Better?                                                         5       Q     (BY MS. MENNINGER) Do you know who you
 6      A      Okay. Page 40?                                        6   were with on your sweet 16th birthday?
 7      Q      (BY MS. MENNINGER) Right. Do you see the              7       A     No, I don't.
 8   first full paragraph on that page?                              8       Q     Do you know where you lived on your sweet
 9      A      I do.                                                 9   16th birthday?
10      Q      The first line begins: I spent my sweet              10       A     No, I don't.
11   16th birthday on his island in the Caribbean next to           11       Q     Were you living with your parents on your
12   Little (sic) St. James Isle. He liked to call it               12   sweet 16th birthday?
13   Little St. Jeff's. His ego was enormous as his                 13       A     I don't know.
14   appetite for fornicating.                                      14       Q     Were you living with               on your sweet
15             Do you see that sentence?                            15   16th birthday?
16      A      I do.                                                16       A     I don't know. I was a runaway a lot. I
17      Q      That is not true, correct? You were not              17   don't know where I lived at the time.
18   spending your sweet 16th birthday on Little St. James          18       Q     Okay. Were you working at Taco Bell on
19   Isle, correct?                                                 19   your sweet 16th birthday?
20      A      Based on my knowledge at the time that I             20       A     I don't think so. I don't know.
21   wrote this manuscript, I thought I did spend my 16th           21       Q     Were you working at Publix on your sweet
22   birthday there. And so I put it down in there as               22   16th birthday?
23   that. Now I know that it wasn't my 16th birthday.              23       A     I don't know.
24      Q      Or your sweet 16th birthday?                         24       Q     Were you working at an aviary on your
25      A      Well, we --                                          25   sweet 16th birthday?

                                                         Page 102                                                              Page 104
 1             MR. EDWARDS: Object to the form.                      1      A     Again, I don't know.
 2   Harassing.                                                      2      Q     Do you recall any present you actually got
 3      Q       (BY MS. MENNINGER) Was it your sweet 16th            3   on your sweet 16th birthday?
 4   birthday?                                                       4      A     No, I don't. I don't know where I spent
 5      A       Is it not custom to call your 16th                   5   it, who I spent it with or what I got. I'm sorry.
 6   birthday sweet? Have you never heard that saying                6      Q     How long did you work at Mar-a-Lago?
 7   before?                                                         7      A     Best of my recollection, it was a summer
 8      Q       Was it your sweet 16th birthday,                     8   job. I believe I started in June. And I think I
 9   Ms. Giuffre?                                                    9   only worked there approximately two weeks, two, three
10      A       As we --                                            10   weeks.
11             MR. EDWARDS: She's answered the question.            11      Q     How many hours a week did you work?
12   It's been asked and answered.                                  12      A     I want to say it was a -- I want to say
13             MS. MENNINGER: She asked me a question,              13   it's a full-time job.
14   actually. You're not testifying here.                          14      Q     Do you recall it being a full-time job?
15      Q       (BY MS. MENNINGER) Was it your sweet 16th 15                A     It was a summer job, but just thinking
16   birthday?                                                      16   back, my dad used to bring me in and bring me home.
17      A       As I thought, in the manuscript when I              17   So he worked full time, all day. So -- and I didn't
18   wrote it, I thought it was my sweet 16th birthday.             18   lounge around Mar-a-Lago so, yes, I think it would
19      Q       Okay. Now that you know it wasn't, where            19   have been a full-time job.
20   did you spend your sweet 16th birthday?                        20      Q     And how much did you make per hour?
21      A       Well, I don't know.                                 21      A     Approximately, I think I remember making
22      Q       Well, just give us your best guess.                 22   $9 an hour.
23             MR. EDWARDS: Objection. And she's not                23      Q     The bracelet and earrings you got for your
24   going to guess today. She's going to tell you the              24   birthday, some birthday, on Little -- or where was
25   answers as she remembers them.                                 25   that birthday party, at Little St. James?

                                                     VIRGINIA GIUFFRE 5/3/2016                                              26 (101 - 104)
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                                                      Page 105                                                          Page 107
 1           MR. EDWARDS: Object to the form.                     1      Q     Well, all right. We'll come back to that
 2      Q     (BY MS. MENNINGER) Where was it?                    2   in a minute. But the apartment that you left in 2002
 3      A     At Little Saint Jeff's.                             3   was the one in Royal Palm Beach that you lived at
 4      Q     Okay. Where are those bracelet and                  4   originally with               and then after breaking up
 5   earrings now?                                                5   with                  lived there? That's the one we're
 6      A     I left everything behind me when I went to          6   talking about?
 7   Thailand.                                                    7      A     Correct.
 8      Q     Where did you leave them, exactly?                  8      Q     That's the apartment we're talking about?
 9      A     I had a storage facility and my apartment           9      A     That's not the one that --
10   that I lived in.                                            10      Q     Okay.
11      Q     So where were they, in the storage                 11      A     Sorry. I'm confused. Could you please
12   facility or in the apartment?                               12   reask the question?
13      A     Most likely in the apartment.                      13      Q     All right. I asked you where you left
14      Q     Okay. What apartment was that?                     14   your bracelet or earrings. You think you --
15      A     Royal Palm Beach. I don't know the                 15      A     Okay, yes.
16   address, I'm sorry.                                         16      Q     -- left them in an apartment, correct?
17      Q     You don't know the address at all?                 17      A     Okay. Yes. Yeah, not the one -- not the
18      A     Not at all.                                        18   first one. The one where          eventually moved into.
19      Q     Okay. Where was it roughly located in              19      Q     That's the apartment you left the bracelet
20   Royal Palm Beach?                                           20   and earrings at?
21      A     I don't know. It's been a long time since          21      A     I believe so, yes.
22   I've been back to Royal Palm. I don't remember              22      Q     So when you were working at Mar-a-Lago,
23   street names or anything.                                   23   you rode with your father every day?
24      Q     Did it have one or two bedrooms?                   24      A     Yes.
25      A     It was two bedrooms.                               25      Q     What car did he drive at the time?

                                                      Page 106                                                          Page 108
 1      Q     Was it on the first or second floor?                1      A     I don't know.
 2       A    The second floor.                                   2      Q     Okay. Did you have a vehicle of your own
 3      Q     Who lived there with you?                           3   at the time?
 4       A               first lived there with me.               4      A     No.
 5            and I broke up shortly after living there.          5      Q     Did you have a driver's license at the
 6   And         lived there with me.                             6   time?
 7      Q     Okay. And that's the apartment that you             7      A     Yes. I got my permit when I was 15 and my
 8   left when you went to Thailand?                              8   driver's license when I was 16.
 9       A    Yes.                                                9      Q     Okay. And how were you paid, by cash or
10      Q     Did you live at more than one apartment            10   check or some other method?
11   with                                                        11      A     I don't remember.
12       A    When I was a runaway, he let me stay at            12      Q     Did you have a bank account at that time?
13   his apartment.                                              13      A     I don't think I've ever had a bank
14      Q     Was that a different apartment?                    14   account -- well, up until recently, living here. I
15       A    Yes.                                               15   don't remember having a bank account.
16      Q     All right. So you lived at                         16      Q     So you believe you got paid by unknown
17   apartment when you were a runaway?                          17   means and you did not deposit it into a bank?
18       A    Correct.                                           18      A     Correct.
19      Q     And did you live anywhere else other than 19               Q     What was your uniform when you worked
20   those two apartments with                                   20   there?
21       A    We stayed at               parents' house, I       21      A     At Mar-a-Lago?
22   think for a few weeks before the apartment.                 22      Q     Right.
23      Q     Okay. The apartment that you rented?               23      A     It was a white miniskirt with a little
24       A    The apartment that              rented. I          24   white polo top with the emblem of Mar-a-Lago on it.
25   think I was too young to go on a lease.                     25      Q     Did they give you more than one?

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                                                        Page 109                                                           Page 111
 1      A     I don't know, maybe.                                  1   masseuses had their own uniforms.
 2      Q     Did you wear it to and from work every                2      Q     What did the masseuses' uniform look like?
 3   day?                                                           3      A     I don't remember.
 4      A     Yes.                                                  4      Q     No recollection at all?
 5      Q     Did you get new ones when you arrived that            5      A     None whatsoever.
 6   were clean or did you launder them at home?                    6      Q     Color?
 7      A     I would have had to wash them when I got              7      A     No, sorry. I remember mine.
 8   home, I suppose.                                               8      Q     Okay. How did it come to pass that you
 9      Q     And you think you had more than one or you            9   were no longer working at Mar-a-Lago in two to three
10   don't recall?                                                 10   weeks?
11      A     I don't recall.                                      11      A     I was approached by Ghislaine Maxwell.
12      Q     All right. Was that something you                    12      Q     Okay. And how long had you been working
13   purchased or did they give it to you?                         13   at Mar-a-Lago when you were approached by Ghislaine
14      A     They gave it to me.                                  14   Maxwell?
15      Q     And who else was wearing that uniform?               15      A     Roughly two to three weeks.
16      A     The other locker -- the lady that did the            16      Q     Okay. Where in the spa were you when you
17   front desk next to the locker rooms.                          17   were approached by Ghislaine Maxwell?
18      Q     She had the same one?                                18      A     Just outside the locker room, sitting
19      A     Yes.                                                 19   where the other girl that works there usually sits.
20      Q     Was that Adriana?                                    20   She was away from the desk. I was reading a book on
21      A     I don't think Adriana wore a uniform. I              21   massage therapy.
22   think she just dressed professional.                          22      Q     Was that indoors or outdoors?
23      Q     Okay. And what other employees did you               23      A     Outdoors.
24   see there at the spa at the time when you worked              24      Q     Okay. And what -- were you in the sun or
25   there?                                                        25   in the shade?

                                                        Page 110                                                           Page 112
 1      A     There were -- well, this is in the massage            1      A     In the shade underneath a -- I don't know
 2   area and there's also like a fitness area. So                  2   what you'd like to call it, but, you know, underneath
 3   there's spa and fitness. So there would be the                 3   the complex, the building.
 4   masseuses and then there would be the trainers. And            4      Q     All right. And what was Ghislaine Maxwell
 5   that was just located in that one area away from the           5   wearing when she approached you?
 6   main house and stuff.                                          6      A     I don't remember what she was wearing.
 7      Q     And is that the area in which you worked?             7      Q     Any recollection, color of clothing or
 8      A     Yes.                                                  8   anything?
 9      Q     In the spa area or the fitness area?                  9      A     No.
10      A     The spa and the fitness area were in the             10      Q     Okay. Any details about her? Was she
11   same complex.                                                 11   carrying a purse or anything?
12      Q     Okay. What did the other people who                  12      A     No. She looked like, from my memory, she
13   worked in the spa area wear?                                  13   looked like she was either there for a massage or
14      A     I don't remember what they wore.                     14   fitness. I remember she had a British accent. She
15      Q     All right. And what did the people in the            15   was very interested in the book that I was reading.
16   fitness area wear?                                            16           I mean, we can get into some more details
17      A     I don't remember. I know it was -- we had            17   later if you'd like, but I don't remember any more
18   our own uniforms. Everyone else had their own.                18   about what she was wearing that day.
19      Q     Who is we?                                           19      Q     Did you have a cell phone at that time?
20      A     Well, the girls that worked in the meet              20      A     No.
21   and greet area. Me and the other girl with the curly          21      Q     Where were you living at that time?
22   hair I told you about --                                      22      A     At my parents'.
23      Q     Um-hum.                                              23      Q     And who else was living there with you at
24      A     -- had our own uniforms. And then the                24   the time?
25   fitness people had their own uniforms. And the                25      A     My mother and my dad and my brother.

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                                                           Page 113                                                          Page 115
 1       Q    Which brother?                                           1   there's one in Royal Palm and Wellington, and I used
 2       A                                                             2   to go to both.
 3       Q    What about your other brother?                           3      Q    Did you have a card for both?
 4       A    I think he had moved out by then.                        4      A    Did I have a card?
 5       Q    What forms of communication did you have?                5      Q    A library card?
 6   Just a home phone number, or what?                                6      A    Yeah.
 7       A    Yeah, there was a home phone.                            7      Q    For both places?
 8       Q    When do you recall ever getting a cell                   8      A    To be able to rent out a book, yeah.
 9   phone?                                                            9      Q    Okay. So the best of your recollection is
10       A    The first cell phone I ever got was the                 10   you used one of your library cards at one of those
11   one that Ghislaine gave to me.                                   11   two libraries to check out a book on massage and
12       Q    So you never had -- your parents, did they              12   anatomy?
13   have ones when you were working at Mar-a-Lago?                   13      A    Correct.
14       A    No, my dad used to -- like, we had phones               14      Q    And when did you do that relative to
15   in the spa and maintenance area and so on, so forth.             15   starting at Mar-a-Lago?
16   And you could, so to speak, page people from around              16      A    Probably within the first week. I mean, I
17   the courts.                                                      17   saw what the massage therapists got to do. I mean,
18       Q    Okay. So tell me what you recall of the                 18   their jobs were so relaxing. The music, like the
19   first conversation that you had with Ghislaine                   19   atmosphere, they always had happy clients. It just
20   Maxwell.                                                         20   seems like an ideal job.
21       A    I'm sitting there reading my book about                 21      Q    And so you were spurred to go to the
22   massage therapy, as I'm working in the spa. And I'm              22   library and check out a book?
23   getting my GE -- well, I was in the process of                   23      A    Well, I had been talking with the other
24   getting my GED before I went to my summer job. I                 24   massage therapists and they're the ones who first
25   decided that I would like to become a massage                    25   intrigued me about what they do. And, you know, I

                                                           Page 114                                                          Page 116
 1   therapist one day. And the body really intrigued me,              1   wanted to aim for something higher than being a
 2   you know, reading this massage was a lot about                    2   locker room attendant one day. And. Yeah.
 3   anatomy, blood flow. Everything to do with, you                   3      Q    What was the name of the massage therapist
 4   know, touching somebody somewhere and then triggering             4   that you were speaking with?
 5   a result somewhere else. I just was very intrigued                5      A    Oh, I have no idea.
 6   by the whole anatomy thing.                                       6      Q    Can you give me any physical description
 7           She came up, Ghislaine, sorry. Ghislaine                  7   of any of them?
 8   came up and approached me at the desk that I was                  8      A    Um, there was one who had blonde short
 9   sitting at. And my book was like this (indicating)                9   hair. There was -- I would say there's probably
10   and she said, Oh, you're reading a book about                    10   about four massage therapists that work in there.
11   massage. You want to do massage? And I told her,                 11   So, I mean, I don't remember all of them.
12   Yes, you know, I'm very interested in it. One day I              12      Q    Okay. What time of day was it?
13   would like to become a masseuse.                                 13          MR. EDWARDS: Object to the form.
14      Q    All right. Where did you get the book on                 14      A    Afternoon.
15   massage?                                                         15      Q    (BY MS. MENNINGER) How late?
16      A    Maybe the library.                                       16      A    Anywhere between 2 to 4.
17      Q    Maybe or do you recall?                                  17      Q    And what time did you get off of work?
18      A    I don't think I purchased it. So I'd have                18      A    I believe I got off at 5.
19   to say the library.                                              19      Q    And what was the rest of your conversation
20      Q    Okay. What library was that?                             20   with Ms. Maxwell?
21      A    Whichever library was close to my house.                 21          I'm sorry, I don't think you finished.
22      Q    Do you remember a library being close to                 22      A    Thank you. Well, she noticed I was
23   your house?                                                      23   reading the massage book. And I started to have
24      A    There's one in Wellington that I used to                 24   chitchat with her just about, you know, the body and
25   go to. Oh, no, there's one in Royal Palm. Yeah,                  25   the anatomy and how I was interested in it. And she

                                                        VIRGINIA GIUFFRE 5/3/2016                                      29 (113 - 116)
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 1   told me that she knew somebody who was looking for a             1   A cell phone or a home phone, or do you have any
 2   traveling masseuse.                                              2   idea?
 3           And I said, Well, I don't have any                       3      A    I have no idea. Ghislaine answered. So
 4   accreditations. This is the first book I've ever                 4   if it was a home phone, the butlers probably would
 5   read. She goes, That's okay. I know somebody. We                 5   have answered. So most likely it was her cell phone.
 6   can train you. We can get you educated. You know,                6      Q     All right. And what happened when you got
 7   we can help you along the way if you pass the                    7   off of work?
 8   interview.                                                       8      A    My dad drove me to El Brillo Way.
 9           If the guy likes you, then, you know, it                 9      Q     Um-hum.
10   will work out for you. You'll travel. You'll make               10      A    We arrived at a very large pink mansion.
11   good money. You'll be educated, and you'll finally              11   And we knocked on the door. My dad got out of the
12   get accredited one day.                                         12   car and we knocked on the door.
13      Q    Okay.                                                   13      Q     Do you recall which car this was?
14      A    She finished off by, you know, giving me                14      A    I don't know what he was driving at the
15   her number. And I told her I'd have to ask my dad.              15   time. My dad always drives trucks. So it would have
16   And I called my dad. I ran over, actually, to see my            16   been some kind of truck.
17   dad, talked to him. He said it would be okay. I                 17      Q     But you don't know which kind?
18   used the phone from Mar-a-Lago to call her and tell             18      A    I don't know if it was a Ford or a Dodge
19   her that I was allowed to come over.                            19   or --
20           And she said, Great. Meet me here at -- I               20      Q     What kind of car does your mom drive?
21   don't remember the exact address, but it was                    21      A    Right now?
22   El Brillo Way in Palm Beach -- after you get off.               22      Q     No, in 2000.
23   And my dad drove me.                                            23      A    Oh, I have no idea. I don't remember.
24      Q    Did you write down her add -- the address               24   They change cars quite often. They like getting
25   that she gave?                                                  25   different cars.

                                                          Page 118                                                       Page 120
 1       A    Yes.                                                    1      Q      When did you get your first car?
 2      Q     Did you write down her phone number?                    2       A     After my trip to London to meet Prince
 3       A    Yes.                                                    3   Andrew.
 4      Q     So did you go run and talk to your dad                  4      Q      Okay. What kind of car did you get?
 5   while she was still there?                                       5       A     A Dodge Dakota.
 6       A    No, I believe she left. And she told me                 6      Q      And did you purchase that yourself?
 7   to ask my dad and then to give her a phone call.                 7       A     Yes, I did.
 8      Q     Okay. Did she ask you your age when she                 8      Q      And how much did it cost?
 9   had that conversation with you?                                  9       A     I don't remember off the top of my head
10       A    No, she did not.                                       10   how much it cost.
11      Q     Did you tell her your age?                             11      Q      Who did you buy it from?
12       A    No, I did not.                                         12       A     My dad helped me bargain with it. I don't
13      Q     And so somewhere you wrote down a phone                13   remember where we bought it from.
14   number to call her back at?                                     14      Q      And was the title put in your name or your
15       A    Um-hum.                                                15   dad's name?
16      Q     All right. And where did you write that                16       A     I think the title was put in my name. I
17   down?                                                           17   think. I mean, my dad was with me. I've never
18       A    Probably just a piece of paper lying                   18   registered a car or anything like that before. So --
19   around the desk.                                                19      Q      So that was your first time?
20      Q     Okay. But you don't remember?                          20       A     Yes.
21       A    I mean, no, I don't have that piece of                 21      Q      Memorable, right?
22   paper anymore, so no.                                           22       A     Yes.
23      Q     Okay. And did you write down an address?               23      Q      When you got there, a butler or someone
24       A    Yes.                                                   24   answered the door, is that what you said?
25      Q     And what number do you think you called?               25       A     No, Ghislaine answered the door.

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 1      Q     Okay. And then what happened?                           1      Q     All right. Where did you see Mary?
 2      A     She shook hands with my dad. Like, she                  2      A     The same place, kitchen.
 3   briefly opened the door. She stepped out, shook                  3      Q     Were they talking to one another?
 4   hands with my dad. Told her (sic) she'd look after               4      A     No. Mary was doing something with the
 5   me and she'd make sure I get a ride home. And just               5   dishes. They were always either cleaning up or doing
 6   very briefly, that was it. And my dad left, and I                6   stuff, so --
 7   went inside with Ghislaine.                                      7      Q     And you saw them in the kitchen?
 8      Q     Did Ghislaine and your dad have any                     8      A     In the kitchen area. I mean, you have to
 9   discussion about what it was you were doing there, in            9   understand there's like three parts to that kitchen.
10   your presence?                                                  10   So it's very large.
11      A     You know, I can't recall exactly what was              11      Q     All right. What part did you see John in?
12   said. But I had already told my dad what was -- what            12      A     In the corner, left hand. And Mary was in
13   the interview was for. So --                                    13   the same vicinity but not right next to him. They
14      Q     What did you tell your dad?                            14   weren't chatting.
15      A     That a very nice lady approached me and                15      Q     What is also contained in the corner, left
16   told me that she would offer me an education to                 16   hand of the room?
17   become a massage therapist. And it was a great -- it            17      A     There's like a -- like shelves with -- I
18   would be great experience for me to be able to get              18   don't know. Just shelves that I remember, you know,
19   educated and trained and eventually be accredited.              19   open door pantry stuff.
20   So he was very happy for me as well.                            20      Q     What was Ms. Maxwell wearing when you
21      Q     You told him that outside of the presence              21   arrived at the home?
22   of Ghislaine?                                                   22      A     I don't remember what she was wearing.
23      A     Yes, when I first ran to the tennis courts             23      Q     The book that you were reading at the spa
24   where he was at.                                                24   that day, do you recall the name of it?
25      Q     And then, in your presence at the home,                25      A     No. I just know it was -- it said the

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 1   did your dad and Ms. Maxwell have any conversation --            1   word massage on the front of it. I don't know the
 2   further conversation about what you were doing there?            2   title or the author.
 3      A     I don't recall. I think they probably                   3      Q     Do you know the color of the book?
 4   would have chatted for approximately -- maybe 30                 4      A     It was -- it was dark. It was a, like
 5   seconds. It really wasn't a long chat.                           5   plastic covering.
 6            The things that stick out in my mind were,              6      Q     All right. And how big was it, if you can
 7   We will take good care of her and we'll be                       7   just demonstrate for the video?
 8   bringing -- we will make sure she gets a ride home.              8      A     Smaller than that. Maybe -- I don't --
 9      Q     And how far away did you live?                          9   maybe a little bit less than that.
10      A     Approximately 30 minutes.                              10      Q     Can you hold it sideways for the video?
11      Q     And that's with your parents' house,                   11      A     (Complied.)
12   right?                                                          12      Q     So you're saying the book size was a
13      A     That was my parents' house.                            13   little bit less than half of --
14      Q     Did you see any other employees or any                 14      A     Right. I mean, the book was a little bit
15   other people inside the house on that day?                      15   bigger. The pages were -- you know, this is very
16      A     Yes.                                                   16   small print. This is printed A4 longways, whereas, I
17      Q     Who else did you see?                                  17   think. It wasn't A4 that way. I don't know. It was
18      A     Juan Alessi.                                           18   just a book. And I don't know how many pages it had
19      Q     Um-hum.                                                19   either. I mean, approximately, maybe 100 pages.
20      A     And Maria. But Jeffrey and Ghislaine like              20      Q     Okay. So maybe my question wasn't a very
21   to call them John and Mary.                                     21   good question.
22      Q     Okay. Where did you see John?                          22           How big was the outside of the book, not
23      A     Downstairs after the whole ordeal.                     23   the thickness, but the length and the width?
24      Q     Um-hum. Which room?                                    24      A     Maybe like here (indicating).
25      A     The kitchen.                                           25      Q     So a little bit bigger?

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 1       A    Longer than this, yeah. We're going to                 1         A   Yes.
 2   fold it in half again, and then like that                       2         Q   Who else was at home when you got home?
 3   (indicating).                                                   3         A   My mom, my dad and my brother.
 4      Q     So larger than an 8 and a half and                     4         Q   Which brother?
 5   11 piece of paper?                                              5         A   Sky.
 6            MR. EDWARDS: Form.                                     6         Q   And anyone else who was there at the time?
 7       A    I don't know what 8 and a half and                     7         A   I believe Michael might have been living
 8   11 inches is. If this is 8 and a half and 11 inches,            8   with me at that time. So he might have been there.
 9   then yes. It's (indicating).                                    9         Q   Do you recall if he was there when you got
10      Q     (BY MS. MENNINGER) So when you fold it in 10               home?
11   half, is that a little bit smaller, folded in half,            11         A   I don't really remember. I remember what
12   than the book --                                               12   I did when I got home, that I basically made a
13       A    Yeah, if I were going to hold the book                13   beeline for the bathroom.
14   like this, if I were going to sit there and read the           14         Q   Let me ask you a question. Michael was
15   book like this, in my mind it would be a little bit            15   living with you at that home, at your parents' home
16   bigger than what I'm holding right here.                       16   at the time, is your best recollection today; is that
17      Q     All right. So you're demonstrating the                17   right?
18   book as it's opened that way?                                  18         A   That's my best recollection, yes.
19       A    Yeah, let's just say I'm reading it like              19         Q   When you say living with you, were you
20   this.                                                          20   guys staying in the same room?
21      Q     Okay. Got it.                                         21         A   Yes.
22            MS. MENNINGER: I'm going to suggest we                22         Q   Were you engaged at that time to him?
23   take a short break. We can --                                  23         A   That was a really weird relationship. He
24            MR. EDWARDS: Order --                                 24   was a friend who looked after me, and he did propose
25            MS. MENNINGER: -- order lunch for you                 25   to me and I did say yes. But my heart was never in

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 1   guys and then do a little bit more before the lunch             1   it.
 2   gets here --                                                    2             He was somebody that helped me off the
 3            MR. EDWARDS: Okay.                                     3   streets so I felt compelled to say yes to him.
 4            MS. MENNINGER: -- if that works for                    4         Q   Okay. So when he proposed to you and you
 5   everybody.                                                      5   said yes, did that take place before you started
 6            MR. EDWARDS: Yeah, that's great.                       6   working at Mar-a-Lago or after you started working at
 7            MS. MENNINGER: All right. Let's do that.               7   Mar-a-Lago?
 8            THE VIDEOGRAPHER: We're off the record at              8         A   Before.
 9   11:38.                                                          9         Q   And so if he were living with your parents
10            (Recess taken from 11:38 a.m. to                      10   at that time, you were living in the same room; is
11   11:57 a.m.)                                                    11   that correct?
12            THE VIDEOGRAPHER: We're back on the                   12         A   I believe so.
13   record at 11:57.                                               13         Q   And your parents understood him to be your
14      Q     (BY MS. MENNINGER) How long were you at 14                 fiance?
15   the El Brillo home on that first day you went?                 15         A   I don't think they agreed with it, but I
16       A    Over two hours.                                       16   think they understood it as that. I mean --
17      Q     Okay. And who took you home?                          17         Q   I mean, you communicated to them that he
18       A    Juan Alessi.                                          18   had proposed and you had accepted?
19      Q     And what car was he driving?                          19         A   Yeah, in not such a pretty way. I mean,
20       A    I believe it was a black Suburban.                    20   they obviously weren't very happy about it. And it
21      Q     Did anyone else ride in the car with you?             21   wasn't my true intentions to ever marry him.
22       A    Just Juan.                                            22         Q   Okay.
23      Q     What time approximately did you get home?             23         A   But I did it to make him feel okay. I
24       A    8:30, approximately.                                  24   didn't want to be mean.
25      Q     Was it dark?                                          25         Q   What did your mom say about your

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 1   engagement to                                                   1   physical features of Ghislaine Maxwell?
 2      A     Oh, they never thought it was going to go              2          A   I can tell you that she had very large
 3   forward either.                                                 3   natural breasts. I can tell you that her pubic hair
 4      Q     When you got home, you said you made a                 4   was dark brown, nearly black. I don't remember any
 5   beeline for the bathroom?                                       5   specific birthmarks or moles that I could point out
 6      A     Correct.                                               6   that would be relevant.
 7      Q     And what did you do in the bathroom?                   7          Q   Any scar?
 8      A     I showered.                                            8          A   I don't remember any scars.
 9      Q     Okay. Did you have a conversation with                 9          Q   Any tattoos?
10   anyone prior to going to the bathroom?                         10          A   No tattoos.
11      A     My mom came into the bathroom and -- and              11          Q   When did you next go to the El Brillo
12   she, you know, she asked me how it went. And I told            12   house?
13   her I'd rather not talk about it. And she didn't               13          A   I believe it would have been the next day.
14   push me any further for any more conversation.                 14          Q   You believe it would have been or was it?
15      Q     Okay. And then she left the bathroom?                 15              MR. EDWARDS: Form.
16      A     She left the bathroom.                                16          A   I know that it was consecutive, that I
17      Q     Did anyone overhear that conversation?                17   continued to go there after my first -- the first
18      A     No, the door was closed.                              18   time that the abuse took place there. It was
19      Q     Was your dad at home?                                 19   consecutive that I was there, I believe, over the
20      A     Yes.                                                  20   next course of weeks.
21      Q     Did you have a conversation with your dad             21          Q   (BY MS. MENNINGER) What day of the week
22   that night?                                                    22   was the first time you went?
23      A     Not that I remember, no.                              23          A   I don't know.
24      Q     And did you have any other conversation               24          Q   Do you know whether you went the very next
25   with your mother that night?                                   25   day or not?

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 1      A     No.                                                    1          A   I believe I did.
 2      Q     Did you have any conversation with your                2          Q   All right. How did you get there the very
 3   brother that night?                                             3   next day?
 4      A     No. He's -- he's five years younger than               4              MR. EDWARDS: Form.
 5   me. It's not something I'd talk to him about.                   5          A   I believe my dad dropped me off again.
 6      Q     And did you have any conversation with                 6          Q   (BY MS. MENNINGER) When you say you
 7            that night?                                            7   believe, do you recall him doing that or are you
 8      A     I could have. I don't remember having                  8   guessing?
 9   one, but I could have.                                          9          A   I don't -- well, this is how I figure
10      Q     Did you call any of your friends that                 10   this. I don't remember Ghislaine picking me up from
11   night?                                                         11   Mar-a-Lago. I didn't have my own car. So the only
12      A     No.                                                   12   way I could have really gotten there would have been
13      Q     Who were your good friends at that time?              13   my dad picking me up -- I mean, sorry, dropping me
14      A                     (phonetic). That was                  14   off.
15   really it. I didn't really have many friends. I                15          Q   Do you have a distinct recollection of
16   kept to myself a lot.                                          16   your father dropping you off there more than one day
17      Q     Did you call                   that night?            17   in a row?
18      A     I don't think      and I were -- we were              18          A   Yes.
19   on and off friends from middle school. And no reason           19          Q   You do not recall the car he was driving?
20   on and off like we had an argument or something. We            20          A   Like I said, he always drove trucks.
21   just got out of touch.                                         21   That's as good as I can get.
22      Q     Um-hum.                                               22          Q   And so -- and you worked on weekends as
23      A     So, no, at that time I don't think I was              23   well at Mar-a-Lago or no?
24   talking to him.                                                24          A   No.
25      Q     Are you aware of any distinguishing                   25          Q   So the second day would have had to be

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 1   another weekday or was it on a weekend?                         1   time.
 2           MR. EDWARDS: Form.                                      2         Q   So did you introduce yourself as Virginia
 3      A      I don't know.                                         3   or as Jenna?
 4      Q      (BY MS. MENNINGER) Do you know if you                 4         A   Most likely Jenna.
 5   went after work at Mar-a-Lago?                                  5         Q   Do you recall this or is this something
 6      A      Yes.                                                  6   that you're guessing about?
 7      Q      So you went to work the very next day at              7         A   Well, considering that everybody knew me
 8   Mar-a-Lago?                                                     8   as Jenna, I think I would have introduced myself as
 9      A      Yes.                                                  9   Jenna.
10      Q      Did you have a conversation with anyone at           10         Q   You don't recall it?
11   Mar-a-Lago about the day before at El Brillo?                  11             MR. EDWARDS: Form.
12      A      No.                                                  12         A   I don't recall the exact answer to that,
13      Q      You didn't talk to any of your coworkers             13   no, but just knowing I had everybody pretty much call
14   about it?                                                      14   me Jenna.
15      A      No.                                                  15         Q   (BY MS. MENNINGER) I'm just trying to
16      Q      Who was your boss at the time?                       16   make a clear record about what you do remember and
17      A      No.                                                  17   what you're guessing about. So when you say I think
18      Q      Did you have a boss at the time?                     18   I would have, it leads me to believe you don't recall
19      A      I think Adriana or Adrienne. I don't                 19   it.
20   remember the exact pronunciation of her name, but              20             If you mean something different by that --
21   it's along those lines. I believe she was my boss.             21         A   I --
22      Q      And you did not talk to her about it?                22         Q   -- please feel free to clarify. I'm just
23      A      No.                                                  23   trying to explain to you what I'm asking.
24      Q      You surmise that your father dropped you             24         A   Yes. And I'm doing the very best that I
25   off because you can't think of another way you would 25             can tell you exactly what it is. But it's just hard

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 1   have gotten there, correct?                                     1   for me to remember so long ago. And knowing that I
 2      A      Correct.                                              2   introduced myself as Jenna to everybody leads me to
 3      Q      And when you came the second day, did your            3   assume that I would have introduced myself to them as
 4   father come to the door?                                        4   Jenna as well.
 5      A      I don't think he came to the door that                5         Q   All right. But if we were to speak to
 6   time. I think I was just dropped off.                           6                    , she might have a different recollection,
 7      Q      All right. And what did you do when you               7   fair to say?
 8   got there?                                                      8             MR. EDWARDS: Form.
 9      A      Knocked on the door and --                            9         A   She could.
10      Q      Who answered the door?                               10         Q   (BY MS. MENNINGER) How is it that you
11      A      Juan Alessi.                                         11   knew to come there on this second day?
12      Q      Okay. Was anyone else there besides Juan             12         A   I was asked to come back.
13   Alessi?                                                        13         Q   When were you asked to come back?
14      A      Jeffrey, Ghislaine and             .                 14         A   The day before, after the encounter they
15      Q      Okay. And where did you see                      ?   15   told me to come back at the same time after work.
16      A      She was downstairs.                                  16         Q   Who is they?
17      Q      Did you speak to her?                                17         A   Jeffrey and Ghislaine.
18      A      Just introductions.                                  18         Q   Okay. Did they both simultaneously say
19      Q      Tell me what you mean by introductions.              19   that or did one of them say it?
20      A      My name is Virginia. Nice to meet you.               20         A   It was like a conversation that they both
21   Her name, she introduced herself as              And she       21   had with me separately. Jeffrey told me upstairs
22   told me she was Ghislaine's personal assistant.                22   after the whole entire abuse had happened that he
23      Q      Did you call yourself Virginia at the                23   really liked me and he'd like me to come back.
24   time?                                                          24             When I went downstairs --
25      A      No, I think I've gone by Jenna for a long            25         Q   Let me just stop you there. Did he say, I

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 1   want you to come back tomorrow?                                 1   of girls. It was continuous.
 2      A    Yes.                                                    2      Q     It was continuous. Name one girl that
 3      Q    Okay. Did he tell you what time tomorrow                3   Ghislaine Maxwell had sex with in your presence.
 4   he wanted you to come back?                                     4      A     Emmy Taylor. I mean, that's a name that I
 5      A    No, he just said he wants me to come back               5   know well because Emmy was always around.
 6   tomorrow.                                                       6           I'm trying to think of her name, sorry.
 7      Q    Okay. And then you went downstairs and                  7   Sarah. Her name used to be Sarah Kellen. I think
 8   what happened?                                                  8   she's changed it now that she's married.
 9      A    Ghislaine told me I did a really good job               9                                     (phonetic) -- I can't
10   and she wants me to come back tomorrow after work.             10   pronounce her last name properly, but it's around
11      Q    That's what she said, I want you to come               11   those lines.
12   back tomorrow after work?                                      12           There were a lot of other girls that I
13      A    Yes.                                                   13   honestly can't remember their names. I'm sorry. I
14      Q    You recall those words being used by her?              14   wish I could help out more because I really would
15      A    Yes.                                                   15   like to provide more witnesses for this, but I can't
16      Q    Did you ask them for a ride to get there               16   remember a lot of girls' names.
17   the next day?                                                  17      Q     So those are the three names of females
18      A    No.                                                    18   that you observed Ghislaine Maxwell have sex with --
19      Q    You just said, I'll come back tomorrow.                19           MR. EDWARDS: Object to the form.
20      A    Yeah. I agreed to come back the next day.              20   Mischaracterizes testimony.
21      Q    How did you agree?                                     21      Q     (BY MS. MENNINGER) -- is that what I
22      A    Verbally.                                              22   understand your answer to be?
23      Q    Okay. Was anyone else present when                     23           MR. EDWARDS: Objection. Mischaracterizes
24   Ghislaine said that to you and you responded, I'll             24   her testimony.
25   come back tomorrow?                                            25      A     Those are -- those are some three of the

                                                         Page 138                                                           Page 140
 1      A    I believe Juan Alessi was pretty much                   1   names that I know very well. Like I said, there was
 2   within ear distance.                                            2   a lot more.
 3      Q    Could you see him?                                      3      Q     (BY MS. MENNINGER) Okay. Do you know the
 4      A    Yes.                                                    4   names of any other girl that you personally observed
 5      Q    Okay.                                                   5   Ghislaine Maxwell have sex with?
 6      A    Like I said, in ear distance, when I mean               6      A     Do you mind me taking a minute to just try
 7   ear distance like hearing, in the hearing vicinity.             7   to reflect?
 8   And it was in the same time that she was asking him             8      Q     No.
 9   to drop me off at home.                                         9      A     Um, her name is on the tip of my tongue.
10      Q    Okay. When you were driving home the                   10   Her last name is               I don't remember her
11   first night with Juan Alessi, did you have any                 11   first name off the top of my head. I normally could
12   conversation with him?                                         12   remember it.
13      A    No. I had told him my address. It was a                13      Q     Okay.
14   very quiet ride.                                               14      A     There's just a blur of so many girls.
15      Q    Did you ride in the front or the back?                 15   It's really hard for me to remember. And you have to
16      A    The front.                                             16   understand we weren't introduced to each other on a
17      Q    It is your contention that, Ghislaine                  17   first name basis half the time. A lot of these girls
18   Maxwell had sex with underage girls virtually every            18   would come and go and you'd never see them again.
19   day when I was around her, correct?                            19           So, no, it's very difficult for me to
20      A    Yes.                                                   20   pinpoint exactly who they were. But those four that
21      Q    All right. With whom did Ghislaine                     21   I've given you are 100 percent.
22   Maxwell have sex in your presence?                             22      Q     Okay. Did you observe Ghislaine Maxwell
23      A    Well, there's a lot of girls that were                 23   forcing any of those four girls to have sexual
24   involved. We weren't on a first name basis with each           24   contact with her?
25   other. I wouldn't be able to give you lists of names           25           MR. EDWARDS: Form.

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 1      A    I don't believe that any of the girls                    1   Mischaracterizes her testimony.
 2   involved were truly willing participants doing it out            2             You can answer.
 3   of their own wanting. I believe we were all there                3      A      You wouldn't want to piss us off. You
 4   for one purpose, and that was to keep Jeffrey and                4   wouldn't want to piss me and Jeffrey off. I mean
 5   Ghislaine happy and to do our jobs, which was giving             5   that's one way of saying it. Other than --
 6   them erotic massages and keeping them pleased                    6      Q      (BY MS. MENNINGER) Did she say, I don't
 7   sexually.                                                        7   want -- you would not want to piss me off?
 8      Q    (BY MS. MENNINGER) Okay. Do you know                     8      A      Piss me off is probably my word, using
 9   what the word force means, physical force?                       9   piss, but it was along those lines. I don't remember
10      A    If you mean like held down or a gun put to              10   the exact word that she used.
11   the head, then no.                                              11      Q      And do you remember a specific occasion on
12      Q    Okay.                                                   12   which she said that to you?
13      A    But force in a word -- like a way of                    13      A      I remember very early on.
14   coercion. There was definitely indirect threats that            14      Q      Where were you?
15   you knew these people were powerful. They had a lot             15      A      I believe it was during my, what I call
16   of contacts. They were very wealthy. They were                  16   the training period with Jeffrey and Ghislaine.
17   people you did not want to cross lines with on a bad            17      Q      Okay. And where were you?
18   way.                                                            18      A      For a specific -- and like I said, it
19      Q    Okay. What threats did you hear Ghislaine               19   happened a lot. But for one specific, I remember
20   Maxwell state to you?                                           20   being out on the balcony in the house at El Brillo,
21      A    Just the reminders of the prominent people              21   sitting outside with her. This is when I thought
22   that she knows personally.                                      22   that -- I didn't know that I worked for Jeffrey
23      Q    When did Ghislaine Maxwell remind you                   23   immediately. I thought I worked for Ghislaine
24   about the prominent people that she knows personally?           24   because she was the one who brought me in. And she
25      A    It was on a constant basis. I mean, there               25   was the one offering the majority of the training to

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 1   was no just one time that she said it. It was like a             1   me.
 2   reminder, you know. And Jeffrey did a lot more of                2             So, yeah, it was on the balcony, outside,
 3   that than she did. But she definitely made it aware              3   I believe the yellow room.
 4   that we shouldn't cross boundaries with them.                    4      Q      She said, You would not want to piss me
 5      Q     Or what would happen?                                   5   off because I know powerful people, or words to that
 6      A     Like I said, it was more of an indirect                 6   effect?
 7   threat. And it doesn't take an intellect to figure               7      A      Words to that effect, yes.
 8   out what they mean when they say that they're                    8      Q      And did she say what would happen if you
 9   powerful people and they're very wealthy and they                9   pissed her off because she knows powerful people?
10   know a lot of people.                                           10      A      That statement alone was enough to let me
11      Q     I need you to be very clear. You just                  11   know. I was scared and I didn't want to -- I didn't
12   used the word "they." I've asked you about Ghislaine            12   want to push any further into that question. I
13   Maxwell.                                                        13   seemed like I would obey.
14      A     Okay.                                                  14      Q      Up until that point in your life, had you
15      Q     So I just want to make sure you understand             15   met any powerful people?
16   the question.                                                   16             MR. EDWARDS: Form.
17      A     Correct.                                               17      A      I do believe that I've been put in very
18      Q     Because I don't want to have you, you                  18   dangerous situations, being a runaway and having a
19   know, misunderstand the question.                               19   lot of bad things happen to me. Understanding the
20      A     Correct.                                               20   word powerful people and things that could happen,
21      Q     So I'm asking you, what did Ghislaine                  21   I've put two and two together and knew what she
22   Maxwell say would happen in regards to crossing a               22   meant.
23   line with respect to her knowledge of famous people?            23      Q      (BY MS. MENNINGER) Okay. So you had met
24      A     In a --                                                24   powerful people before the day that Ghislaine Maxwell
25           MR. EDWARDS: Object to the form.                        25   said this to you; is that your testimony?

                                                     VIRGINIA GIUFFRE 5/3/2016                                              36 (141 - 144)
                                  Agren Blando Court Reporting & Video, Inc.
                                                      Page 145                                                              Page 147
 1      A     Nowhere near as powerful as Jeffrey and             1   of all the girls that were sent to Jeffrey and
 2   Ghislaine, nowhere near. But people that did scare           2   Ghislaine. That is my answer.
 3   me, yes.                                                     3      Q     (BY MS. MENNINGER) I did not ask you
 4      Q     Okay. And you had met those people at               4   about the girls who were sent to Jeffrey and
 5   what age?                                                    5   Ghislaine. I asked you about any girl that you
 6      A     I don't know what age I was. I'm sorry.             6   personally saw have sexual contact with Ghislaine
 7   I was young. I was -- before I met Jeffrey and               7   Maxwell.
 8   Ghislaine.                                                   8           Do you understand that question?
 9      Q     Is there any girl who you personally                9      A     Do I know the ages of them?
10   observed to have sexual contact with Ghislaine              10      Q     Do you know the age of any girl that you
11   Maxwell when she was under the age of 18?                   11   saw have sexual contact with Ghislaine Maxwell?
12      A     It's very hard to tell how many girls were         12      A     Well, for instance, I mean,
13   under the age of 18. My instruction from them was           13   was, I think, a year older than me. That's one way
14   the younger the better.                                     14   of putting it.         I think was like a few years
15      Q     And, again, them, who told you that?               15   older than me.                again, a few years older
16      A     Them, both of them. They both --                   16   than me. I mean, those are the girls that I can
17   Ghislaine did the majority of my training in the            17   actually name.
18   beginning. Jeffrey also insinuated and told me lots         18           Without, not knowing the other girls'
19   of things as well.                                          19   names, there's no way for me to identify what age
20      Q     Okay. So you don't know the age of any             20   they actually were.
21   other female that you saw have sexual contact with          21      Q     Okay. Describe for me any other girl
22   Ghislaine Maxwell --                                        22   other than the ones that you've named who you say you
23           MR. EDWARDS: Object --                              23   saw have sexual contact with Ghislaine Maxwell with
24      Q     (BY MS. MENNINGER) -- is that true?                24   your own two eyes.
25           MR. EDWARDS: Object to the form of the              25      A     There's so many I don't know where you

                                                      Page 146                                                              Page 148
 1   question. Mischaracterized her testimony. She                1   want me to start. I find it impossible to answer
 2   wasn't finished with her answer.                             2   that question with the amount of girls that I have
 3           MS. MENNINGER: I wasn't finished with my             3   witnessed. And without being able to give you
 4   question when you objected. And at the end of my             4   specific names, I don't think I'm able to answer that
 5   question I said, "Is that true?" She can now restate         5   question.
 6   it without you suggesting to her the answer.                 6       Q     Okay. I asked you to describe them, so
 7           MR. EDWARDS: I have no idea what the                 7   you could give me a height, a hair color, anything
 8   question is to even object to at this point.                 8   else that comes to mind?
 9           Do you know the question?                            9       A     There were blondes, there were brunettes,
10      A    Do I know any underage girls that                   10   there were redheads. They were all beautiful girls.
11   Ghislaine slept with.                                       11   I would say the ages ranged between 15 and 21.
12           MS. MENNINGER: Can you please read back             12       Q     And why do you believe the ages ranged
13   the question?                                               13   from 15 to 21?
14           (Record read as requested.)                         14       A     Some of them looked really young. Some of
15           MR. EDWARDS: Hold on. She wasn't                    15   them, I wouldn't say 21 looks old or anything like
16   finished with her question, she told me. So that's          16   that, but it's hard to gauge another person's age
17   not the finished question.                                  17   without really asking them. But some of them looked
18           MS. MENNINGER: You interrupted it. I                18   younger than me and some of them looked older than
19   finished my question. She just read it to her.              19   me.
20      Q    (BY MS. MENNINGER) Can you please answer 20                  Q     And in what physical locations did you see
21   the question?                                               21   Ghislaine Maxwell have sexual contact with any girl?
22           MR. EDWARDS: Then I object to that                  22       A     100 percent, the U.S. V.I.
23   question as a mischaracterization of her testimony.         23       Q     Where?
24   And she wasn't finished with her answer.                    24       A     Jeffrey's island.
25      A    It is impossible for me to know the ages            25       Q     Where?

                                                    VIRGINIA GIUFFRE 5/3/2016                                           37 (145 - 148)
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 1       A      In cabanas. Do you know what I mean by              1   them as a woman. A woman is someone who is older.
 2   cabana?                                                        2   But, yes, outside by the pool, down by the beach
 3      Q       I do, thank you.                                    3   there's these -- they're little -- I wouldn't call it
 4       A      In cabanas, in Jeffrey's room.                      4   a hut. Little tiny wooden room that only could fit a
 5      Q       Describe Jeffrey's room on U.S. V.I. for            5   bed in it.
 6   me.                                                            6      Q     I'm talking about outside.
 7       A      So can I use this as an idea? Like if               7       A    That's outside.
 8   this is the island -- can I do that?                           8      Q     So let's start with by the pool.
 9      Q       I'm asking you to describe the inside of a          9       A    Yes.
10   room.                                                         10      Q     Is that a different occasion than the hut?
11       A      Oh, the inside of a room. I thought you            11       A    I'm talking about many occasions.
12   meant located.                                                12      Q     Okay.
13      Q       Um-hum.                                            13       A    Over time.
14       A      Okay. Large, stony. He had a king size             14      Q     Let's just talk about the ones that you
15   bed with posts on it. There was a large door, I               15   saw happen outside, out of doors.
16   think it's called a door, where you put your clothes.         16       A    Okay.
17   There was an adjacent bathroom with a more stony              17      Q     Okay?
18   look, giant tub.                                              18       A    Yeah.
19      Q       What color was the paint on the wall?              19      Q     Do you recall any such specific occasion
20       A      It was stone.                                      20   or is it just a big blur in your mind?
21      Q       What color was the bedspread?                      21       A    No, I mean, one occasion stands out.
22       A      White.                                             22   Models were -- I think they were models -- were flown
23      Q       What color were the sheets?                        23   in. There were orgies held outside by the pool.
24       A      White.                                             24   That's one occasion.
25      Q       And you saw Ghislaine Maxwell have sexual          25      Q     All right. Let's stick with that

                                                        Page 150                                                                Page 152
 1   contact with an unknown, unnamed female in that room,          1   occasion.
 2   correct?                                                       2       A    Okay.
 3      A    Absolutely.                                            3       Q    What sexual contact did you observe
 4      Q       All right. When were you there that you             4   Ghislaine Maxwell have with a female by the pool at
 5   saw this happen?                                               5   an orgy on the U.S. Virgin Islands?
 6      A    This happened on so many occasions. The                6       A    Well, there was quite a few girls and it
 7   island was a place where orgies were a constant thing          7   was -- excuse me, if I'm saying this in an inexplicit
 8   that took place. And again, it's impossible to know            8   way, but I don't know how else to say it. So if you
 9   how many. And, like I said, it wasn't just Jeffrey's           9   don't understand, please let me know -- girl-on-girl
10   room. It was outside and, you know. It was --                 10   action. So there was a lot of -- what's the word for
11      Q       When you were outside did you see                  11   it? Licking, licking vaginas, breasts.
12   Ghislaine Maxwell have sexual contact with a female?          12       Q    Okay. Which --
13      A    When you say sexual contact does that mean            13       A    Fingers being used. She was involved with
14   fornicating or down to taking explicit photos or              14   that. I remember specifically I had to go down -- do
15   what -- can you define what you mean by sexual                15   you know what I mean by go down?
16   contact?                                                      16       Q    It's your testimony. Go ahead.
17      Q       Sure. It generally, in my mind, means              17       A    I had to go down on Ghislaine. Jeffrey
18   placing either mouth or intimate parts or hands on            18   was there as well.
19   the breasts, buttocks, or pubic area of another               19       Q    And this is -- we're still by the pool?
20   person for sexual gratification.                              20       A    We're still by the pool with lots of
21      A    Sure.                                                 21   girls.
22      Q       Did you see Ghislaine Maxwell have sexual          22       Q    Can you name any of those girls that were
23   contact with a woman outside on the U.S. Virgin               23   there?
24   Islands?                                                      24       A    They didn't even speak English. But this
25      A    I would say a female. I wouldn't define               25   was --

                                                     VIRGINIA GIUFFRE 5/3/2016                                            38 (149 - 152)
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                                                        Page 153                                                            Page 155
 1      Q     Can you describe them physically?                     1      Q      More than 20?
 2      A     Beautiful, tall, some were blonde, some               2      A      I would say more than 20.
 3   were sandy brown. They had a foreign tongue.                   3      Q      More than 50?
 4      Q     What -- what language were they speaking?             4      A      I don't think more than 50, but --
 5      A     I'm not too sure. It could have been                  5      Q      Did --
 6   Russian. It could have been Czechoslovakian. It                6      A      I don't have an exact number. I mean,
 7   could have been -- I think it's between those two, to          7   if -- I think if you look at the flight logs, you
 8   be honest. It could have been something else but, I            8   know, that helps, but then they're not fully
 9   mean, I don't speak any other language other than              9   complete. We only have flight logs to one plane and
10   English, so I don't really know.                              10   then there's a time I was flown commercially into the
11      Q     All right. Any other time you saw                    11   island.
12   Ghislaine Maxwell have sexual contact with another            12      Q      Um-hum.
13   female outdoors in the U.S. Virgin Islands other than         13      A      So it's really hard for me to gauge a
14   this, models with the unknown language?                       14   number.
15      A     Are we talking about besides with me as              15      Q      Okay. Do you have any photographs of
16   well?                                                         16   yourself on the island?
17      Q     I don't know if you participated. I'm                17      A      I know I used to, but they would be left
18   asking if you observed her have sexual contact with           18   in that apartment.
19   another female?                                               19      Q      What other locations did you participate
20      A     Another female other than myself?                    20   in sexual contact with Ghislaine Maxwell, other than
21      Q     You can answer it however you want.                  21   the island?
22      A     Well, and the list keeps going on.                   22      A      Everywhere. New York, Palm Beach.
23   Ghislaine and I and Jeffrey and                               23      Q      Where in New York?
24   participated in, I guess what you would call a                24      A      The mansion, Jeffrey's mansion.
25   foursome in the living room in the main house.                25      Q      Okay. Anywhere else in New York?

                                                        Page 154                                                            Page 156
 1      Q     Okay. I was asking about outdoors.                    1       A     Not at her townhouse.
 2   Sorry.                                                         2      Q      Anywhere else in New York?
 3      A     Oh. Well, I don't know if you'd consider              3       A     No.
 4   this outdoors, but on the beach where those -- it's            4      Q      In Palm Beach?
 5   basically an outdoor setting. It's like a little               5       A     At the house in Palm Beach.
 6   wooden house. It's not a house, only a bed can fit             6      Q      Anywhere else in Palm Beach?
 7   in there. It's right on the beach. It's open.                  7       A     No.
 8      Q     Um-hum.                                               8      Q      In New Mexico?
 9      A     Would you consider that outdoors?                     9       A     The house in New Mexico.
10      Q     I have never been there. So I don't know             10      Q      Anywhere else in New Mexico?
11   whether it's outdoors or not.                                 11       A     No.
12      A     I would consider it outdoors. And --                 12      Q      What other countries?
13      Q     How old were you at that time?                       13       A     France, uhm, England. Um -- we also -- I
14      A     I don't know.                                        14   mean, if we're going to talk about other countries
15      Q     Okay.                                                15   we've got to talk about international travel space or
16      A     I have no idea. Again, Ghislaine, myself,            16   plane space or whatever you want to call it because
17   Jeffrey, another girl in this blue, outdoor -- I              17   it happened all the time on the planes.
18   don't know what you want to call it. Cabana, that a           18      Q      Okay.
19   house -- just a bed could fit in.                             19       A     Going from different country to country.
20      Q     How many times did you visit the island?             20      Q      Where in France did you have sexual
21      A     I wouldn't be able to say. Lots of times.            21   contact with Ghislaine Maxwell?
22      Q     More than five?                                      22       A     There's a couple places in France that we
23      A     Definitely more than five.                           23   used to go to.
24      Q     More than ten?                                       24      Q      When you say you used to go to, how many
25      A     More than ten.                                       25   times did you go to France?

                                                    VIRGINIA GIUFFRE 5/3/2016                                           39 (153 - 156)
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                                                      Page 157                                                             Page 159
 1      A       I think I've been to France three times.          1   with Ghislaine Maxwell at this hotel room overlooking
 2      Q       All right. How old were you when you went         2   the Champs-Elysees?
 3   to France?                                                   3      A      Before she picked up the redhead.
 4      A       I don't know.                                     4      Q      And was that just you and Ghislaine or was
 5      Q       Did you have a passport when you went to          5   anyone else a participant in that?
 6   France?                                                      6      A      Jeffrey and
 7      A       I would have had to, yes.                         7      Q      And where else in France did you have
 8      Q       You did have a passport when you went to          8   sexual contact with Ghislaine Maxwell?
 9   France?                                                      9      A      The south of France.
10      A       Yes.                                             10      Q      Where?
11      Q       And you went to France three times, you          11      A      I wouldn't call it so much a hotel. I
12   believe?                                                    12   don't know what you'd call it. It had like big
13      A       Yes.                                             13   townhouse kind of things that you could rent out.
14      Q       And when you were in France those three          14      Q      Was this on the same trip or a different
15   times, how many of those three times did you have           15   trip?
16   sexual contact with Ghislaine Maxwell?                      16      A      Different trip.
17      A       Every time.                                      17      Q      Okay. Who else was present for that?
18      Q       And in what locations in France did you          18      A      Well, we were going to
19   have sexual contact with Ghislaine Maxwell?                 19   birthday party. It wasn't at the birthday party.
20      A       The first time that I remember, we stayed        20      Q      Right.
21   at a really fancy hotel.                                    21      A      It was before the birthday party.
22      Q       In what city?                                    22      Q      Oh, you had sexual contact with Ghislaine
23      A       Paris.                                           23   Maxwell before you went to                              birthday
24      Q       Okay.                                            24   party?
25      A       And it was within the view of the Champs-        25            MR. EDWARDS: Form.

                                                      Page 158                                                             Page 160
 1   Elysees.                                                     1       A     That's correct.
 2      Q       Did you have your own room or a separate          2      Q      (BY MS. MENNINGER) And who else was
 3   room?                                                        3   present during your supposed sexual contact with
 4      A       We all stayed in the same room, but that          4   Ghislaine Maxwell on this occasion?
 5   room had adjoining rooms to it. So, you know, one            5             MR. EDWARDS: Object to the form of the
 6   hotel room but with different rooms in it.                   6   question.
 7      Q       Okay. And anywhere else on that one trip          7       A     It wasn't supposed. It actually happened.
 8   that you went?                                               8   And Ghislaine was present, Jeffrey was present. I
 9      A       She brought in a redheaded French girl.           9   believe                     was present as well.
10   She walked up to her in Paris and, you know --              10      Q      (BY MS. MENNINGER) Anyone else?
11      Q       In your presence?                                11       A     There was someone else on that trip with
12      A       In my presence.                                  12   us, but they weren't involved with the sexual
13      Q       Um-hum.                                          13   activity at that time.
14      A       And she walked up to this French girl to         14      Q      Okay. And what was the other location in
15   show me how easy it was for her to procure girls. I         15   France?
16   wasn't very good at it. And, you know, it was part          16       A     I believe the same exact place. I mean,
17   of my training was to bring in other girls. So she          17   we stayed there for a few days.
18   walked up to her. Within five minutes she had her           18      Q      Okay. So the three locations are hotel in
19   number and that girl came over later that night to          19   Paris, same place, same place?
20   the hotel and serviced Jeffrey. I didn't see                20       A     Correct.
21   Ghislaine with her. I just know she told me what            21      Q      And the second and third same places were
22   happened and Jeffrey told me what happened.                 22   on the same trip?
23      Q       So you were not there?                           23       A     Same trip.
24      A       I did not see it.                                24      Q      Okay. And then you had a third trip to
25      Q       Okay. When did you have sexual contact           25   France where you did not have sexual contact with

                                                    VIRGINIA GIUFFRE 5/3/2016                                            40 (157 - 160)
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                                                           Page 161                                                               Page 163
 1   Ghislaine Maxwell?                                                1            MR. EDWARDS: Sounds good.
 2            MR. EDWARDS: Form.                                       2            MS. MENNINGER: All right.
 3       A     I believe -- it's hard for me to remember.              3            THE VIDEOGRAPHER: We're off the record at
 4   I remember going to quite a few different countries               4   12:42.
 5   on that trip. I don't know if it was -- I don't know              5            (Recess taken from 12:42 p.m. to
 6   if we did it in Paris or not, to be honest. We did                6   1:21 p.m.)
 7   it in other places. But I've been to Paris three                  7            THE VIDEOGRAPHER: We're back on the
 8   times -- or not Paris, sorry, France.                             8   record at 1:21.
 9      Q      (BY MS. MENNINGER) Okay. All right.                     9      Q     (BY MS. MENNINGER) All right.
10   When did you first tell your parents that you would              10   Ms. Giuffre, I want to talk to you about where you
11   be traveling with Jeffrey Epstein?                               11   were living in the late '90s. Do you recall -- you
12       A     I'm not too sure when I actually told                  12   testified earlier, I believe, that you were living at
13   them.                                                            13   your parents' house and you gave us an address at the
14      Q      How long after you were working with                   14   time you started at Mar-a-Lago.
15   Jeffrey Epstein did you travel with him?                         15      A     Yes.
16       A     Well, I know my first trip was to New                  16      Q     Do you remember where you lived previous
17   York. I would say anywhere between six weeks -- I                17   to living at your parents' house at that time?
18   would say after six weeks.                                       18      A     Like I said, I was a runaway, so there was
19      Q      You were -- you had known Jeffrey Epstein              19   a lot of different places I lived. One of the places
20   for six weeks before you started traveling with                  20   I lived was, like I told you earlier, with
21   him --                                                           21   parents. That was somewhere around Fort Lauderdale,
22       A     I believe.                                             22   I believe, maybe a little bit outside of it.
23      Q      -- am I understanding that correct?                    23      Q     Okay.
24       A     I believe so. I mean, that's an                        24      A              got an apartment and I lived in
25   approximate answer.                                              25             apartment for a short period.

                                                           Page 162                                                               Page 164
 1      Q     And your first trip was to New York?                     1      Q     And where do you recall that being?
 2      A     Yes.                                                     2      A     Somewhere in Fort Lauderdale, again.
 3      Q     And did you just go to New York and come                 3      Q     Okay. And then you were living with your
 4   back or did you go somewhere else?                                4   parents or was there another place in between?
 5      A     I think I just went to New York, but I                   5      A     Then I lived with my parents.
 6   can't remember if we went somewhere else.                         6      Q     Okay. And then where is the next place
 7      Q     Okay. And did you tell your parents you                  7   that you moved?
 8   were going to New York?                                           8      A     An apartment that Jeffrey got for me in
 9      A     Yes.                                                     9   Royal Palm Beach.
10      Q     And do you recall any part of your                      10      Q     Okay. And you don't know the address of
11   conversation with your parents about going to New                11   that?
12   York?                                                            12      A     No, I wish I could give it to you. I
13      A     I didn't get into details about what I was              13   don't know it.
14   having to do with Ghislaine and Jeffrey. I didn't                14      Q     And you stayed in that apartment until you
15   tell them that, but I told them I was going to New               15   left for Thailand in the fall, later in the year in
16   York.                                                            16   2002, correct?
17      Q     And you don't recall telling them anything              17      A     Yes.
18   else about it?                                                   18      Q     Right?
19      A     I don't know. I mean, I might have called               19      A     Yes.
20   them from New York and told them it was cold and, you            20      Q     All right. And when did you first stop
21   know, just simple stuff. But I can't really recall               21   living with your parents? How old were you when you
22   what I spoke to them about.                                      22   first stopped living with your parents?
23            MS. MENNINGER: As I understand it, the                  23            MR. EDWARDS: Object to the form.
24   food is here. So I'm going to suggest that now is a              24      A     The very first time?
25   good time to take a break.                                       25      Q     (BY MS. MENNINGER) Um-hum.

                                                       VIRGINIA GIUFFRE 5/3/2016                                           41 (161 - 164)
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                                                          Page 165                                                             Page 167
 1      A     I believe I was 11.                                     1   Loxahatchee, Florida were made aware that you had run
 2      Q     Okay. What caused you to stop living with               2   away from home at the age of 11?
 3   your parents when you were 11?                                   3         A   Yes.
 4      A     I just had some trouble and my parents                  4         Q   And what abuse had you suffered prior to
 5   thought it would be better if they sent me to                    5   the age of 11?
 6   California.                                                      6         A   There was a very close family friend who
 7      Q     Okay. What trouble did you have?                        7   was a very sick man. And he took advantage.
 8      A     It's very hard for me to talk about.                    8         Q   What's his name?
 9   There was stuff that went on in my life that, you                9         A
10   know, made me so I -- I couldn't live with my parents           10         Q          what?
11   anymore.                                                        11         A
12      Q     What went on in your life that caused you              12         Q   And where is                 today?
13   to not be able to live with your parents at the age             13         A   I don't know where he is.
14   of 11?                                                          14         Q   Does anyone in your family keep in contact
15      A     Do I have to answer this?                              15   with him?
16      Q     Well, did you talk to Sharon Churcher                  16         A   No.
17   about being molested as a child?                                17         Q   What did he do to you?
18      A     I did.                                                 18         A   Um, he touched me places I shouldn't be
19      Q     And you authorized Sharon Churcher to                  19   touched. He sexually abused me.
20   publish that in a newspaper, correct?                           20         Q   For how long?
21      A     I don't think I authorized her to do it.               21         A   I don't know how long.
22   I think she -- I wouldn't say she did it on her own             22         Q   Did you tell that to your parents?
23   accord. But I talked to her about it and I wasn't               23         A   They know.
24   aware of exactly what she was going to publish and              24         Q   How do they know?
25   what she wasn't.                                                25         A   I told them.

                                                          Page 166                                                             Page 168
 1      Q     So you were able to talk to a reporter for              1         Q   Did you tell them when you were under the
 2   the Mail On Sunday about this, correct?                          2   age of 11 or at the age of 11?
 3      A     I did tell her a little bit about my past               3         A   I told them later.
 4   and where I came from.                                           4         Q   When did you tell them?
 5      Q     All right. So what caused you to be sent                5         A   It took me a long time to forgive my
 6   away from your parents' home at the age of 11 to                 6   parents for sending me away. I didn't feel like
 7   California?                                                      7   anybody understood me. So not until later in my life
 8      A     Some of the prior abuse which led me to be              8   did I feel like I was able to talk to anyone about
 9   a very troubled young teenager. I mean, I guess you              9   it.
10   wouldn't call 11 a teenager yet, but led me to                  10         Q   Okay. Was it reported to the authorities?
11   running away a lot and -- and my family just thought            11         A   No. I went too late to talk to anybody
12   it was best that I get out of the area and move                 12   about it.
13   somewhere else.                                                 13         Q   Did the event of you being molested cause
14      Q     Okay. You had run away prior to being the              14   your parents to split up?
15   age of 11?                                                      15         A   I think Sharon reported that, but I don't
16      A     Yes.                                                   16   think that's the case, no. My parents split up
17      Q     All right. Was that reported to the                    17   because they were really messed up.
18   authorities?                                                    18         Q   Your parents split up because they were
19      A     That I ran away?                                       19   really messed up?
20      Q     Yes.                                                   20         A   Oh, they just didn't get along. There
21      A     Yes.                                                   21   were a lot of marital problems.
22      Q     And where were your parents living at the              22         Q   When did they split up?
23   age of 11?                                                      23         A   I don't really remember what year it was.
24      A     The same address I gave you earlier.                   24         Q   How old were you?
25      Q     Okay. So the authorities associated with               25         A   I believe I was living with Jeffrey at the

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 1   time.                                                   1             THE REPORTER: I'm sorry, your --
 2      Q    With whom did you live in California?           2      Q      (BY MS. MENNINGER) Yes? Yes or no?
 3      A    My                                              3      A      Oh. Yes.
 4      Q    And who else?                                   4      Q      And then when did you go back to Florida?
 5      A                                                    5      A      I don't know.
 6      Q    And with who else?                              6      Q      Was your younger brother living with your
 7      A    That's it.                                      7   parents in Florida while you were in California?
 8      Q    And for how long did you live with them?        8      A      Um-hum, yes.
 9      A    I don't really know how long, maybe over a      9      Q      And was your older brother living with
10   year, maybe two years.                                 10   your parents in Florida while you were in California?
11      Q    And then what caused you to not live with      11      A      I don't think so.
12   them anymore?                                          12      Q      How much older than you is he?
13      A    I kept running away from them, too.            13      A      Five years.
14      Q    And where did you live in California?          14      Q      And when you went back to Florida, where
15      A    I'm sorry?                                     15   did you go to school, when you got back?
16      Q    Where in California did you live?              16      A      I believe I went to Crestwood Middle
17      A    Where did they live?                           17   School.
18      Q    Where did you live with them?                  18      Q      And did you complete your studies at
19      A    Salinas.                                       19   Crestwood Middle School?
20      Q    And do you know the address?                   20      A      Did I get out of middle school there, yes.
21      A    No.                                            21      Q      Okay. What grades were middle school?
22      Q    Do they still live there?                      22      A      Six, seven and eight.
23      A    No.                                            23      Q      Okay. And when you went back to live with
24      Q    When did they stop living there?               24   your parents again, that was at the same address in
25      A    I don't know. I haven't kept in contact        25   Loxahatchee?

                                                 Page 170                                                         Page 172
 1   with them.                                              1      A      Yes.
 2      Q    And you believe you lived with them for a       2      Q      And you don't believe your older brother
 3   little more than a year?                                3   was in the home at the time?
 4      A    Maybe a year, maybe two years. I'm not          4      A      No, he was sent to boarding school.
 5   too sure.                                               5      Q      Where did he go to boarding school?
 6      Q    Did you go to school there?                     6      A      Washington.
 7      A    Yes.                                            7      Q      State or city?
 8      Q    Where did you go to school?                     8      A      Washington above California.
 9      A    Somewhere near Salinas, I'm assuming.           9      Q      When was the next time you stopped living
10      Q    What grade were you in?                        10   with your parents?
11      A    Middle school.                                 11      A      They sent me to a group home called
12      Q    Sixth grade, seventh grade?                    12   Growing Together.
13      A    I think sixth grade.                           13      Q      Why?
14      Q    And did you go there for more than one         14      A      Because I kept running away.
15   year or just one year?                                 15      Q      Were the authorities alerted when you ran
16      A    Maybe -- I don't know. I'm sorry, I don't      16   away?
17   know.                                                  17      A      Yes.
18      Q    Were the authorities in Salinas alerted to     18      Q      And how old were you when you went to live
19   the fact that you ran away from home there?            19   at Growing Together?
20      A    Yes.                                           20      A      I don't know. It's hard for me to piece
21      Q    How long was the longest you were away         21   back dates. Off the top of my head -- I don't want
22   from home in Salinas, California?                      22   to guess. I don't think I should guess. I don't
23      A    Two weeks.                                     23   know.
24      Q    And you were in middle school?                 24      Q      But you moved directly from living with
25      A    (Indicating.)                                  25   your parents to living at Growing Together?

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 1      A     I wouldn't say directly.                                1   between the ages of eighth grade and when you started
 2      Q     How --                                                  2   working at Mar-a-Lago?
 3      A     I'd say I stayed with my parents for --                 3      A    Besides the ones I've told you about, you
 4   like, I think I finished school at Crestwood. So I               4   know, I did run away from Growing Together quite
 5   would have been in, I don't know, I guess eighth                 5   often. And I did end up being -- being abused by
 6   grade, finished eighth grade. And then -- I don't                6   another older guy who I stayed with for I don't know
 7   know. I really don't know. Around eighth grade.                  7   how long.
 8      Q     You went to Growing Together?                           8      Q    How old were you then?
 9      A     I think -- I think it was then.                         9      A    I don't know. I'm sorry. I really wish I
10      Q     And how many years did you live at Growing             10   could pinpoint dates. I don't know dates.
11   Together?                                                       11      Q    Okay. What was that man's name?
12      A     Over a year.                                           12      A
13      Q     Were you ever in foster care?                          13      Q    And how long were you living -- were you
14      A     What Growing Together was, was like a                  14   living with                  ?
15   group home that sent you away to foster parents every           15      A    Yes.
16   night.                                                          16      Q    And for how long were you living with him?
17      Q     So you lived in other people's homes                   17      A    I don't know.
18   during the period of time you were assigned to                  18      Q    Days? Weeks? Months?
19   Growing Together?                                               19      A    I don't know. I mean, it wasn't days. I
20      A     Well, you stayed at Growing Together                   20   don't think it was weeks. It would have been close
21   during the day and then at night you get sent home              21   to maybe a few months.
22   with parents.                                                   22      Q    Okay. And was                       prosecuted
23      Q     Did you go to school while you were at                 23   by federal authorities in South Florida?
24   Growing Together?                                               24      A    Yes.
25      A     Yeah, they offer education there.                      25      Q    And you were located by the FBI, I

                                                          Page 174                                                            Page 176
 1      Q     So the education was at Growing Together?               1   believe?
 2      A     Yeah.                                                   2      A     Yes.
 3      Q     You did not attend a Palm Beach County --               3      Q     And you gave an interview to the FBI
 4      A     I did, but you had to earn your levels up               4   concerning your time with                          , correct?
 5   to be able to go outside. So I don't remember what               5      A     Yes.
 6   level you have to get up to, to go out to another                6      Q     Did you ever get a victim's notification
 7   school. I think there was like seven levels or                   7   letter regarding your status as a victim in
 8   something. And you had to make it to, like, level 4              8                 federal criminal prosecution?
 9   to be able to go to outside school.                              9      A     I don't know. My parents handled
10      Q     So for some period of time you were                    10   everything.
11   assigned to Growing Together and you were going to              11      Q     Do you know if your parents received such
12   school at Growing Together. And for some period of              12   a letter?
13   time you were going to other schools and coming back            13      A     I don't know.
14   to Growing Together?                                            14      Q     Have you ever asked them?
15      A     Correct.                                               15      A     No, I've never really brought it up with
16      Q     And then when you came back to Growing                 16   them. It really pissed them off a lot, so I never
17   Together, you were sent to spend the night at a                 17   brought it up with them.
18   family's home?                                                  18      Q     It pissed them off that you were living
19      A     Yes.                                                   19   with                     ?
20      Q     So you never slept at Growing Together?                20      A     Yes.
21      A     No.                                                    21      Q     Why did it piss them off, if you know?
22      Q     Did you live -- other than living at or                22      A     Well, I think they were just disgusted,
23   staying at Growing Together during the day and                  23   you know, that this happened to me again. And they
24   sleeping at these other homes at night, is there                24   didn't want to talk about it. They didn't want to
25   anywhere else that you recall living in the period              25   talk about it.

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 1      Q    But they were aware of it?                                1   Mar-a-Lago, correct?
 2      A    Yes.                                                      2      A    Yes.
 3      Q    Your dad came and picked you up from the                  3      Q    Do I have that sequence right?
 4   police station?                                                   4      A    So far, yes.
 5      A    Yes.                                                      5      Q    And when did you stop living at your
 6      Q    And your dad would not let you come home?                 6   parents' at the time you started working at
 7      A    Well, I think it was more my mom didn't                   7   Mar-a-Lago? How long after you started at Mar-a-Lago
 8   want me to come home.                                             8   do you stop living with your parents?
 9      Q    Did she say why?                                          9      A    I don't know exact dates. I was traveling
10      A    She just probably thought I was just going               10   with Jeffrey a lot, and I was making -- he was giving
11   to keep running away again. And --                               11   me lots of money for the sex that I had with him and
12      Q    Did she say that to you?                                 12   Ghislaine.
13      A    Well, I asked my dad at the police station               13           And after, I would say, a short time --
14   if I could come home instead of going back to Growing            14   I'm not too sure, darling, I don't know.
15   Together. And he said my mom didn't want me to come              15      Q    All right. Can you --
16   home. And I told him if he didn't get me out within              16           MS. MENNINGER: I have no recollection of
17   a week, I'd run away again and he'd never hear from              17   which number we're on in terms of exhibit.
18   me again.                                                        18           MS. RODRIGUEZ: 15.
19      Q    And how is it that you came back to be                   19      Q    (MS. MENNINGER) Okay. I'd like to mark
20   living at their house, then?                                     20   as Defendant's Exhibit 15 a document and see if you
21      A    I ran away again and I called him up and I               21   can identify it.
22   said, This is your final chance. And they came and               22           Actually, before I do that, when do you
23   picked me up and they let me live there.                         23   recall ever getting a passport?
24      Q    And when did you go live with                            24      A    I got my passport in New York. I don't
25      A    Not long after that.                                     25   know what age I was.

                                                           Page 178                                                          Page 180
 1      Q    And when did you live with                                1      Q     Okay. And did you -- how did you get it?
 2   parents?                                                          2   Did you go somewhere or what happened?
 3      A    Well, I lived with             parents                    3      A     Jeffrey had me fill out paperwork and go
 4   before I lived with            in his apartment.                  4   to a Kodak shop or something similar of a Kodak shop
 5      Q    And that was an apartment that                            5   and get my picture taken. I gave him my picture and
 6   rented?                                                           6   my paperwork. He sent it away. And I think a week
 7      A               and his friend. I can't remember               7   later he said he got it expedited.
 8   his friend's name. Mario, I think his friend's name               8      Q     Did you physically go to an office in New
 9   was.                                                              9   York?
10      Q    When did you live with                                   10      A     Jeffrey's office.
11               as parents?                                          11      Q     An office associated with Immigration or
12      A    That was just a brief stint. I didn't                    12   Homeland Security or whatever it was called back
13   really stay there very long, but it was -- I was a               13   then?
14   runaway. That's in between times of -- I don't know.             14      A     Not that I recall.
15      Q    How old were you?                                        15      Q     And do you know how old you were?
16      A    I don't know.                                            16      A     No. I don't know how old you have to be
17      Q    I just want to be clear.                   rented        17   to get a passport, so I'm not too sure.
18   an apartment that you moved into that he had rented,             18           (Exhibit 15 marked.)
19   correct?                                                         19      Q     (BY MS. MENNINGER) Okay. I'm going to
20      A    Correct.                                                 20   show you Defendant's Exhibit 15.
21      Q    And that was after you had lived with                    21           Do you recognize this document?
22              and his parents, correct?                             22      A     Yes.
23      A    Yes.                                                     23      Q     Is this document the passport application
24      Q    And that was prior to you and                            24   that you filled out?
25   living with your parents when you started working at             25      A     Yes.

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 1      Q      Is it in your handwriting?                             1   a 3. I think it's
 2      A     Yes.                                                                                         I really can't make out
 3      Q      All right. What did you put down as your               3   the telephone number.
 4   address at this time to mail the passport to? It's               4         Q    Okay. Do you see Relationship? Can you
 5   about the second line -- third line.                             5   read that?
 6      A     Number 13?                                              6         A   Friend.
 7      Q      Well, the third line says, Mail passport               7         Q    Okay. Do you see just below that there's
 8   to. What address did you put down?                               8   a line that says number 21?
 9      A     Are we talking about number 13, Permanent               9         A   Do not stop -- sorry, Do not sign
10   address, do not list P.O. box, street?                          10   application until requested to do so by
11      Q      No, I'm talking about the third line in               11   administrating an oath.
12   the entire thing that says, Mail passport to.                   12         Q    Okay.
13      A     Oh, I'm sorry, up here, the                            13         A   Applicant's signature age 13 or older.
                                                                     14         Q    Oh, it's by the signature line?
                                                                     15         A   Yeah.
16      Q      All right. So you asked to have the                   16         Q    And that's your signature?
17   passport mailed to you at your parents' address,                17         A   Yes.
18   right?                                                          18         Q    All right. And this is the document that
19      A     I don't know if it was mailed to my                    19   you recall filling out for your first passport?
20   parents' house, but that's the address I sent -- put            20         A   I don't recall doing it, but yes, it's in
21   down, yes.                                                      21   my handwriting and it's got all of my information on
22      Q      Okay. And if you look a little bit                    22   it.
23   further to the right, roughly equal with that line,             23         Q    Okay. And on line -- box 23 it's got your
24   do you see a date that's stamped on there?                      24   driver's license checked off, right?
25      A     Yeah, January 12th, 2001.                              25         A   July 23. Yeah, I really can't make out

                                                          Page 182                                                              Page 184
 1      Q     Okay. And then if you go down a little                  1   numbers and stuff, though.
 2   bit further, as you pointed out, line number 13, you             2         Q   But the box, Driver's License is checked
 3   gave your permanent address as your parents' address,            3   off?
 4   again, correct?                                                  4         A   Yes.
 5      A     Correct.                                                5         Q   Okay. And then if you look in the lower
 6      Q     If you look at box number 12 where it asks              6   right-hand corner of the page, do you see what we
 7   for occupation, what did you write down?                         7   call a Bates stamp number? I don't know if you know
 8      A     Masseuse.                                               8   what that means.
 9      Q     Okay. If you look at line number 18, Have               9         A   No.
10   you ever been issued a U.S. passport before, what did           10         Q   Just the lower right-hand corner of the
11   you put down?                                                   11   document.
12      A     No.                                                    12         A   Giuffre 004721?
13      Q     All right. And if you go down a little                 13         Q   Okay. Thank you.
14   bit further than that, emergency contact, who did you           14             So at January 2001 was
15   put down?                                                       15   living
16      A                                                            16         A   Well, he would have had to have been if I
17      Q     Okay. So is that the fiancé you were                   17   put it down there.
18   talking about earlier?                                          18         Q   Okay. Was that the apartment that he had
19      A     Yes.                                                   19   rented?
20      Q     In January of 2001 were you still his                  20         A   No, it's in Royal Palm Beach. The
21   affianced?                                                      21   apartment he rented was in Fort Lauderdale. So this
22      A     Looks like it, yes.                                    22   could be my apartment that he lived at with me.
23      Q     And what address did you put down for                  23         Q   Okay. So his apartment where he lived
24                                                                   24   with you was in Royal Palm Beach?
25      A     It's kind of hard to read. I think that's              25         A   Yes.

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 1      Q      And he rented that apartment?                           1       Q     Let me have you put the paper down.
 2             MR. EDWARDS: Object to the form.                        2       A     Yes.
 3   Mischaracterization.                                              3       Q     Do you recall applying for another
 4      A      He lived there with me for a short period.              4   passport?
 5   I don't -- I don't know how long he lived there with              5       A     No.
 6   me for.                                                           6       Q     Okay. Do you recall ever applying for
 7      Q      (BY MS. MENNINGER) And who rented the                   7   another passport, ever?
 8   apartment?                                                        8       A     Well, yeah, when I got to Australia I had
 9      A      Well, Jeffrey paid for the apartment. I                 9   to -- I don't have it on me right now, but I could
10   was the occupant, and he was an occupant.                        10   tell you it's -- I had to apply for another one
11      Q      Did you ever see the lease?                            11   because the other one ran out as expiree.
12      A      Yes, I believe I had to sign the paperwork             12       Q     So whenever one expired, you applied for
13   saying that I was living there.                                  13   another one from the U.S.?
14      Q      So you were living at -- is it                         14       A     (Indicating.)
15                                                                    15       Q     Have you ever gotten --
16      A      I can't honestly read it. It looks like a              16           Is that right?
17   C-a-c (sic), but that doesn't make sense.                        17       A     Yeah.
18      Q      So January of 2001 you signed a document               18       Q     Have you ever gotten a passport from
19   under oath putting                                               19   Australia?
                                                                      20       A     An Australian passport?
21      A      Yes.                                                   21       Q     Right.
22      Q      And you put your permanent address and                 22       A     No.
23   your mail your passport to at your parents'                      23       Q     Have you ever lost a passport and had to
24   address --                                                       24   get one replaced?
25      A      Yes.                                                   25       A     I don't think so.
                                                           Page 186                                                          Page 188
 1      Q      -- is that right?                                       1      Q    When was the first time that you came back
 2            And it's your position that that is the                  2   to the U.S. from Australia?
 3   apartment that Jeffrey paid for and you signed a                  3      A    October 16th, 2013.
 4   lease?                                                            4      Q    And did you come back before that?
 5      A      Yes, Jeffrey paid for it and I think I had              5      A    No.
 6   to sign something that said I was going to occupy it.             6      Q    Did you ever tell Sharon Churcher or
 7   I don't know if James ever did.                                   7   Sharon White or Marianne Strong that you were going
 8      Q      Okay. And you stayed at that apartment                  8   on a trip to New York in 2011?
 9   from at least January 2001 until you left in the fall             9      A    No.
10   of 2002, right?                                                  10      Q    Is it your contention that Ghislaine
11      A      I would say before then, yes. Like I                   11   Maxwell sexually trafficked you to famous people?
12   said, I can't really tell you the exact date that I              12      A    If you have a document in front of you
13   moved there, but --                                              13   that you could show me so I could see what you're
14      Q      Why did you have your passport sent to                 14   talking about, yes.
15   your parent's house if you weren't living at your                15      Q    I'm asking you, is it your contention that
16   parents' house?                                                  16   Ghislaine Maxwell sexually trafficked you to famous
17      A      Um, I don't know. I guess a fail-safe.                 17   people?
18   I'm not too sure.                                                18      A    Could you be more specific, like are we
19      Q      When was the next passport that you got?               19   talking about rock stars or royalty or --
20      A      I think I had to reapply for one in --                 20      Q    Politically connected and financially
21   well, this one expired in 2002. So I would have had              21   powerful people.
22   to apply for another one.                                        22      A    Yes.
23      Q      I'm asking do you remember when you got                23      Q    Okay. To whom did Ghislaine Maxwell
24   another passport?                                                24   sexually traffic you?
25      A      This expired January 10th, 2002.                       25      A    You have to understand that Jeffrey and

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 1   Ghislaine are joined hip by hip, okay? So they both          1   exactly what you would do for Jeffrey to him. Keep
 2   trafficked me. Ghislaine brought me in for the               2   him happy. I can't remember her exact words, and I'm
 3   purpose of being trafficked. Jeffrey was just as a           3   not going to put words in my mouth to make it sound
 4   part of it as she was. She was just as a part of it          4   like what she said. But it was all along those
 5   as he was. They trafficked me to many people. And            5   lines.
 6   to be honest, there is people I could name and then          6      Q     Those are words that Ghislaine Maxwell
 7   there's people that are just a blur. There was so            7   used to you in directing you to go have sex with
 8   much happening.                                              8                          ?
 9      Q    Okay. Please name a person that Ghislaine            9            MR. EDWARDS: Object to the form.
10   Maxwell directed you to go have sex with?                   10   Mischaracterized her testimony.
11      A                     .                                  11      A     Along those lines, yes.
12      Q    Okay. Who else?                                     12      Q     (BY MS. MENNINGER) Okay. Where were you
13      A    As a whole, they both trafficked me to              13   located when she used those words with you?
14   people. It was under both of their direction. So            14      A     It could have been Palm Beach. It could
15   it's not easy just to say Ghislaine. When I say             15   have been New York.
16   they, I mean both of them.                                  16      Q     You don't recall?
17      Q    Okay. Well, I need you to say a time when           17      A     I don't recall.
18   Ghislaine Maxwell directed you to go have sex with          18      Q     Okay. How old were you when she used
19   another person. So can you please tell me to whom           19   those words to you?
20   Ghislaine Maxwell asked you to go have sex with             20            MR. EDWARDS: Object to the form.
21   another person?                                             21            Mischaracterizes her testimony.
22           MR. EDWARDS: Object to the form.                    22      A     I don't know. I would think I was 17.
23      A                                                        23      Q     (BY MS. MENNINGER) But you're not sure?
24      Q    (BY MS. MENNINGER) Who else?                        24      A     Well, it was in the beginning, like after
25      A    I'm going to continue to tell you that              25   my training.                                           were

                                                      Page 190                                                              Page 192
 1   they both directed me to do it. It was part of my           1    the two first people I was sent out to.
 2   training. They both told me, you've got tickets to          2       Q     Okay. Well, I was asking about
 3   go here. This is who you're meeting, and this is            3                   okay?
 4   what you're doing.                                          4       A     Right. That's what I'm saying. If you
 5           So                     is another one.              5    want me to categorically tell you when it happened
 6      Q    Ghislaine Maxwell directed you to go have           6    and why I think I was 17, because those were the two
 7   sex with                        ?                           7    first people I was sent to.
 8           MR. EDWARDS: Object to the form to the              8       Q     So you don't actually recall the
 9   extent it mischaracterized her testimony.                   9    conversation regarding                               ? You don't
10      A    I'm trying to tell you that they both did,          10   recall where you were, right?
11   Ghislaine and Jeffrey both directed me. They both           11      A     I can't picture if it was New -- I know it
12   paid me and they both directed me.                          12   was either New York or Palm Beach. I don't remember
13      Q    (BY MS. MENNINGER) All right. When did              13   exactly which one.
14   Ghislaine Maxwell direct you to go have sex with            14      Q     You don't recall exactly what words were
15                        ?                                      15   used by Ghislaine Maxwell in speaking to you,
16           MR. EDWARDS: Object to the form. Same               16   correct?
17   objection.                                                  17      A     I remember the tone that she used, the
18      A    I don't know the time. I don't -- you               18   type of words that she used. I can't word for word
19   know, I could tell you the place. I don't know the          19   replay what she said.
20   time.                                                       20      Q     All right. And so when in time was
21      Q    (BY MS. MENNINGER) What words did                   21                                                          ?
22   Ghislaine Maxwell use in talking to you and asking          22      A                          was months, six months,
23   you to go have sex with                              ?      23   I'm not too sure.
24      A    We're sending you to a gentleman. We want           24      Q     Six months what?
25   you to show him a good time. We want you to do              25      A     Before                . I don't know, I

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 1   think I met Prince Andrew in 2001. And Glenn Dubin              1      Q     If you're going to tell me more names,
 2   and Stephen Kaufmann were, like I said, the first               2   please continue your answer.
 3   people I was sent out to after my training. So I                3      A     I'm trying to think.
 4   don't know. I'm not going to give you an exact time             4      Q     If you're just going to talk --
 5   if I don't know it.                                             5      A     I'm sorry. I'm trying to think.
 6      Q     I asked you the relative order.                        6      Q     Okay. Let's take a break and then you can
 7      A     And I'm trying to give you it.                         7   think over the break.
 8      Q     And where does Alan Dershowitz fit into                8           THE VIDEOGRAPHER: We're off the record at
 9   that group of people?                                           9   2:01.
10      A     Same. I can't tell you piece by piece by              10           (Recess taken from 2:01 p.m. to 2:09 p.m.)
11   piece who -- I know Glenn Dubin was first.                     11           THE VIDEOGRAPHER: We're back on the
12      Q     Okay.                                                 12   record at 2:09.
13      A     And I know Stephen Kaufmann was one of the            13      Q     (BY MS. MENNINGER) Ms. Giuffre, you have
14   first I was sent to. Alan Dershowitz could have been           14   filed a lawsuit against Ghislaine Maxwell, correct?
15   between there. Between, sorry, between Glenn and               15      A     Yes.
16   Stephen. The first time I was with Alan Dershowitz             16      Q     You understand her to be my client,
17   was in New York, so I wasn't actually sent to him.             17   correct?
18   It actually happened at one of Jeffrey's residences.           18      A     Yes.
19           (Ms. McCawley left the deposition.)                    19      Q     I'm here today to talk to you about your
20      A     So it's very hard for me to                           20   allegations against Ghislaine Maxwell.
21   chronologically give you each person individually.             21           Do you understand that?
22      Q     (BY MS. MENNINGER) Okay. Name the other               22      A     Yes.
23   politically connected and financially powerful people          23      Q     I want you to tell me a single time that
24   that Ghislaine Maxwell told you to go have sex with?           24   you recall Ghislaine Maxwell using words to you and
25      A     Again, I'm going to tell you "they"                   25   directing you to go have sex with another person --

                                                         Page 194                                                          Page 196
 1   because that's how it went. They instructed me to go            1           MR. EDWARDS: Object.
 2   to George Mitchell, Jean Luc Brunel, Bill Richardson,           2      Q    (BY MS. MENNINGER) -- not anybody else,
 3   another prince that I don't know his name. A guy                3   Ghislaine Maxwell?
 4   that owns a hotel, a really large hotel chain, I                4           MR. EDWARDS: Objection. Asked and
 5   can't remember which hotel it was. Marvin Minsky.               5   answered.
 6           There was, you know, another foreign                    6           To the extent that she can answer the
 7   president, I can't remember his name. He was                    7   question, I'd ask that she answer the question.
 8   Spanish. There's a whole bunch of them that I                   8      A    I have answered the question. The
 9   just -- it's hard for me to remember all of them.               9   question that you're asking me is Ghislaine. And
10   You know, I was told to do something by these people           10   Ghislaine and Jeffrey worked together. They were one
11   constantly, told to -- my whole life revolved around           11   and the same of persons. They both directed me to do
12   just pleasing these men and keeping Ghislaine and              12   this. They both directed me to report back to them.
13   Jeffrey happy. Their whole entire lives revolved               13   They were both the same.
14   around sex.                                                    14      Q    (BY MS. MENNINGER) You cannot recall a
15           They call massages sex. They call                      15   single instance in which Ghislaine --
16   modeling sex. They call --                                     16      A    I have to --
17      Q     I asked you the names for people. Are you             17      Q    Excuse me.
18   going to tell me any other names or is that all of             18           -- in which Ghislaine Maxwell alone
19   them?                                                          19   directed you to have sex with another person --
20      A    I'm trying to think. That's the answer                 20      A    I have to --
21   I'm trying to give to you. It's that it's so hard to           21      Q    -- correct?
22   just keep naming and naming and naming.                        22      A    -- believe --
23      Q     All right.                                            23           MR. EDWARDS: Object.
24      A    A lot of times I would be introduced to                24           MS. MENNINGER: I am going to finish my
25   them. I didn't know --                                         25   question.

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                                                            Page 197                                                              Page 199
 1      Q    (BY MS. MENNINGER) Correct?                                1   was going to be trained as a masseuse and that she
 2           MR. EDWARDS: Are you finished with your                    2   instructed me to take off my clothes and to give oral
 3   question?                                                          3   sex to Jeffrey Epstein.
 4           MS. MENNINGER: Now you may make your                       4      Q       (BY MS. MENNINGER) Excuse me. I've asked
 5   objection. And then she may answer.                                5   you for the names.
 6           MR. EDWARDS: Okay. Objection.                              6      A       I've just given you a name. Jeffrey
 7   Argumentative. Harassing for absolutely no reason.                 7   Epstein is a big name.
 8   Mischaracterizing the witness's testimony.                         8      Q       All right.
 9           Answer, if you can.                                        9      A       She instructed me on that one.
10      A    I have given you the names of the people                  10      Q       So you're saying --
11   that Ghislaine herself has told me to go be sex                   11           MR. EDWARDS: The witness is finishing her
12   trafficked to, along with Jeffrey Epstein, okay?                  12   answer right now. She's in the process of explaining
13           She's the one who brought me to Jeffrey                   13   one of the people Ghislaine told her to have sex
14   Epstein to be trafficked in the fucking first place.              14   with.
15           So I have given you as much information as                15      Q       (BY MS. MENNINGER)         So you're saying
16   I possibly can to let you know what she was about,                16   Ghislaine Maxwell directed you to have sex with
17   who she told me to go with, what she wanted me to do.             17   Jeffrey Epstein?
18   That is what I am stating and that's what I                       18      A       Correct.
19   previously stated to you.                                         19      Q       Ghislaine Maxwell directed you to have sex
20      Q    (BY MS. MENNINGER) And these names that                   20   with Glenn Dubin?
21   you have just given are people to whom Ghislaine                  21      A       Correct.
22   Maxwell alone told you to go have sex?                            22      Q       What words did Ghislaine Maxwell tell you
23           MR. EDWARDS: Objection.                                   23   to go have sex with Glenn Dubin?
24   Mischaracterization.                                              24      A       It was the same all the time, all right?
25      A    Ghislaine and Jeffrey, I don't know how                   25   They want me to go provide these men with a massage.

                                                            Page 198                                                              Page 200
 1   many times you want me to keep answering this                      1   And when they say massage, that means erotic, okay?
 2   question. Both told me to do this, okay? They both                 2   That's their term for it. I think there are plenty
 3   sent me to these people.                                           3   of other witnesses that can attest to what massage
 4           How many times do you want me to answer                    4   actually means.
 5   this?                                                              5           And I'm telling you that Ghislaine told me
 6      Q     (BY MS. MENNINGER) I think you're                         6   to go to                 and give him a massage, which
 7   answering a different question so that's why I'm                   7   means sex.
 8   going to ask you again. I am not asking you anything               8      Q       Okay. So           -- Ghislaine Maxwell told
 9   about a time when Jeffrey and Ghislaine together told              9   you to go give a massage to
10   you to go do something. I'm asking you to name a                  10      A       Correct.
11   single time during which Ghislaine Maxwell acting                 11      Q       That's your testimony?
12   alone directed you to go have sex with another                    12      A       That is my testimony.
13   person?                                                           13      Q       All right. Ghislaine Maxwell told you to
14           MR. EDWARDS: Objection. Asked and                         14   go give a massage to                              , correct?
15   answered. Harassing. Argumentative.                               15      A       Correct.
16      A     I've given you the names of the people                   16      Q       Ghislaine Maxwell told you to give a
17   that Ghislaine instructed me to go have sexual                    17   massage to                        , correct?
18   relations with. I am not discluding (sic) the fact                18      A       Correct.
19   that Jeffrey also told me.                                        19      Q       Ghislaine Maxwell told you to give a
20           Ghislaine told me from her mouth to do                    20   massage to                        , correct?
21   these things. Jeffrey told me from his mouth to do                21      A       Correct.
22   these things with these people. Ghislaine instructed              22      Q       When did Ghislaine Maxwell tell you to
23   me to do the things that I did with Jeffrey Epstein               23   give a massage to                         ?
24   on the very first meeting that I had with him. She                24      A       I don't know dates.
25   brought me there under the preclusion (sic) that I                25      Q       Where were you?

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 1      A    When it happened?                                       1   know where it was when she said to go do this.
 2      Q    When Ghislaine Maxwell used the words, Go               2      Q     (BY MS. MENNINGER) Okay. Where were you
 3   give a massage to Bill Richardson, where were you?              3   sent to have sex with the owner of a large hotel
 4           MR. EDWARDS: Object to the form.                        4   chain by Ghislaine Maxwell?
 5   Mischaracterizes her testimony.                                 5           MR. EDWARDS: Object to the form.
 6      A    I can't tell you where we were. I know                  6       A    I believe that was one time in France.
 7   where I was sent to. I don't know where we were when            7      Q     (BY MS. MENNINGER) Which time in France?
 8   she told me to do that.                                         8       A    I believe it was around the same time that
 9      Q    (BY MS. MENNINGER) Where were you sent                  9   Naomi Campbell had a birthday party.
10   to --                                                          10      Q     Where did you have sex with the owner of a
11      A    New Mexico.                                            11   large hotel chain in France around the time of Naomi
12      Q    -- by Ghislaine Maxwell?                               12   Campbell's birthday party?
13           MR. EDWARDS: Object to the form.                       13       A    In his own cabana townhouse thing. It was
14   Mischaracterizes her testimony again.                          14   part of a hotel, but I wouldn't call it a hotel.
15      A    Are you smiling at me because --                       15           Jeffrey was staying there. Ghislaine was
16      Q    (BY MS. MENNINGER) No, I'm asking you to               16   staying there. Emmy was staying there. I was
17   answer the question.                                           17   staying there. This other guy was staying there. I
18      A    I have answered the question. I was sent               18   don't know his name.
19   to New Mexico.                                                 19           I was instructed by Ghislaine to go and
20      Q    Okay. Where were you sent from?                        20   give him an erotic massage.
21      A    I already answered that. I don't know                  21      Q     She used the words erotic massage?
22   where I was sent from.                                         22       A    No, that's my word. The word massage is
23      Q    Okay.                                                  23   what they would use. That's their code word.
24      A    I was flying everywhere with these people.             24      Q     Was she in the room when you gave this
25      Q    Where were you sent by Ghislaine Maxwell               25   erotic massage to the owner of a large hotel chain?

                                                         Page 202                                                                Page 204
 1   to have sex with                   ?                            1      A     No, she was not in the room. She was in
 2           MR. EDWARDS: Object to the form.                        2   another cabana.
 3   Mischaracterized her testimony.                                 3      Q     And other than telling you to go give the
 4      A    Many places.                                            4   owner of this large hotel chain a massage, do you
 5      Q    (BY MS. MENNINGER) Ghislaine Maxwell sent               5   remember any other words she used to you to direct
 6   you to many places to have sex with                       ?     6   you in what you should do?
 7           MR. EDWARDS: Object to the form.                        7      A     Not at the time, no.
 8      A    It happened at many places, yes.                        8      Q     Where did -- where were you and where was
 9      Q    (BY MS. MENNINGER) You had sex with                     9   Ms. Maxwell when she directed you to go have sex with
10               at many places is what you're saying,              10   Marvin Minsky?
11   correct?                                                       11           MR. EDWARDS: Object to the form.
12      A    I was sent to                   at many                12      A     I don't know.
13   places to have sex with him.                                   13      Q     (BY MS. MENNINGER) Where did you go to
14      Q    When did Ghislaine Maxwell send you to a               14   have sex with Marvin Minsky?
15   place to have sex with                      ?                  15      A     I believe it was the U.S. Virgin Islands,
16      A    You are asking --                                      16   Jeff's -- sorry, Jeffrey Epstein's island in the U.S.
17           MR. EDWARDS: Form.                                     17   Virgin Islands.
18      A    -- me to answer the impossible.                        18      Q     And when was that?
19      Q    (BY MS. MENNINGER) All right. When did                 19      A     I don't know.
20   Ghislaine Maxwell send you to have sex with the owner          20      Q     Do you have any time of year?
21   of a large hotel chain?                                        21      A     No.
22           MR. EDWARDS: Object to the form.                       22      Q     Do you know how old you were?
23   Mischaracterization.                                           23      A     No.
24      A    I'm going to keep answering the questions              24      Q     Other than Glenn Dubin, Stephen Kaufmann,
25   the same way that I keep answering them. I don't               25   Prince Andrew, Jean Luc Brunel, Bill Richardson,

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 1   another prince, the large hotel chain owner and                   1       Q     Including Mr. Edwards, who is sitting
 2   Marvin Minsky, is there anyone else that Ghislaine                2   right here, correct?
 3   Maxwell directed you to go have sex with?                         3       A     Correct.
 4      A       I am definitely sure there is. But can I               4       Q     What did that journal look like?
 5   remember everybody's name? No.                                    5       A     It was green.
 6      Q       Okay. Can you remember anything else                   6       Q     And what else?
 7   about them?                                                       7       A     It was just a spiral notebook.
 8      A       Look, I've given you what I know right                 8       Q     Okay. And what did you put into that
 9   now. I'm sorry. This is very hard for me and very                 9   green spiral notebook?
10   frustrating to have to go over this. I don't -- I                10       A     Bad memories. Things that I've gone
11   don't recall all of the people. There was a large                11   through, lots of things, you know. I can't tell you.
12   amount of people that I was sent to.                             12   There was a lot of pages. It was over 300 pages in
13      Q       Do you have any notes of all these people             13   that book.
14   that you were sent to?                                           14       Q     Did you ever show that book to your
15      A       No, I don't.                                          15   lawyers?
16      Q       Where are your notes?                                 16       A     No.
17      A       I burned them.                                        17       Q     Did you show that book to anyone?
18      Q       When did you burn them?                               18       A     My husband.
19      A       In a bonfire when I lived at Titusville               19       Q     Did you show it to anyone else besides
20   because I was sick of going through this shit.                   20   your husband?
21      Q       Did you have lawyers who were representing            21       A     No.
22   you at the time you built a bonfire and burned these             22       Q     Did you tear out pages and give them to
23   notes?                                                           23   Sharon Churcher?
24      A       I've been represented for a long time, but            24       A     No, I wrote -- those pages that you're
25   it was not under the instruction of my lawyers to do             25   talking about, I wrote for her specifically. She
                                                           Page 206                                                             Page 208
 1   this. My husband and I were pretty spiritual people               1   wanted to know about the Prince Andrew incident.

 2   and we believed that these memories were worth                    2      Q    So that's a different piece of paper?

 3   burning.                                                          3      A    Yeah, that's just random paper.

 4      Q       So you burned notes of the men with whom               4      Q    So you had a green spiral notebook that

 5   you had sex while you were represented by counsel in              5   you began sometime in 2011 or 2012 in which you wrote

 6   litigation, correct?                                              6   down your recollections about what had happened to

 7            MR. EDWARDS: Object to the form.                         7   you, and you burned that in a bonfire in 2013.

 8      A     This wasn't anything that was a public                   8           Did I get that right?

 9   document. This was my own private journal, and I                  9      A    You got that right.

10   didn't want it anymore. So we burned it.                         10      Q    And do you have no other names of people

11      Q       (BY MS. MENNINGER) When did you write                 11   to whom you claim Ghislaine Maxwell directed you to

12   that journal?                                                    12   have sex, correct?

13      A     Just over time. I started writing it                    13      A    At this time, no.

14   probably in, I don't know, I can't speculate, 2012,              14      Q    Is there any document that would refresh

15   2011.                                                            15   your recollection that you could look at?

16      Q       So you did not write this journal at the              16      A    If you have a document you'd like to show

17   time it happened?                                                17   me, I would be glad to look at it and tell you the

18      A     No.                                                     18   names I recognize off of that.

19      Q       You started writing this journal                      19      Q    I'm just asking you if there's a document

20   approximately a decade after you claim you finished              20   you know of that has this list of names in it?

21   being sexually trafficked, correct?                              21      A    Not in front of me, no.

22      A     Yes.                                                    22      Q    Where is the original of the photograph

23      Q       And you started writing a journal after               23   that has been widely circulated in the press of you

24   you had a lawyer, correct?                                       24   with Prince Andrew?

25      A     Correct.                                                25      A    I probably still have it. It's not in my

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 1   possession right now.                                            1      A    My little yellow Kodak camera.
 2         Q   Where is it?                                           2      Q    Who took the picture?
 3         A   Probably in some storage boxes.                        3      A    Jeffrey Epstein.
 4         Q   Where?                                                 4      Q    And where did you have it developed?
 5         A   In Sydney.                                             5      A    I believe when I got back to America.
 6         Q   Where in Sydney?                                       6      Q    So where?
 7         A   At some family's house. We got the boxes               7      A    I don't know.
 8   shipped to Australia, and they were picked up off the            8      Q    Palm Beach?
 9   porch by my nephews and brought to their house.                  9      A    I don't know.
10         Q   Which is where?                                       10      Q    What is the date the photograph was
11         A   In Sydney.                                            11   printed?
12         Q   Where in Sydney?                                      12      A    I believe it's in March 2001.
13         A                                                         13      Q    Okay.
14         Q   And who lives in that house?                          14      A    But that's just off of my photographic
15         A   Well, it's owned by my mother-in-law and              15   memory. I don't -- it could be different, but I
16   father-in-law, but my nephews live in the house.                16   think it's March 2001.
17         Q   What are their names?                                 17      Q    You have a photographic memory?
18         A   I'm not giving you the names of my                    18      A    I'm not saying I have a photographic
19   nephews.                                                        19   memory. But if I'd look at the back of the photo and
20         Q   What's the address of the house?                      20   I remember what it says, I believe it was March 2001.
21         A   Why would you want that?                              21      Q    Did the photograph ever leave your
22         Q   I want to know where the photograph is.               22   possession for a while?
23   I'm asking you where the photograph is. And you've              23      A    I gave it to the FBI.
24   just told me it's somewhere in                                  24      Q    Okay. And when did you get it back?
25         A   Yes.                                                  25      A    When they took copies of it.

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 1         Q   So where in               is the photograph            1      Q    When was that?
 2   located?                                                         2      A    2011.
 3         A   If I can't 100 percent say that the                    3      Q    When they came to interview you?
 4   photograph is there, it could be at my house that I              4      A    Yes.
 5   presently live in. I'm not going to give you the                 5      Q    So from 2011 until you left Colorado it
 6   address of my nephews' residence.                                6   was in your personal possession?
 7         Q   When is the last time you saw the                      7      A    Yes.
 8   photograph in person?                                            8      Q    What other documents related to this case
 9         A   When I packed and left America.                        9   are in that, storage boxes in Australia?
10         Q   Colorado?                                             10           MR. EDWARDS: Object to the form.
11         A   Yes.                                                  11      A    Documents related to this case -- there --
12         Q   All right. So you had that photograph                 12   I don't know. I really can't tell you. I mean,
13   here with you in Colorado?                                      13   there's seven boxes full of Nerf guns, my kids' toys,
14         A   Yes.                                                  14   photos. I don't know what other documents would be
15         Q   What's on the back of the photograph?                 15   in there.
16         A   I'm sorry?                                            16      Q    (BY MS. MENNINGER) Did anyone search
17         Q   Is there anything on the back of the                  17   those documents after you received discovery requests
18   photograph?                                                     18   from us in this case?
19         A   There's like the date it was printed, but             19      A    I haven't been able to obtain those boxes.
20   no writing or anything.                                         20   I can't get them sent back up to me. It's going to
21         Q   Okay. Does it say where it was printed?               21   cost me a large amount of money. And right now I'm
22         A   I don't believe so. I think it just -- I              22   trying to look after my family, so I'm not able to
23   don't remember. I just remember there's a date on               23   afford to get them up.
24   it.                                                             24      Q    You live in Australia, correct?
25         Q   Whose camera was it taken with?                       25      A    I do.

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 1      Q    Okay. How far away are the boxes from             1   We've had lots of bonfires there.
 2   where you live in Australia?                              2      Q       Did you ever ride in a helicopter with
 3      A    Sydney is down here at the bottom. Cairns         3   Ghislaine Maxwell acting as pilot of the helicopter?
 4   is up here at the top.                                    4       A      Yes.
 5      Q    Okay.                                             5      Q       Who else was on the flight?
 6      A    It's probably a six-day drive.                    6       A      I've been on the helicopter with her
 7      Q    Did you fly here through Sydney?                  7   plenty of times. I can't mention how many people
 8      A    No.                                               8   were on the -- on the helicopter at the same time.
 9      Q    Have you been to Sydney since you've moved        9      Q       How many times?
10   back to Australia?                                       10       A      I don't know. Do you have helicopter
11      A    I flew into Sydney with my three kids, but       11   records that you could show me?
12   it was a connecting flight to Brisbane.                  12      Q       I'm asking you how many times you were on
13      Q    Did you ask your nephews or anyone else to       13   the helicopter with Ghislaine Maxwell acting as the
14   search those boxes in response to discovery requests     14   pilot --
15   that we issued in this case?                             15       A      It's impossible for me to answer the
16      A    They are my nephews. I would never let           16   question without having the actual physical records
17   them look at those.                                      17   in front of me.
18      Q    Other than your green spiral notebook,           18      Q       I'm asking you to look into your memory
19   what else did you burn in this bonfire in 2013?          19   and tell me how many times you recall being on a
20      A    That was it.                                     20   helicopter with Ghislaine Maxwell at the pilot seat?
21      Q    That's the only thing?                           21       A      There is no number I can give you.
22      A    Yes.                                             22   There's plenty of times I've been on her helicopter.
23      Q    Did you use wood?                                23      Q       Where did you go from and to on a
24      A    Yes.                                             24   helicopter?
25      Q    Charcoal?                                        25       A      I believe it was -- don't quote me on this

                                                   Page 214                                                                Page 216
 1       A    My husband built the bonfire out of wood         1   because I get confused on the islands there. I want
 2   and I don't know what else he put in it. He's the         2   to say it was St. John's. It could have been
 3   one who always makes the fires, not me.                   3   St. Barts. St. John or St. Barts, and then we would
 4      Q     Who else was present?                            4   fly straight to Jeffrey's island.
 5       A    Just him and I.                                  5      Q       Okay. Did you ever go anywhere else on
 6      Q     Were your kids there?                            6   the helicopter?
 7       A    No. They were inside sleeping.                   7      A       No.
 8      Q     And what beach was this?                         8      Q       Were you ever on the helicopter with
 9       A    It wasn't a beach. It was in my backyard.        9              and Ghislaine Maxwell as the pilot of the
10      Q     What's your address?                            10   helicopter?
11       A    At that time?                                   11      A       No.
12      Q     Um-hum.                                         12      Q       Were you ever on the helicopter with
13       A                                                    13                                 and Ghislaine Maxwell as the
                                                              14   pilot?
15       A    Yes.                                            15      A       No.
16      Q     Who were your neighbors?                        16      Q       Do you recall telling Sharon Churcher that
17       A    Sweet people. Ray and -- I could look on        17   you were?
18   my phone if you want.                                    18      A       No.
19      Q     No, thank you. Do they still live there?        19      Q       Did you see the press article in which
20       A    Yes.                                            20   Sharon Churcher reported that you were?
21      Q     Do you keep in touch with them?                 21            MR. EDWARDS: Objection. I'd just ask
22       A    Last time I talked to them was a few            22   that if you're going to ask this witness about a
23   months ago.                                              23   specific article I'd like for her to see the article.
24      Q     Did they see the fire?                          24   Otherwise she's not going to testify about it.
25       A    They've seen many fires that we've had.         25            If you have something to show her, then,

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 1   please.                                                        1   flying on a helicopter with Ghislaine Maxwell?
 2      Q      (BY MS. MENNINGER) Do you recall seeing a            2      A     I believe that it was taken out of
 3   press article in which Sharon Churcher reported that           3   context. Ghislaine told me that she flew
 4   you were on a helicopter with                     and          4           in. And Ghislaine likes to talk a lot of
 5   Ghislaine Maxwell as the pilot?                                5   stuff that sounds fantastical. And whether it's true
 6             MR. EDWARDS: Again, I'll let you answer              6   or not, that is what I do recall telling Sharon
 7   the question once she's looking at the document that           7   Churcher.
 8   you're being asked about.                                      8      Q     So you told Sharon Churcher that Ghislaine
 9             MS. MENNINGER: You're not letting her                9   Maxwell is the one who told you that she flew
10   answer a question about whether she recalls a                 10            in the helicopter?
11   particular press statement?                                   11      A     I told Sharon Churcher that Ghislaine flew
12             MR. EDWARDS: I will let her answer every            12               onto the island, based upon what
13   question about the press statement as long as she             13   Ghislaine had told me.
14   sees the press statement. I'm okay with that. She             14      Q     Not based upon what                        had told
15   can answer all of them.                                       15   you, correct?
16             MS. MENNINGER: No, there is a rule of               16      A     Correct.
17   civil procedure that allows you to direct a witness           17      Q     Did you ever ask Sharon Churcher to
18   not to answer a question when there's a claim of              18   correct anything that was printed under her name,
19   privilege.                                                    19   concerning your stories to Sharon Churcher?
20             What privilege are you claiming to direct           20      A     I wasn't given those stories to read
21   her not to answer this question?                              21   before they were printed.
22             MR. EDWARDS: I thought that you wanted              22      Q     After they were printed did you read them?
23   accurate answers from this witness. If the --                 23      A     I tried to stay away from them. They were
24             MS. MENNINGER: I asked her if she                   24   very hard. You have to understand it was a very hard
25   recalled something --                                         25   time for me and my husband to have to have this

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 1             MR. EDWARDS: If the sole purpose is to               1   public -- we didn't think it was going to be this
 2   just to harass her --                                          2   publicly announced and that big. So we turned off
 3             MS. MENNINGER: I asked her if she                    3   the news and we stopped reading so many things.
 4   recalled something --                                          4      Q    You didn't read the articles about your
 5             MR. EDWARDS: Then that's just not going              5   stories to Sharon Churcher --
 6   to be what's happening today.                                  6      A    I've read some articles --
 7      Q      (BY MS. MENNINGER) All right. So you're              7      Q    Let me just finish. You did not read the
 8   refusing to answer a question about whether you                8   articles published by Sharon Churcher about your
 9   recall a particular press statement --                         9   stories to Sharon Churcher?
10             MR. EDWARDS: She's --                               10      A    I have read some articles about what
11      Q      (BY MS. MENNINGER) -- is that true?                 11   Sharon Churcher wrote. And a lot of the stuff that
12             MR. EDWARDS: She is not refusing to                 12   she writes she takes things from my own mouth and
13   answer any questions. She --                                  13   changes them into her own words as journalists do.
14      A      I'm not refusing to answer. I just want             14           And I never came back to her and told her
15   to see the article you're talking about so I can be           15   to correct anything. What was done was done. There
16   clear in my statement.                                        16   was nothing else I can do.
17      Q      (BY MS. MENNINGER) Do you recall seeing a           17      Q    So even if she printed something that were
18   press article written by Sharon Churcher reporting            18   untrue you didn't ask her to correct it, correct?
19   that you flew on a helicopter with                      and   19      A    There was things that she printed that
20   Ghislaine Maxwell as the pilot?                               20   really pissed me off, but there was nothing I could
21      A      No, I do not recall reading a press                 21   do about it. It's already out there.
22   article saying that I was on a helicopter with                22      Q    She printed things that were untrue,
23             as Ghislaine is the pilot.                          23   correct?
24      Q      Do you recall telling Sharon Churcher that          24           MR. EDWARDS: Objection to the form.
25   you had conversations with                      regarding him 25   Mischaracterization.

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 1      A    I wouldn't say that they were untrue. I                1   to why I want my client to answer all of these
 2   would just say that she printed them as journalists            2   questions, but I want her to have the fair
 3   take your words and turn them into something else.             3   opportunity to see this document.
 4      Q    (BY MS. MENNINGER) She got it wrong?                   4      Q      (BY MS. MENNINGER) Did Sharon Churcher
 5          MR. EDWARDS: Object to the form.                        5   print things that you felt were inaccurate?
 6   Mischaracterization.                                           6             MR. EDWARDS: Same objection. Same
 7      A    In some ways, yes.                                     7   instruction. If she sees the document, she's going
 8      Q    (BY MS. MENNINGER) Did she print things                8   to answer every one of these questions.
 9   in her articles that you did not say to her?                   9      Q      (BY MS. MENNINGER) Did any other reporter
10          MR. EDWARDS: I object and ask that the                 10   print statements that you believe are inaccurate?
11   witness be given the opportunity to see the document          11             MR. EDWARDS: Same objection. Same
12   so that she can review it and answer that question            12   instruction.
13   accurately. Otherwise she's unable to answer the              13      Q      (BY MS. MENNINGER) Did any reporter print
14   question. I'm not going to allow her to answer.               14   statements about Ghislaine Maxwell that were
15          MS. MENNINGER: You know the civil rules                15   inaccurate?
16   tell you not to suggest answers to your client.               16             MR. EDWARDS: Same objection. Same
17      Q    (BY MS. MENNINGER) And you understand                 17   instruction.
18   your lawyer is now directing you to not all of a              18             This is harassing. This is harassing a
19   sudden remember what your answer is. That's what              19   sexual abuse victim. And all I'm asking is for
20   he's suggesting that you say. So you're not supposed          20   fairness, that we just let her see the document so
21   to listen to him suggest that to you. You're                  21   she can answer this.
22   supposed to tell me from your memory.                         22             MS. MENNINGER: Mr. Edwards, please stop
23          MR. EDWARDS: That is not what I'm --                   23   saying anything other than an objection, what the
24      Q    (BY MS. MENNINGER) Did you --                         24   basis is, or instructing your client not to answer.
25          MR. EDWARDS: That's not what I'm doing.                25             MR. EDWARDS: I will do that.

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 1           You don't get to just talk over me and                 1           MS. MENNINGER: That's what the Federal
 2   tell my client when not to listen to me. All you               2   Rules of Civil Procedure provide.
 3   have to do to get answers is show her the document             3           MR. EDWARDS: I hear you. They also
 4   you're talking about, and I'll let her answer every            4   provide for fairness and civility. And all I'm
 5   question. I don't know why we're so scared of the              5   asking, very calmly, is for her to see this.
 6   actual documents.                                              6           MS. MENNINGER: Mr. Edwards, this is not
 7           MS. MENNINGER: I don't know why you're                 7   your deposition. I'm asking your client what she
 8   scared of your client's recollection, Mr. Edwards.             8   remembers. If she doesn't want to talk about what
 9   But anyway --                                                  9   she remembers, then let her not answer. But you
10           MR. EDWARDS: Why would you do this to                 10   cannot instruct her not to answer unless there's a
11   her?                                                          11   privilege.
12      Q    (BY MS. MENNINGER) Did Sharon Churcher                12           What privilege --
13   print things that you did not say?                            13           MR. EDWARDS: I am instructing her not to
14           MR. EDWARDS: I'm going to instruct my                 14   answer.
15   client not to answer unless you give her what it is           15      Q      (BY MS. MENNINGER) All right. You are
16   that you're talking about that was printed. And she           16   refusing to answer questions about whether statements
17   will tell you the answer, the accurate answer to your         17   to the press about Ghislaine Maxwell attributed to
18   question. Just without the document to refresh her            18   you were inaccurate?
19   recollection and see it, she's not going to answer            19           MR. EDWARDS: She's not refusing not to
20   the question.                                                 20   answer.
21      Q    (BY MS. MENNINGER) Did Sharon Churcher                21      A      You are refusing to show me these
22   print things that you did not say?                            22   documents so I could answer properly. I would give
23           MR. EDWARDS: Same objection. Same                     23   you an answer if you were to show me some documents.
24   instruction not to answer.                                    24      Q      (BY MS. MENNINGER) You can't say without
25           I think I've made a very clear record as              25   looking at a document whether the press attributed to

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 1   you is accurate or inaccurate?                               1       A       Single sheets.
 2      A    Please show me the document.                         2       Q       And did you write a long document or a
 3      Q    You can't say from the top of your head              3    short document? What was it?
 4   whether any inaccurate statement has been attributed         4       A       I can't recall how long the document was,
 5   to you in the press?                                         5    but I would say it would be a few pages.
 6      A    Please show me a document and I will tell            6       Q       And other than asking you to write
 7   you.                                                         7    whatever you remember about                             , did she
 8      Q    Are you refusing to answer my questions               8   give you any other directions about what you should
 9   about your knowledge of whether inaccurate statements         9   write?
10   have been attributed to you in the press?                    10      A       She was interested in two things, really.
11      A    Are you refusing to give me the documents            11   How Epstein got away with so many counts of child
12   to look at?                                                  12   trafficking for sex and how                   was
13      Q    Are you refusing to answer the question?             13   involved in it. Those were her two main inquiries.
14      A    I am refusing to answer the question based           14      Q       What did she ask you to write?
15   upon the fact that you are not being fair enough to          15      A       She asked me to write about                   .
16   let me see the document in order to give you an              16      Q       Did she tell you to put it in your own
17   honest answer.                                               17   handwriting?
18      Q    Ms. Giuffre --                                       18      A       No, she just asked me to write down what I
19      A    Yes.                                                 19   can remember.
20      Q    -- we are talking about press that has               20      Q       Did you give her everything that you
21   been published on the Internet, correct?                     21   wrote?
22      A    Yes.                                                 22      A       Did I give her the whole entire pages that
23      Q    Do you have access to the Internet?                  23   I wrote?
24      A    Yes.                                                 24      Q       Yes.
25      Q    Have you looked on the Internet and read             25      A       Yeah, I wrote pages for her specifically.

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 1   articles that attribute statements to you about               1      Q       In your own handwriting?
 2   Ghislaine Maxwell?                                            2      A       In my own handwriting.
 3      A     Yes.                                                 3      Q       And what you wrote, was that true?
 4      Q     Do you know any statement that has been              4      A       Yes.
 5   attributed to you in a press article on the Internet          5      Q       And did you get paid for those pieces of
 6   about Ghislaine Maxwell that is untrue?                       6   paper?
 7           MR. EDWARDS: Same objection. Same                     7      A       Not for the papers, I don't believe.
 8   instruction.                                                  8      Q       Okay. Have you gotten paid when they've
 9      A     Please show me a specific document.                  9   been reprinted?
10      Q     (BY MS. MENNINGER) Do you know of any               10      A       No.
11   such statement about Ghislaine Maxwell attributed to 11              Q       Have you negotiated any deal with Radar
12   you by the press that is inaccurate?                         12   Online?
13      A     If you could please show me a specific              13      A       No.
14   document.                                                    14      Q       Have you negotiated any deal with Sharon
15      Q     Tell me what Sharon Churcher asked you to           15   Churcher for the purpose of publishing those pieces
16   write for her.                                               16   of paper?
17      A     Any knowledge that I had about my time              17      A       Not those pieces of paper.
18   with                .                                        18      Q       When did you write those pieces of paper?
19      Q     And did you write it?                               19            MR. EDWARDS: Object to the form.
20      A     Um-hum.                                             20      A       A week before she came out.
21      Q     What did you write it in or on?                     21      Q       (BY MS. MENNINGER) And when did you give
22      A     Paper.                                              22   them to her?
23      Q     What kind of paper?                                 23      A       When she came out.
24      A     Lined paper.                                        24      Q       When was that?
25      Q     Was it in a book or single sheets?                  25      A       Sometime, I believe, in early 2011.

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 1      Q     What did you get paid for, if not for              1    that you were 16 years old?
 2   those pieces of paper?                                      2        A     No. I think -- I think they had played
 3            MR. EDWARDS: Object to the form.                   3    the guessing game and I was 17.
 4      A     I was paid for the picture with                    4       Q      And so Ghislaine Maxwell did not tell
 5            with his arm around me, Ghislaine in the           5                         that you were only 16?
 6   background. And I was paid for the, I guess, the             6             MR. EDWARDS: Object to the form.
 7   print of the stories.                                        7   Speculation.
 8      Q     (BY MS. MENNINGER) Anything else?                   8      Q      (BY MS. MENNINGER) In your presence?
 9      A     No.                                                 9       A     I don't remember the exact conversation.
10      Q     You were not paid for those pieces of              10   I just remember they liked to play the guessing game
11   paper?                                                      11   a lot.
12      A     No.                                                12      Q      And so you don't recall Ghislaine Maxwell
13      Q     All right. And how many pieces of paper            13   telling                    in your presence that you were
14   did you write?                                              14   quote, only, really only 16, right?
15      A     Like I said, I'm rounding it around three.         15       A     Correct, I don't remember that.
16      Q     Three pieces of paper?                             16      Q      And if that were in the paper, that would
17      A     That's what I -- I don't remember to be            17   be untrue, correct?
18   exact on a number. I'm sorry. But over three pages.         18       A     Correct.
19      Q     And you wrote those sometime in 2011?              19             MS. MENNINGER: I think now might be a
20      A     The week that she was coming out to see            20   good time for a break.
21   me.                                                         21             THE DEPONENT: Thank you.
22      Q     And you gave them to her, right?                   22             MR. EDWARDS: Okay. Sounds good.
23      A     I gave them to her.                                23             THE VIDEOGRAPHER: We're off the record at
24      Q     Did you keep a copy of that?                       24   2:45.
25      A     No.                                                25             (Recess taken from 2:45 p.m. to 2:55 p.m.)

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 1      Q     Did you rip them out to make them look              1             THE VIDEOGRAPHER: We're back on the
 2   like they came out of a journal?                             2   record at 2:55.
 3      A     No.                                                 3      Q      (BY MS. MENNINGER) Do you have any
 4      Q     Were you directed to make them look like            4   photographs of yourself either nude or in a sexually
 5   they came out of a journal?                                  5   compromising position that you claim were taken by
 6      A     No.                                                 6   Ghislaine Maxwell?
 7      Q     Do you know why your lawyer would have              7      A      I do not have any of those in my evidence.
 8   told the federal judge in New York that that's what          8   But if you ask Ghislaine Maxwell, she would have
 9   you did?                                                     9   plenty.
10            MR. EDWARDS: Object to the form.                   10      Q      Do you have any in your storage boxes in
11      A     My lawyer in New York?                             11   Sydney?
12      Q     (BY MS. MENNINGER) Um-hum.                         12      A      No.
13      A     Ripped them out of a journal?                      13      Q      Do you know whether your attorneys have
14      Q     Said that you had. Do you know why she             14   any such photographs that you claim were taken by
15   would have said that?                                       15   Ghislaine Maxwell?
16      A     Maybe she thought that I did.                      16      A      No.
17      Q     But you didn't?                                    17      Q      You don't know or they don't have them?
18      A     They were just pieces of paper written for         18      A      I don't know. And I don't think they have
19   Sharon Churcher's purpose.                                  19   them. If they had them, they would have told me.
20      Q     And not directed to look like they came            20   You should ask your client. She's got plenty of
21   from a journal?                                             21   them.
22      A     Nobody told me to make them look like they         22      Q      What type of camera did Ghislaine Maxwell
23   came from a journal. They were just pieces of paper         23   use?
24   that I wrote down for Sharon Churcher.                      24      A      It was a black camera. And it had a, I
25      Q     Did Ghislaine Maxwell tell                         25   don't know the types and names of them, but the lens

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 1   that goes out.                                                1   you were doing with Ghislaine Maxwell?
 2      Q      Was it digital or single reflex?                    2      A     Yes.
 3      A      Again, I don't know types of cameras. I             3      Q     Did you tell him what you were doing to
 4   mean, I use my phone for using a camera. So it's a            4   other people?
 5   black camera and it had a lens that you could put out         5      A     I don't think I told him about many other
 6   further or bring back.                                        6   people, no.
 7      Q      Did you ask her to take any photographs of          7      Q     What people did you tell him about?
 8   you?                                                          8      A     Mainly Ghislaine and Jeffrey.
 9      A      No. She asked to take photographs of me.            9      Q     When did you tell him that?
10      Q      Was it a film or a digital camera?                 10      A     From the start.
11      A      I never saw how she printed them out.              11      Q     When was the start that you told him?
12      Q      What's the first time you told anybody             12      A     From, I wouldn't say the first meeting,
13   that you had been sexually trafficked?                       13   but I told him around that time.
14          MR. EDWARDS: Form.                                    14      Q     And what did                          tell you to
15      A      Tony Figueroa, my ex-boyfriend, knew some          15   do?
16   of the stuff that was happening, though I did not go         16      A     He didn't mind what I had to do. Again,
17   in great detail to him, being that he's my boyfriend.        17   he was another guy that used me because I made lots
18   And then the first person I really opened up to about        18   of money, and he didn't tell me to do anything.
19   everything was my husband.                                   19      Q     Did he tell you not to tell the police?
20      Q      (BY MS. MENNINGER) Did you tell Tony               20      A     No, he didn't tell me not to do anything.
21   Figueroa that you were forced to have sex with               21      Q     Did he tell you to tell the police?
22   Jeffrey Epstein?                                             22      A     Again, he told me not -- he didn't tell me
23      A      Yes.                                               23   to do anything.
24      Q      Did you tell Tony Figueroa you were forced         24      Q     When did you tell your parents that you
25   to have sex with Ghislaine Maxwell?                          25   were sexually trafficked by Jeffrey Epstein?

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 1      A      Yes.                                                1      A     After I had my kids.
 2      Q      Did you tell                  that Ghislaine        2      Q     When did you tell your parents that you
 3   Maxwell sent you to have sex with famous people?              3   were sexually trafficked by Ghislaine Maxwell?
 4      A      Yes.                                                4      A     I told them the same time about Jeffrey
 5      Q      When did you tell                     that?         5   and Ghislaine. So sometime after I had my children.
 6      A      During conversations. Like, I'd call him            6      Q     After you had had all three children or
 7   from places that I was at and just talk to him. And           7   after you had your first child?
 8   like I said, I wouldn't get into great detail about           8      A     I think after I had all three of my
 9   things. But, you know, I had to be with this person           9   children.
10   or that person today and --                                  10      Q     What was the last year in which you had a
11      Q      Did you tell                  not to call the      11   child?
12   police?                                                      12      A     2010.
13      A      No.       enjoyed his lifestyle with me.           13      Q     So you believe you told your parents
14   So he wouldn't have gone to the police.                      14   sometime after 2010 that you had been sexually
15      Q      Did you tell                                that   15   trafficked?
16   you were sexually trafficked?                                16      A     Yes.
17      A      You know, I don't know what I told                 17      Q     You didn't tell your parents that you had
18   at the time. I know he asked me and I think I told           18   a lawsuit entitled Jane Doe 102 versus Jeffrey
19   him, but I didn't get into detail with him.                  19   Epstein in 2009?
20      Q      What do you think you told him?                    20      A     I wasn't very close with my parents.
21      A      That I wasn't just massaging these people.         21      Q     Why not?
22      Q      Did you tell him what you were doing with          22      A     We just had a hard relationship.
23   Jeffrey Epstein?                                             23      Q     Why?
24      A      Yes.                                               24      A     Because we did. I don't know why. Some
25      Q      Did you tell                                what   25   people just don't get along.

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 1      Q     Do you get along with your parents now?             1   been through. I think for ten, however long many
 2      A     I get along with my parents now, yes.               2   years, I mean, over ten years, I had tried to start a
 3      Q     Okay. Have you ever told anyone that you            3   new life, become a new person. And I wanted to put
 4   were a sex slave for four years?                             4   all that stuff behind me and not think about it. But
 5      A     Under the assumption that I got my dates            5   after you have children, something changes in you and
 6   wrong, yes, I probably have.                                 6   you just want to stand up and do the right thing and
 7      Q     And that's not true, correct?                       7   protect any other children from having to go through
 8      A     Not because I didn't mean it to be true.            8   this.
 9   Just because I didn't know my dates.                         9      Q     Did you tell your parents how much money
10      Q     So four years is not two years, correct?           10   you received from your settlement with Jeffrey
11            MR. EDWARDS: Object to the form.                   11   Epstein?
12      A     Four years is not two years.                       12       A    No. That is a -- I think there's like a
13      Q     (BY MS. MENNINGER) What did your parents           13   non-disclosure statement. I don't know exactly what
14   say when you told them that you had been sexually           14   the legal term is, but --
15   trafficked by Jeffrey Epstein and Ghislaine Maxwell?        15      Q     Did you send any money to your parents?
16      A     I believe they were disgusted.                     16       A    No, I don't -- no. No, I've never sent
17      Q     What did they tell you to do or to not do?         17   money to my parents.
18      A     I don't remember the exact conversations           18      Q     Who is                           ?
19   that we had, but they weren't happy.                        19       A    One of          shady friends.
20      Q     Were they both on the phone at the same            20      Q     Did you talk to                             about
21   time?                                                       21   your involvement with Jeffrey Epstein?
22      A     No.                                                22       A    No.
23      Q     Who was on the phone first?                        23      Q     Did you ever live with                              ?
24            MR. EDWARDS: Object to the form.                   24       A    No, he used to come over to my house.
25      A     I don't know.                                      25      Q     Between 2000 and 2002 did you ever have

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 1      Q     (BY MS. MENNINGER) You were in Australia            1   any interactions with law enforcement?
 2   at the time, correct?                                        2       A    Yes.
 3      A     Yes.                                                3       Q    When?
 4      Q     They were not?                                      4       A    When I tried to break away from Jeffrey
 5      A     Yes.                                                5   and Ghislaine, I started making myself unavailable.
 6      Q     Have they ever been to see you in                   6   And I got a job at Road House Grill. And Tony used
 7   Australia?                                                   7   to come pick me up in the afternoons, at nighttime,
 8      A     My dad has.                                         8   and he'd sit at the bar. And there's this big cup
 9      Q     Has your mom ever been to see you in                9   that's got tips in it.
10   Australia?                                                  10           I was in the back room. And I had to --
11      A     No, my mom is afraid of flying.                    11   first you have to sign out and you have to take off
12      Q     When did your dad come to see you in               12   your aprons, put your aprons away. And there's a
13   Australia?                                                  13   whole bunch of cleaning up stuff you have to do.
14      A     The birth of my son, my first one in 2006.         14           In that time period, Tony grabbed money
15   And then, I believe in 2010 when my daughter was            15   from a cup that had money in it. That was for the
16   born.                                                       16   bartenders for their tips. My boss called me the
17      Q     And did you have this conversation with            17   next day. He told me that I had stolen the money,
18   your dad about this in person or on the phone?              18   which I hadn't. And I came back and I returned the
19      A     I've had conversations with him about it           19   money after I confronted Tony about it. Gave the
20   since.                                                      20   money back to him and he said, I'm sorry, but it's
21      Q     I'm talking about the first time you had a         21   just law that I have to call the police. So he
22   conversation with your dad.                                 22   called the police.
23      A     On the phone.                                      23           And knowing that Jeffrey has got the Palm
24      Q     What caused you to tell him in 2010?               24   Beach Police Department in his pocket, I went to
25      A     I was just starting to accept what I had           25   Jeffrey Epstein and I told him what had happened.

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 1   And Jeffrey said, Don't worry about it. Let me take              1   never heard anything about it ever again.
 2   care of it for you.                                              2         Q   Did you ever check to see if you had a
 3      Q       Okay. I'm sorry. When did you have                    3   warrant out?
 4   interaction with law enforcement, then?                          4         A   No. Jeffrey told me that he took care of
 5      A     What year?                                              5   it.
 6      Q       Did you speak with a law enforcement                  6         Q   Do you think it's a problem to leave the
 7   officer?                                                         7   country when you have an outstanding warrant?
 8      A     I don't believe I spoke to them. Jeffrey                8             MR. EDWARDS: Object to the form.
 9   handled everything.                                              9   Foundation. Lack of predicate.
10      Q       Okay. And you said that you had finished             10         A   I don't think I have an outstanding
11   your shift at -- this is at the Road House Grill,               11   warrant. Why would I -- do you have a document that
12   correct?                                                        12   says I have an outstanding warrant?
13      A     Correct.                                               13         Q   (BY MS. MENNINGER) I'm just asking you if
14      Q       You had finished your shift?                         14   you believe it's a bad thing to leave the country
15      A     Yeah, it was the end of the shift.                     15   when you have an outstanding warrant?
16      Q       Okay. And you had cleaned up and were                16         A   Absolutely.
17   checking out, correct?                                          17         Q   And you would never assist someone in
18      A     Yeah, it's a completely separate part of               18   doing that, correct?
19   the -- it's like back of the house. Do you know what            19         A   Correct.
20   that means, like in waitering terms?                            20         Q   During the year 2015, have you spoken to
21      Q       (Indicating.)                                        21   law enforcement about any topic other than Ghislaine
22      A     Yeah, back of the house.                               22   Maxwell?
23      Q       And what was -- who was this boss that you           23         A   In 2015?
24   spoke to?                                                       24         Q   Um-hum.
25      A     I can't remember his name.                             25         A   Did I talk to any law enforcement about

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 1      Q    Okay.                                                    1   Ghislaine Maxwell?
 2      A    But, I mean, he was very nice. He didn't                 2         Q   About anything other than Ghislaine
 3   want to but he just had to because it's just the law.            3   Maxwell?
 4   You know, the money was returned to him, but he still            4             MR. EDWARDS: And I would just object at
 5   had to do what he had to do.                                     5   this point in time and instruct the witness not to
 6      Q    You paid him back the money the next day?                6   convey any answers as to who she has or who she has
 7      A    Very next day.                                           7   not disclosed until such time as the Court rules on
 8      Q    And did you ever speak with the Palm Beach               8   the current outstanding motion.
 9   County Sheriff's Office about it?                                9             I know that we have some obligations to
10      A    You know, I don't know if they called me                10   fulfill by the 4th. We intend to do that. And I
11   or not, but I know that since my boss told me he had            11   also recognize we may be back to answer some of these
12   to call the police, I went to Jeffrey. And Jeffrey              12   questions. But for today, she's not going to answer
13   said he'd handle it.                                            13   those questions.
14      Q    How old were you at the time?                           14             MS. MENNINGER: Well, I'm just going to
15      A    I don't know, 18, maybe 19.                             15   ask them and --
16      Q    You weren't a juvenile, were you?                       16             MR. EDWARDS: I understand.
17      A    Well, juvenile being under 18, no.                      17         Q   (BY MS. MENNINGER) Have you spoken to any
18      Q    Is that the only interaction with law                   18   law enforcement in Colorado since the beginning of
19   enforcement that you had between 2000 and 2002?                 19   January 2015?
20      A    Correct.                                                20         A   I can't answer that question right now.
21      Q    Were you, in fact, charged with theft                   21             MR. EDWARDS: Hold on one second. I may
22   based on that case?                                             22   be able to get you an answer to that question. Can I
23      A    No charges were ever brought to me.                     23   take -- can I just take a quick break, and I think I
24      Q    Do you know if they were filed?                         24   can answer that particular question for you?
25      A    No. Jeffrey told me he'd handle it, and I               25             MS. MENNINGER: I'm not asking you to

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 1   answer any questions --                                     1   other terms of his probationary period?
 2          MR. EDWARDS: Fine.                                   2      A      No. He went to everything that he was
 3          MS. MENNINGER: -- Mr. Edwards.                       3   supposed to go to.
 4          MR. EDWARDS: Fine.                                   4      Q      Has he paid his fines?
 5          MS. MENNINGER: I appreciate it, but I'm              5      A      Yes, as far as I know.
 6   asking the witness to answer these questions.               6      Q      Describe for me the contract that you had
 7          MR. EDWARDS: I know, I'm just trying to              7   with the Mail On Sunday?
 8   help you today.                                             8      A      Could you be a little bit more specific?
 9          For today, don't answer the questions.               9   Like --
10          THE DEPONENT: I don't mind explaining.              10      Q      Have you had more than one contract with
11          MR. EDWARDS: I know, but you --                     11   the Mail On Sunday?
12          THE DEPONENT: Okay.                                 12      A      Well, there was one contract for the
13          MR. EDWARDS: I wanted to help.                      13   picture. And that was to pay me 140,000 for the
14          THE DEPONENT: Okay.                                 14   picture. And then two stories were printed after
15      Q    (BY MS. MENNINGER) So have you spoken to           15   that for the amount of 10,000 each.
16   any law enforcement officers in Colorado since             16      Q      Is that the only money that you received
17   January of 2015 until today?                               17   from the Mail On Sunday?
18      A    I am not answering that question.                  18      A      Correct.
19      Q    Have your attorneys spoken to any law              19      Q      Did you receive any money for syndication
20   enforcement officers in Colorado since the beginning       20   of the photograph?
21   of 2015 until today?                                       21      A      Isn't that what the 140 was for?
22      A    I'm not answering that question.                   22      Q      I'm asking you.
23      Q    Have you been living with your husband in          23      A      Well, I don't really know what syndication
24   Australia since October of 2015?                           24   means.
25      A    Yes.                                               25      Q      Did you have a written contract with the
                                                     Page 246                                                           Page 248
 1                                                               1   Mail on Sunday?
                                                                 2      A      Yes.
                                                                 3      Q      Where is that contract right now?
                                                                 4      A      I don't know. I've moved that many times.
                                                                 5   I -- I lose paperwork wherever I go.
                .                                                6      Q      Is it possible it's in the boxes in
 7      Q                                                        7   Sydney?
                                                                 8      A      I don't think I kept it, to be honest.
                                                                 9      Q      Did you ever refer back to it after you
                .                                               10   signed it?
11                                                              11      A      I know I kept it for a short while, but I
                                                                12   mean, like I said, I've moved countries twice in the
                                                                13   last two years and three different houses. So the
                                                                14   paper trail is lost. I don't know where it would be.
15      Q                                                       15      Q      Did you receive it via e-mail?
                                                                16      A      No. I received it -- Sharon Churcher
                                                                17   handed it to me by paper.
                                                                18      Q      And you signed it?
                                                                19      A      I signed it.
                                                                20      Q      And then did you make a copy of it?
                                                                21      A      No.
                                                                22      Q      You never had a copy of it?
                                                                23      A      Well, I had my own copy. I'm sure she has
                                    .                           24   hers.
25                                                              25      Q      Do you recall there being a period of

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 1   exclusivity?                                                        1   who have been interested in it and I still don't know
 2       A       Yes.                                                    2   if I want to do it yet. I mean, I think there's a
 3       Q       What was that period?                                   3   lot more that can go into it, you know.
 4       A       I believe it was like a three-month period              4      Q     You were actively sending the manuscript
 5   or something.                                                       5   to people for purposes of having them reach a deal
 6       Q       Okay. And what other terms of the                       6   with you and publish it, correct?
 7   contract, do you recall?                                            7      A     No deal was ever talked about. What we
 8       A       I couldn't talk to any other news                       8   talked about was the possibility of publishing it, is
 9   publication about the story.                                        9   it publishing-worthy, would I need to get a
10       Q       Anything else?                                         10   ghostwriter. You know, this is the first time I've
11       A       Not that I know of.                                    11   ever written a manuscript so I didn't know what I was
12       Q       Were you happy when the period was up?                 12   doing.
13       A       Well, I mean, at that time I wanted to                 13      Q     Okay. You contacted Jarred Weisfeld,
14   write about my story. So I guess, yes, I was happy                 14   correct?
15   when that period was up.                                           15      A     Correct.
16       Q       And you were actively writing a book at                16      Q     I'm going to mark a document as
17   that time, correct?                                                17   Defendant's Exhibit 16. It is a composite exhibit.
18       A       My manuscript. I've never published it.                18            (Exhibit 16 marked.)
19       Q       You were writing the manuscript at the                 19            MR. EDWARDS: Thank you.
20   time of your period of exclusivity with Sharon                     20      Q     (BY MS. MENNINGER) I'm not going to ask
21   Churcher, correct?                                                 21   you to read every single page of this, but if you
22       A       Those three months were just craziness. I              22   look at the first page.
23   think I started after that.                                        23      A     Um-hum.
24       Q       You think you started writing the book                 24      Q     Can you tell what this is in terms of what
25   after the 90 days were up?                                         25   type of document?

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 1      A        Yeah.                                                   1      A     It's an e-mail from me to Jarred.
 2      Q        And then you attempted to sell that                     2      Q     Okay. And there's also e-mails from
 3   manuscript, correct?                                                3   Jarred to you on the same page, correct?
 4      A        I didn't attempt to sell it. I went to                  4      A     Yes.
 5   other publications, like, what do you call them?                    5      Q     And can you tell -- I just presume that
 6   People -- I'm trying to think of the name of the                    6   you know that you have turned over documents in this
 7   word. People who publish books, not like a newspaper                7   case; is that true?
 8   or anything. And I inquired about what they thought                 8      A     Yes.
 9   of my manuscript and if they thought it was, you                    9      Q     All right. And do you see at the bottom
10   know, a good story. And, yeah.                                     10   it's got your name and some page numbers in the
11      Q        So you sent the manuscript to these people             11   bottom right-hand corner?
12   for the purposes of trying to publish the book,                    12      A     Giuffre 003529?
13   correct?                                                           13      Q     Right.
14      A        Some people, yes.                                      14      A     Yes.
15      Q        And you were trying to get money from the              15      Q     So you understood that your lawyers sought
16   book publication, correct?                                         16   from you e-mails, for example?
17      A        Well, I wasn't going to sell it to them                17      A     Yes.
18   for free.                                                          18      Q     And searched your computer, correct?
19      Q        But you were unsuccessful in finding                   19      A     Correct.
20   someone to publish it, correct?                                    20      Q     And printed out e-mails, correct?
21      A        Well, I was always on the fence with it.               21      A     Yes.
22   I wasn't too sure if I wanted to or didn't want to.                22      Q     And these look like some of the e-mails?
23   I was more seeking judgment based upon these people                23      A     Yes.
24   who have done this plenty and plenty of times.                     24      Q     Okay. Do you have any reason to believe
25           Still to this day, I mean, I've had people                 25   that e-mails produced by your lawyers with your name

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 1   on the e-mail address line are anything other than                 1       A    Yes.
 2   your e-mail?                                                       2            MR. EDWARDS: I object just to the
 3      A     No, they're my e-mails.                                   3   apparent mischaracterization.
 4      Q     Okay. Did anyone else use your e-mail                     4            MS. MENNINGER: Of 2012?
 5   account?                                                           5            MR. EDWARDS: Being the first e-mails.
 6      A     No.                                                       6            MS. MENNINGER: I only meant the first
 7      Q     Okay.                                                     7   pages of this composite exhibit.
 8      A     I mean, well, my husband uses it                          8            MR. EDWARDS: Okay.
 9   sometimes. My kids use it for games.                               9            MS. MENNINGER: But I appreciate your
10      Q     Okay.                                                    10   clarification.
11      A     But that's about it.                                     11            MR. EDWARDS: Okay.
12      Q     So if an e-mail is signed XOXO Jenna --                  12      Q     (BY MS. MENNINGER) The first e-mails of
13      A     Yes.                                                     13   this composite exhibit are dated July of 2012,
14      Q     -- is that you?                                          14   correct?
15      A     Correct.                                                 15       A    Correct.
16      Q     All right. And do you believe anyone else                16            MR. EDWARDS: The first page. As opposed
17   in your family was communicating with                             17   to the first in the chronological timeline.
18                                                                     18            MS. MENNINGER: Yes.
19      A     No, no one else.                                         19            MR. EDWARDS: Okay.
20      Q     All right. What was the purpose of you                   20      Q     (BY MS. MENNINGER) If you flip sort of
21   communicating with Jarred?                                        21   anywhere towards the back, can you also see that
22      A     We were trying to figure out if my book                  22   you -- there are e-mails between yourself and Jarred
23   was -- my manuscript was ever published or                        23   in 2011?
24   publishable. And this was at a time where there was               24       A    Excuse me. And which page?
25   a lot of controversy about what's going on around JE.             25      Q     Really, you can take your pick anywhere

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 1           And when I say JE, I mean Jeffrey Epstein.                 1   from the back of that exhibit?
 2   It was a very scary thing for a lot of publishers to               2       A    Yeah, yeah, I see what you're talking
 3   even consider taking it on because Jeffrey is a very               3   about.
 4   powerful person.                                                   4      Q     Here. Why don't I direct you to the
 5      Q    Did you send your manuscript to Jarred?                    5   bottom right is Giuffre 3563. Now, it's going to be
 6      A    I believe I did.                                           6   a little tricky to find, but it's about eight
 7      Q    All right. Did you ask Jarred to send it                   7   pages -- I'm sorry, six pages from the back of the
 8   on to other people like                                            8   composite exhibit.
 9           MR. EDWARDS: Object to the form.                           9       A    Yes.
10      A    I can't -- I can't recall. I believe I                    10      Q     Do you see on that page an e-mail from
11   met       through Jarred.                                         11   yourself to Jarred from June 7th of 2011?
12      Q    (BY MS. MENNINGER) Okay. I'm going to                     12       A    Yes.
13   ask you to turn -- well, on the first page, the                   13      Q     And in that e-mail you write: Dear Jarred
14   second e-mail says, is Epstein too big for                        14   Weisfeld, We spoke on the phone going back a couple
15          Does that refresh your recollection that                   15   months regarding the story I am writing called, The
16   Jarred and          had something to do with one another?         16   Billionaires Playboy Club.
17      A    Yes.                                                      17            Right?
18      Q    Okay. And on the second page in the                       18       A    Correct.
19   middle of the page, just to be clear, is that an                  19      Q     I am no longer under any contract and
20   indication that,           definitely does not want the           20   would like to ask you to review my synopsis and if
21   book, XOXO Jenna.                                                 21   you are interested I would love for you to represent
22          Is that what you wrote?                                    22   me as my literary agent.
23      A    Yes.                                                      23            Correct?
24      Q    And these first e-mails are in 2000 --                    24       A    Correct.
25   July of 2012, correct?                                            25      Q     I've included some of the press that has

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 1   covered the ongoing case of Jeffrey Epstein, the                  1   one? All right.
 2   world's richest pedophile. And my good friend and                 2             MR. EDWARDS: What are we on now, 17?
 3   journalist Sharon Churcher has a few from her                     3             MS. MENNINGER: 17.
 4   articles that she has written to send to you as well.             4             (Exhibit 17 marked.)
 5          Correct?                                                   5         Q   (BY MS. MENNINGER) Very similarly, can
 6      A       Correct.                                               6   you take a look at this exhibit? It is a composite
 7      Q       I am very serious about getting my book                7   of documents produced by your attorneys with various
 8   published and believe this story will cover many                  8   Bates ranges, Bates numbers in between Giuffre 2750
 9   genres of interest, not only by those following the               9   and 3928.
10   lengthy case, but it is also a woman's story of                  10         A   2750 and --
11   glitz, glamour, sorrow, compassion, and true love. I             11         Q   I think -- I think the last page is 3927,
12   hope you enjoy.                                                  12   but it does not contain all of -- I'm sorry, 3928.
13          Correct?                                                  13   But it does not contain all of the pages in between,
14      A       Correct.                                              14   just to let you know.
15      Q       Signed, yourself?                                     15         A   Okay. Is there one specific that you want
16      A       Yes.                                                  16   me to look at?
17      Q       So in about June you sent to Jarred                   17         Q   No, if you can just take a look at the
18   Weisfeld a synopsis and were asking him to represent             18   first page.
19   you as your literary agent to sell the book, correct?            19         A   Okay.
20      A       Yes.                                                  20         Q   And tell me if you know who this person
21      Q       And you characterized Sharon Churcher as              21   is?
22   your good friend, correct?                                       22         A   Paulo Silva is somebody who works for the
23      A       Well, at that time -- you have to                     23   Mail On Sunday. And he was the one in charge of
24   understand, Jarred and Sharon are very close. Sharon             24   paying me.
25   is the one who introduced me to Jarred. And that's               25         Q   Paying you for what?

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 1   just being nice.                                                  1         A   The 140 plus the 10 and the 10.
 2      Q       Do you disagree that Sharon Churcher was               2         Q   Okay. And did he also pay you on an
 3   your good friend at that time?                                    3   ongoing basis for further sales of the photograph of
 4      A       Well, at that time I did trust her a lot               4   yourself and                      ?
 5   more than what I do now.                                          5         A   No, it was a set fee of 140 plus the 10
 6      Q       Why did you change your opinion of Sharon              6   and 10. But they broke it up for some reason. So as
 7   Churcher?                                                         7   you can see here, Thanks for transferring the money.
 8      A       You know, I -- I just -- I think -- I                  8   I will let you know when it reaches my bank account
 9   think talking to some journalists can be very                     9   but just a little bit confused as I have a previous
10   dangerous, especially sometimes how words can get                10   e-mail with the amount owed at 4100. Is there still
11   taken out of context. And I'm not saying that she's              11   an outstanding amount yet to be paid.
12   a bad person. I'm just saying that just, I wouldn't              12             So they broke it up into quite a lot of
13   call her up and ask her what she's cooking for dinner            13   different fractions but it still equaled the 140 plus
14   tonight or how the family is doing.                              14   the 10 and the 10.
15      Q       Did you ever introduce her to your hair               15         Q   Okay. If I could ask you to flip back to
16   stylist?                                                         16   Giuffre 2758. They're in sequential order, so it
17      A       No.                                                   17   should be about eight pages back.
18      Q       All right.                                            18         A   Yes.
19      A       Oh, actually, yes, I did. She did get a               19         Q   All right. Do you see -- do you see that
20   haircut where I was at.                                          20   that's an e-mail from Paulo Silva to your e-mail
21      Q       All right.                                            21   account?
22           MS. MENNINGER: So if I could have the                    22         A   Yes.
23   e-mails with Paulo Silva, please. I'm going to mark              23         Q   On or about March 28th, 2011?
24   these Defendant's Exhibit -- 18 -- 17.                           24         A   Yes.
25           Oh, I don't know if that's -- is that just               25         Q   All right. And it appears to be his

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 1   introductory e-mail to you. Is that a fair                        1   what the terms of your agreement were with this
 2   characterization of it?                                           2   syndication, Solo Syndication?
 3      A    It would be hard to say. Like, I'd have                   3      A    Well, like you said, it looks like half
 4   to look at the first one. That's June 24th. This is               4   of --
 5   March 28th. I suppose so, if he's introducing                     5           In regards to your image with
 6   himself as Paulo Silva.                                           6              I can confirm we've been able to sell it
 7      Q    All right. And in this e-mail he                          7   quite frequently over the last few weeks. So far
 8   introduces himself by name and tells you that he                  8   we've been able to sell it to the following clients.
 9   works for Solo Syndication and represents they are                9   It lists names.
10   the official syndication agency for Daily Mail and               10           So far the total sales, as of last Friday,
11   Mail On Sunday and that he's been overseeing the                 11   is the number listed there.
12   syndication of your image, correct?                              12           Therefore, your share is 4,487.
13      A    Correct.                                                 13      Q    So let me be clear. I guess I'm asking,
14      Q    All right. And then he tells you that                    14   do -- do you recall what your deal was with Solo
15   with regard to your image with                         he can    15   Syndication?
16   confirm that they've been able to sell it frequently             16      A    No, I do not recall it. I just remember
17   over the last couple of weeks. And he listed the                 17   Sharon writing up the contract saying 140 plus the 10
18   names of various news agencies to whom they had sold             18   and the 10. I completely forgot about the
19   the image, correct?                                              19   syndication for $4,000 and 487 cents (sic).
20      A    Correct.                                                 20      Q    Okay. I'm going to ask you to turn back
21      Q    And then he tells you what the sales were                21   to 2754.
22   as of last Friday and then what your share of it is,             22      A    2754?
23   correct?                                                         23      Q    Correct.
24      A    Correct.                                                 24      A    Okay.
25      Q    And your share of it was approximately                   25      Q    And it's a document with the heading Solo

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 1   half of whatever the sales were, correct?                         1   Syndication Limited. Is that the right page you're
 2      A     Yes, it looks that way.                                  2   on?
 3      Q     All right. And so then he gave you their                 3      A    Yes.
 4   general payment terms, correct?                                   4      Q    Dated May 23rd, 2011, correct?
 5      A     (Deponent perused document.)                             5      A    Yes.
 6           Yes. Yep.                                                 6      Q    All right. And there's some handwriting
 7      Q     And is that syndication deal separate and                7   in the middle of the page towards the bottom.
 8   apart from your deal with the Mail On Sunday to get               8      A    Not my handwriting.
 9   paid for the stories and a chunk --                               9      Q    It's not your handwriting?
10      A     Yes.                                                    10      A    No.
11      Q     -- for the image?                                       11      Q    Do you know whose it is?
12      A     So I will have to correct my previous                   12      A    No.
13   statement.                                                       13      Q    All right.
14      Q     Okay.                                                   14      A    I don't even know what it says. Does it
15      A     So I forgot completely about the fact that              15   say Chai canceled and something mode? I have no idea
16   I received 4,487.50 for -- for the pictures that got             16   what it even says.
17   sold.                                                            17      Q    Okay. And it's not your handwriting?
18      Q     And is it possible it was sold some more                18      A    No.
19   after this date, for which you received some money,              19      Q    It was produced by your attorneys,
20   correct?                                                         20   correct?
21      A     I don't believe so. I -- I didn't even                  21      A    I'm sorry?
22   remember this one, to be honest. So if there's any               22      Q    It was produced to us by your attorneys,
23   others that you can show me, I'd be happy to look at             23   correct?
24   them.                                                            24      A    Yes. They went through and gave you guys
25      Q     Well, I'm just asking you if you remember               25   everything you asked for.

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 1      Q       All right. Since these e-mails come from               1   backwards.
 2   your e-mail address to and from Paulo Silva, do you               2      Q    Right. So if an e-mail is responding to
 3   have any reason to doubt that they are your e-mails?              3   May 25th, is it more or less likely that it was
 4      A       I have no reason to doubt.                             4   written on June 5th or May 6th?
 5      Q       All right. Do you recall a Sandra White?               5          MR. EDWARDS: Object to the form.
 6      A       Yes. She was a possible ghostwriter that               6      A    I would say May 6th.
 7   I was going to use. Sharon recommended that I got a               7      Q    (BY MS. MENNINGER) So when responded to a
 8   ghostwriter to be involved. And we nearly settled on              8   May 25th --
 9   some kind of agreement, but I wasn't really happy                 9      A    Oh, no, you're right. No, I'm sorry, I'm
10   with the agreement in the end, so I decided not to               10   going backwards because it's going up, isn't it?
11   use her.                                                         11   Okay. Yes.
12      Q       You weren't happy with the terms of her               12      Q    All right.
13   price, if you will?                                              13      A    I'm confused, too.
14      A       Yes.                                                  14      Q    Anyway. In the last e-mail it says: I'm
15      Q       And so you didn't come to an agreement                15   very sad we won't be able to work together as I've
16   with her, correct?                                               16   been very excited about the project. As you know, I
17      A       We nearly did, but we in the end did not.             17   do not sell synopsis or individual chapters, and
18      Q       All right. If I can show you Defendant's              18   especially not for those amounts. I'm merely
19   Exhibit -- whew -- 18.                                           19   intrigued about where you were getting advice from.
20          MR. EDWARDS: You did kill a tree there.                   20   Rest assured what we have worked on is confidential.
21      Q       (BY MS. MENNINGER) Take a look at that.               21   If you change your mind, let me know.
22          (Exhibit 18 marked.)                                      22          So that was around June 5th?
23          THE DEPONENT: So put this one away?                       23      A    2011.
24          MR. EDWARDS: Put these in some sort of                    24      Q    2011, right?
25   order. They don't have to be perfect, but just so                25      A    Yes.

                                                           Page 266                                                           Page 268
 1   you know what you're looking at.                                  1      Q     All right. So you had been trying to
 2          This is 18?                                                2   reach an agreement with Sandra White prior to
 3      Q       (BY MS. MENNINGER) All right. Again, do                3   June 5th?
 4   you recognize that the e-mail address --                          4      A     Correct.
 5      A       Is mine.                                               5      Q     And were unable to do so?
 6      Q       -- is yours and it's from and to Sandra                6      A     Yes.
 7   White, correct?                                                   7      Q     And not that you need to read every page,
 8      A       Correct.                                               8   but is it fair to say that you exchanged some
 9      Q       And the date is in or around May 25th,                 9   portions of your synopsis with Sandra during the
10   June 5th, something like that?                                   10   course of your interactions with her?
11      A       It's Australian so it's backwards. So                 11      A     Yes. And she rewrote some portion of it
12   it's the 6th of May, 2011.                                       12   as well, which I don't even know, it might be in
13      Q       Well, I would have thought that except the            13   here. It might not be in here. I don't know what
14   bottom e-mail is May 24th, the middle one is May 25th            14   I've kept or not kept.
15   and then the most recent one says 6/5. So I don't --             15      Q     Okay. And did you get advice from Sharon
16   I don't know. I didn't write the document.                       16   Churcher with respect to the terms upon which you
17      A       Yeah.                                                 17   should be looking for the ghostwriting agreement?
18      Q       But I'm asking if you believe it was in or            18      A     Sharon is the one who introduced me to
19   around the end of May?                                           19   Sandra. I can't remember who was giving me the
20      A       The only reason I can tell you that is                20   advice. It's going back so long ago, you know, I
21   because if you look here, 24/5/11 is the way that we             21   don't want to pinpoint somebody and say it was
22   actually do our dates in Australia, whereas in                   22   definitely them if it wasn't.
23   America you would do 5/24/11.                                    23           So, yeah, I'm just not going to comment on
24          So right here where it's written makes it                 24   that one without knowing.
25   nice and clear but just to be clear, the dates are               25      Q     Okay. You probably have e-mails, though,

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 1   do you think, perhaps?                                          1      A     Thank you.
 2         A   I haven't seen these e-mails since 2011.              2           So it cuts off after that, does it?
 3   So --                                                           3      Q     Um-hum.
 4         Q   Okay. I'm going to show you Defendant's               4      A     Oh, sorry. (Pause.)
 5   Exhibit 19.                                                     5           Yep, I've read it.
 6             (Exhibit 19 marked.)                                  6      Q     All right. Do you remember that e-mail
 7         Q   (BY MS. MENNINGER) Who is Marianne                    7   now?
 8   Strong?                                                         8      A     It's going back a long time ago, but it's
 9         A   She's my literary agent.                              9   definitely my kind of writing.
10         Q   All right. And can you identify                      10      Q     Okay. So in the -- on the bottom of the
11   Defendant's Exhibit 19?                                        11   first page, 3417 --
12         A   I'm sorry?                                           12      A     Um-hum.
13         Q   Can you identify what Defendant's                    13      Q     -- you represented to Marianne Strong that
14   Exhibit 19 is?                                                 14   you had served four years as Jeffrey Epstein's
15         A   Defendant's Exhibit 19, like the number at           15   personal and abused sex slave, correct?
16   the bottom?                                                    16      A     Correct.
17         Q   No, do you know what kind of document this           17      Q     That is not true, correct?
18   is?                                                            18      A     Since we have now found out the actual
19         A   Oh, it's an e-mail from me to Marianne               19   dates, it is not correct.
20   Strong.                                                        20      Q     Okay. I want to turn the page, the second
21         Q   All right. And at roughly what time                  21   page. On the first line, the first full sentence
22   frame?                                                         22   that begins on the first line:
23         A   February 20th, 2014.                                 23           Even though there is over 40 women that
24         Q   All right. And what were you speaking                24   were once vulnerable girls that looked like the sweet
25   with Marianne or writing with Marianne Strong about?           25   girl next door but now that they have been taken

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 1         A    Can I just read it real quick and I'll               1   advantage of by this disgusting Wall Street tyrant,
 2   tell you?                                                       2   most of them have led a very unhealthy lifestyle
 3         Q    Sure.                                                3   since having served Jeffrey, such as drug addictions
 4             (Pause.)                                              4   and prostitution and do not hold accreditation to
 5         A    Sure.                                                5   talk.
 6         Q    Do you remember now the topic upon which             6           You wrote that, correct?
 7   you and Marianne Strong were exchanging                         7      A    Correct.
 8   communication?                                                  8      Q    Who are the 40 women that you are talking
 9         A    I don't recall talking about                         9   about here?
10                                                                  10      A    When I spoke to the FBI, they told me that
11                      . I don't know who Emily is. But I          11   there were -- and this is maybe just a guesstimate,
12   do understand what she's saying. If I win, then my             12   maybe there was more, maybe there was less that they
13   story would be a much better story to write.                   13   said. But they had told me that there was a lot of
14         Q    And what case was she referring to, if you          14   other victims involved in this case. And this is
15   know?                                                          15   when I believed that after the FBI came to see me
16         A    I think this was regarding probably the             16   that they were willing to reopen the case and do
17   time when I was in -- trying to get involved with the          17   something about it.
18   CVRA case.                                                     18      Q    Okay. So the FBI is the one that told you
19         Q    In February of 2014?                                19   that there were 40 women?
20         A    Correct.                                            20      A    It could be less than 40. It could be
21         Q    Okay. And at the bottom of the page                 21   more than 40. I think I just summed it up to 40.
22   there's an e-mail from you to her, correct?                    22      Q    You came up with 40?
23         A    I haven't read that part yet. Give me one           23      A    Well, I didn't just come out with 40. I
24   moment.                                                        24   think it was around that number. It could be 46. It
25         Q    Yeah.                                               25   could be 39. I'm not too sure to be exact.

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 1      Q      All right. But you based it on --                  1   the assumption that the case was being reopened, that
 2      A      On my speaking --                                  2   they still were investigating.
 3      Q      -- what?                                           3         Q   Okay. Did you believe that the FBI had
 4      A      -- with the FBI.                                   4   reopened their case in 2011?
 5      Q      Okay. And --                                       5         A   I believe that's when they first started
 6             MR. EDWARDS: Just let her finish her               6   to reinvestigate and reopen it.
 7   question before you answer.                                  7         Q   And then sometime when you were in Florida
 8             THE DEPONENT: Okay.                                8   Jason Richards told you that they were not actually
 9             MR. EDWARDS: I just want the record                9   going to continue investigating the case?
10   clear.                                                      10         A   I believe I was in Florida, yes. And he
11      Q      (BY MS. MENNINGER) Who at the FBI did you 11           didn't say that -- he just said his hands were tied
12   speak with?                                                 12   and up above, I don't know, chain of command, it
13      A      I can't think of his name. I spoke to --          13   just -- it didn't look like it was going anywhere.
14   oh, God, I can't even think of his name right now. I        14   There was no definite no and a definite yes. It was
15   spoke to a male and a female. And I also spoke to           15   just, right now there's really nothing that we can
16   Marie Villafana about everything that was happening.        16   do.
17      Q      Is it Jason Richards?                             17         Q   All right. In the third paragraph from
18      A      Jason Richards, yes.                              18   the top, you said there's another major paper that
19      Q      Did Jason Richards tell you that the FBI          19   has followed the story for a while that has worked
20   was reopening their case?                                   20   with me before and they were asking you for the
21      A      He wanted to reopen the case. And the             21   exclusive story but updated and obviously the end
22   last conversation that I had with him, I can't              22   outcome from the judicial decision.
23   remember when it was, he said that he was having            23             Who was the other major paper that had
24   trouble doing it from the people above him.                 24   followed the story for a while and was asking you for
25      Q      Okay. When was that?                              25   an exclusive story?

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 1      A      Like I said, I don't know.                         1         A   That would -- that, just coming to mind
 2      Q      Was it like a year ago or two years ago or         2   must be the Daily Mail. If I said I've worked with
 3   three years ago?                                             3   them before, the only other -- the only other, what
 4      A      I don't remember the last time I talked to         4   do you call them, press, that I had worked with was
 5   him. I think I was in Florida the last time I spoke          5   the Daily Mail, so --
 6   to him.                                                      6         Q   Okay. But you said you had held out on
 7      Q      And was that on the phone or in person?            7   them because Marianne had told you about her contact
 8      A      On the phone.                                      8   with Emily at the New York City Post, right?
 9      Q      Hmm?                                               9         A   I have held out because you told me about
10      A      On the phone.                                     10   your contact with Emily with the New York Post, and I
11      Q      On the phone. Where was he located, if            11   appreciate you trying to make big headlines for the
12   you know, when you spoke to him?                            12   story and hopefully one day the book. Yes.
13      A      I don't know.                                     13         Q   Okay. And then the last line of that
14      Q      Do you have his phone number?                     14   paragraph you say: I would also like to know that
15      A      I have his card somewhere. Probably not           15   I'm going to profit from this as well, correct?
16   on me anymore. Like I told you, my paper trail is           16         A   Correct. I'm not going to give it for
17   (indicating).                                               17   free.
18      Q      Okay. So in the fourth line you say:              18         Q   Right. All right.
19   Miraculously since I came to light with the truth in        19             (Exhibit 20 marked.)
20   speaking out against him in 2011, the FBI have              20             MS. MENNINGER: Defendant's Exhibit 20.
21   reopened the case. Which as you know, has current 21                   Q   (BY MS. MENNINGER) Do you recognize these
22   proceedings in which I am involved in.                      22   documents -- this document, which is another
23             So what current proceeding were you               23   composite exhibit?
24   involved in on February 19th, 2014?                         24         A   Yes.
25      A      Well, just speaking with the FBI, I was in        25         Q   Do you recognize it?

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 1       A     Oh, like I said, I don't recognize it, but             1      Q     Right.
 2   it obviously comes from --                                       2       A    But anything they had of me.
 3      Q      Your e-mail address?                                   3      Q     And Brad Edwards, who is sitting right
 4       A     Yes.                                                   4   here, was your attorney at the time and you
 5      Q      Now, what e-mail address is that, exactly,             5   identified him as such in the e-mail, correct?
 6   on the first page of this exhibit?                               6       A    Correct.
 7       A     @icloud.com, that must be from a phone.                7      Q     You did not identify Mr. -- Judge Cassell
 8      Q      So that's different from the other e-mail              8   as your attorney in this e-mail, correct?
 9   address?                                                         9       A    I knew him as a former judge, and I just
10       A     Yeah, I don't actually know about that                10   wrote down, Judge Paul Cassal (sic) as it looks. But
11   e-mail address. I obviously used it.                            11   he was my attorney -- I don't know if he was my
                                                                     12   attorney at that time. But yes -- he's always --
13      Q      And is the e-mail signed by your husband?             13   he's been with me since the beginning, so --
14       A     No, it's signed by me.                                14      Q     So he's representing you in this case now,
15      Q      Okay. And in the subject line you wrote               15   correct?
16   Virginia Roberts (Jane Doe 102), correct?                       16       A    Yes.
17       A     Subject line?                                         17      Q     But at that time you don't know if he was
18      Q      The very top line of that page.                       18   your attorney?
19       A     Oh, yeah, I see.                                      19       A    I think he was. I mean, I've been talking
20      Q      Okay. And it was to                                   20   with him since the beginning. And this is dated
21   jason.richards2@ic.fbi.gov, correct?                            21   2014. So I believe at this time he was my attorney
22       A     Correct.                                              22   at the time as well.
23      Q      And is that Jason Richards we were just               23      Q     Okay. When do you recall first speaking
24   referring to?                                                   24   with him?
25       A     Yes.                                                  25       A    Speaking with Paul, I'm not too sure. I

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 1      Q     All right. And you had some e-mails with                1   can't remember if I spoke to Paul in the phone in
 2   Jason Richards over time; is that fair?                          2   Australia or if I met him in person in Florida.
 3      A     Sure.                                                   3      Q    Do you remember when you signed any kind
 4      Q     These ones that came from your computer,                4   of fee agreement with him?
 5   right?                                                           5           MR. EDWARDS: Object to the form.
 6      A     Sure, yes.                                              6      A    Um, the -- well, the first time I would
 7      Q     Okay. You talk about having spoken with                 7   have signed an agreement would have been in Florida.
 8   Judge Paul Cassell in this first page, correct?                  8      Q    (BY MS. MENNINGER) When you were living
 9      A     I am here to get this BS non-prosecution                9   in Titusville?
10   agreement thrown out and speaking with Judge Paul               10      A    As far as my knowledge reminds me. I
11   Cassal (sic). He suggested trying to get ahold of               11   mean, I'm looking at e-mails that I can't even
12   any photos or video recordings released by the FBI to           12   remember sending. It's a possibility I could have
13   assist our case further in providing (sic) how much             13   signed earlier, but as far as I remember.
14   pedophilia occurred by Jeffrey and the many other               14      Q    Okay. Do you recall ever having e-mail
15   monsters he obliged with underage girls.                        15   communications with Sharon Churcher about her
16      Q     Okay.                                                  16   publishing the first serial of your book?
17      A     If this is a possibility, please let me                17      A    Serial, what does that mean? I'm sorry.
18   know so I can give you Brad Edwards (my attorney) his           18      Q    Like a sequel.
19   contact details. Many thanks for your time and I                19      A    A sequel to my book?
20   hope we should meet again.                                      20      Q    Um-hum.
21      Q     Okay. And so you were going back to Jason              21      A    My book has never been published.
22   and trying to get any evidence that the FBI had about           22      Q    Right. Do you remember ever e-mailing
23   your case, right?                                               23   with Sharon about her being the one who would publish
24      A     Correct. Any photographs pertaining to                 24   any subsequent follow-up book?
25   what -- myself, not of anyone else.                             25      A    If you have something in front of you to

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 1   see and show me I would look at it. Like I said,                 1   family?
 2   there's a million e-mails here. I mean, there's a                2      A      We've been doing well.
 3   whole dead tree with e-mails I don't remember                    3      Q      You've been doing well?
 4   sending. So --                                                   4      A      Yes.
 5      Q      So you don't remember that e-mail chain,               5      Q      What is your source of income right now?
 6   as you sit here?                                                 6      A      My husband is the main income -- he's the
 7      A      Yes.                                                   7   breadwinner and I'm a stay-at-home mom.
 8      Q      Okay. You have signed contingency fee                  8      Q      And what is his job?
 9   agreements with Boies, Schiller, correct?                        9      A
10      A      Yes.
11      Q      You've signed contingency fees with                                               .
12   Mr. Cassell, correct?                                           12      Q      And how long has he had that job?
13      A      Correct.                                              13      A      He got that job, I believe, in December or
14      Q      Mr. Edwards and his firm?                             14   January. December 2015 or January 2016. I know he
15      A      Correct.                                              15   got the job and then we had to go through all these
16      Q      Stan Pottinger; is that correct?                      16   preliminary tests and everything to make sure you
17      A      Correct.                                              17   qualify. So --
18      Q      And pursuant to those fee agreements you              18      Q      And what is the last paid employment that
19   understand that you would get a recovery of any money           19   you had?
20   that you won in this case, correct?                             20      A      The last paid employment that I had was --
21      A      Correct.                                              21   there was that -- do you remember going back through
22      Q      And what percent is that?                             22   the e-mails where I had that resume and I sent it and
23      A      I don't know off the top of my head. I                23   they said, What time do you want to come for an
24   think it's 40 percent. I'm not too sure, to be                  24   interview?
25   honest.                                                         25           I ended up getting the job there for two

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 1      Q      Do you remember having any conversations               1   days because the place was disgusting and the boss
 2   with                     about money that you hoped to           2   was just horrible.
 3   obtain from this case or from any other source                   3           I didn't get paid from them, but I got
 4   related to this?                                                 4   employed by them. And other than that, the last time
 5      A      I remember talking to                     as a         5   I worked was in -- ended in 2006 for ET Australia.
 6   girlfriend telling her what cases I was involved                 6      Q      Did you quit that job after two days
 7   with. I don't believe we ever spoke about any                    7   because the place was disgusting?
 8   monetary settlements. There was no number that was               8      A      It was vile. Okay. They had the -- the
 9   ever mentioned. I told her that I was involved in                9   whole place was closed down. The restaurant was
10   these cases. And, you know, it was just girlfriend              10   closed down for a period of, like, six months. And
11   talk between girlfriends. I never expected her to               11   he wanted me to go into this freezer area that had a
12   turn around and consort with the enemy.                         12   dead rat in it and like this thick (indicating) layer
13      Q      Well, it's fair to say you do hope to make            13   of mold at the bottom. And he wanted me to clean it.
14   money from bringing this lawsuit, correct?                      14      Q      All right.
15             MR. EDWARDS: Form.                                    15      A      And I was just like, No.
16      A      I hope to win, but that's not the only                16      Q      Just checking, did you quit or did he fire
17   reason I want to win. I want to see justice come                17   you?
18   through.                                                        18      A      No, I definitely walked out of that one,
19      Q      (BY MS. MENNINGER) Is money one of the                19   hands up.
20   reasons you want to win?                                        20      Q      Okay. I'm going to do one more document I
21             MR. EDWARDS: Same objection.                          21   have, quickly.
22      A      More than the money, I want to see                    22           (Exhibit 21 marked.)
23   Ghislaine and Jeffrey own up to what they have done             23      Q      (BY MS. MENNINGER) I'll show you
24   and pay for the price, yes.                                     24   Defendant's Exhibit 21, another composite exhibit.
25      Q      (BY MS. MENNINGER) Is money tight in your             25   Do you recognize the to and froms on this e-mail?

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 1         A   To Sharon Churcher from myself, yes.                   1   Supposedly JE purchased her at age 14 from her
 2         Q   And this is the Sharon Churcher from Mail              2   family.
 3   On Sunday we were discussing earlier?                            3      Q       Okay. And then you asked her to call to
 4         A   That's correct.                                        4   discuss that, correct?
 5         Q   And these are from February of 2011,                   5      A       I tried to call. The line was busy.
 6   correct?                                                         6   Could you call concerning the question you asked?
 7         A   Yes.                                                   7      Q       Right.
 8         Q   Okay.                                                  8      A       Yes.
 9         A   I mean, it's just assuming that we're not              9      Q       All right. Defendant's Exhibit 22.
10   looking at Australian backwards dates.                          10             (Exhibit 22 marked.)
11         Q   Okay. Well, a few pages back, where it                11             THE DEPONENT: Thank you.
12   says 2/19/2011.                                                 12      Q       (BY MS. MENNINGER) Okay. Do you
13         A   Oh, yeah, yeah.                                       13   recognize these series of e-mails?
14         Q   All right. If I could direct your                     14      A       So far. I mean, it's definitely from me
15   attention to one of the pages, it's 3676 in the lower           15   to her. Or actually, Michael Thomas is the
16   right-hand corner.                                              16   photographer that worked with her, just to be clear.
17         A   3676.                                                 17      Q       And is she one of the two -- the
18         Q   Now, these are in sequential order.                   18   recipients of the first-page e-mail? You and she
19   They're not in Bates stamp order so you might have to           19   received an e-mail from Michael Thomas; is that
20   look at the dates on the top to find one that's                 20   right?
21   February 19th of 2011.                                          21      A       Yes.
22             THE DEPONENT: Do you know which page it               22      Q       Okay.
23   is?                                                             23             MR. EDWARDS: I think she wants you to
24             MR. EDWARDS: Well --                                  24   look and make sure you recognize them.
25             MS. MENNINGER: It's almost in the middle.             25      Q       (BY MS. MENNINGER) Yeah, do you recognize

                                                          Page 286                                                             Page 288
 1             MR. EDWARDS: It's like what she's saying               1   the document, the e-mails?
 2   is that --                                                       2      A      Like I said, these are back in 2011, but
 3             MS. MENNINGER: If you look at the date at              3   it's from my e-mail address. I recognize that. I
 4   the top --                                                       4   recognize Sharon's name and I recognize Michael
 5             MR. EDWARDS: If you look at the top it                 5   Thomas.
 6   says 2/19/2011. That's not it. It's like half a                  6      Q      Do you have any reason to doubt that the
 7   page. Keep going.                                                7   e-mails from March of 2011 --
 8         A   2/13, 2/17, 2/18, 2/19 -- 2/19/2011.                   8      A      I don't have any --
 9         Q   (BY MS. MENNINGER) If it says 3676 in the              9      Q      -- from yourself and Ms. Churcher are
10   lower right-hand corner?                                        10   accurately reflected from the documents taken from
11         A   Yes.                                                  11   your computer here?
12         Q   Okay. Is that an e-mail that you sent to              12      A      I have no reason to doubt that.
13   Sharon Churcher in response to an e-mail that Sharon 13                 Q      Okay.
14   Churcher sent to you?                                           14             (Exhibit 23 marked.)
15         A   To Sharon Churcher from Jenna, Subject                15      Q      (BY MS. MENNINGER) Defendant's
16   R-E, received, yes.                                             16   Exhibit 23. Again, e-mails between your e-mail
17             I tried to call the line was busy. Could              17   address and Sharon Churcher from May of 2011.
18   you call concerning the question you asked?                     18             Do you recognize your e-mail address?
19         Q   All right. And that was in response to an             19      A      Yes.
20   e-mail just below it you received from Sharon                   20      Q      And Sharon Churcher's e-mail address?
21   Churcher, correct?                                              21      A      Yes.
22         A   Yes.                                                  22      Q      And you're signing your e-mails to her,
23         Q   And what did Sharon Churcher write to you             23   Much love, XOXO Jenna. And she's signing her e-mails
24   on February 19th of 2011?                                       24   to you, Love Shaza, correct?
25         A   Do you know a                       ?                 25      A      Correct.

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 1      Q     And Shaza is a name that you call her?                   1   phrase sex trafficked as that is a heads up about the
 2      A     In Australia we kind of shorten the names                2   book revealing more than be printed.
 3   of people and put z-a on the end, so yes.                         3      Q    All right. So is Sharon Churcher writing
 4      Q     So she became Shaza?                                     4   to you about -- actually, it's cc'd to Brad, correct?
 5      A     She became Shaza, correct.                               5      A    Yes.
 6      Q     And do you recall having e-mail                          6      Q    And I only use Brad, not his last name
 7   communications with her in which you referred to her              7   because it's brad@pathtojustice.com, correct?
 8   as Shaza and --                                                   8      A    Yes.
 9      A     Yes.                                                     9      Q    All right. And that's Brad Edwards, who
10      Q     -- she referred to herself as Shaza?                    10   is sitting here, right?
11      A     She's the same person we're talking about,              11      A    Yes.
12   yes.                                                             12      Q    All right. And so in the e-mail from
13      Q     All right. So it's coming from her e-mail               13   Sharon Churcher to you regarding whether or not you
14   address as Sharon Churcher, right?                               14   should let Vanity Fair buy your picture, she's also
15      A     Yes.                                                    15   recommending in the last line that you should have
16      Q     All right. And I think the last --                      16   Brad use the phrase sex trafficked, correct?
17           MR. EDWARDS: Are you at a stopping point?                17      A    If a statement is made, yes. I don't
18           MS. MENNINGER: Almost.                                   18   think Vanity Fair ever did, anyway.
19           MR. EDWARDS: Okay. Okay. I just have to                  19      Q    And the picture that they're talking about
20   a make a quick call, but I can wait a while so --                20   there is the one with                   , correct?
21           MS. MENNINGER: I understand. Almost                      21      A    That's -- yeah, the big one.
22   done.                                                            22      Q    The one that was previously sold?
23           MR. EDWARDS: Okay.                                       23      A    Yes.
24           (Exhibit 24 marked.)                                     24      Q    And Paulo Silva was syndicating that one,
25      Q     (BY MS. MENNINGER) This is Exhibit 24,                  25   correct?

                                                           Page 290                                                         Page 292
 1   e-mails between yourself and Sharon Churcher from                 1      A    Yes. Yeah.
 2   June of 2011?                                                     2      Q    And on that second page there's a
 3      A    Um-hum. Yes, sorry.                                       3   redaction. Who is -- who is in that redaction?
 4      Q    And, again, Shaza and Jenna, Shaza, Jenna,                4      A    I have no idea.
 5   Jenna, Shaza, right?                                              5      Q    You don't know?
 6      A    Yes.                                                      6      A    No, I don't know.
 7      Q    And at the bottom of this first page, is                  7      Q    So who are the two world's most respected
 8   Sharon Churcher giving you advice regarding the                   8   politicians?                    and who?
 9   purchase by Vanity Fair                                           9      A    I don't know.
10                                                                    10      Q    Do you recall ever telling Sharon Churcher
11      A    May I have time to read it, please?                      11   that you were trafficked to two of the world's most
12      Q    Please.                                                  12   respected politicians,                    and somebody
13      A    Are we talking about the very bottom one                 13   else?
14   or the one in the kind of middle bottom?                         14           MR. EDWARDS: Object to form.
15      Q    The very bottom one.                                     15      A    Is that her wording? This is from her.
16      A    I would let VF buy your picture via Brad.                16   So this is her wording.
17   The big gamble would be to let him also give them a              17      Q    (BY MS. MENNINGER) Right.
18   statement.                                                       18      A    If she considered them to be the world's
19      Q    Right.                                                   19   most respected politicians, that would be her
20      A    (Deponent perused document, sotto voce.)                 20   opinion, not mine.
21           The reason this is a gamble is Jeffrey                   21      Q    Okay. But you received this e-mail and
22   knows some of the most powerful people in publishing             22   responded to it, correct?
23   and, once altered, will inevitably try to scare off              23      A    Is the top one above that what I responded
24   potential buyers. But the upside is it should help               24   to? Sorry. It just confuses me because it goes
25   you get a good agent. I would have Brad use the                  25   upwards, doesn't it, not downwards. We're not

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 1   reading chronologically down, are we?                            1   case. How fantastic, Jenna! Have you asked him how
 2      Q      You can probably look at the dates and                 2   he'd feel about reviving your book? It would be an
 3   figure it out. I need you to do that, not me?                    3   incredible shame if the other project lifts your
 4      A      Okay the 30th of the fifth, 31st of the                4   story, which it could at least somewhat. Jarred is
 5   fifth, 6th of the first. Right. So I still don't                 5   still very keen to represent you. I'm afraid I
 6   know who she's talking about there.                              6   screwed you by steering you to Mimi.
 7      Q      You don't know if you received this                    7            I just had a great weekend in LA on a
 8   e-mail?                                                          8   celebrity story. Got to go to Rodeo Drive!!!
 9      A      No, I received this e-mail, obviously, but             9            Much love, Shaza.
10   I don't know who's redacted there.                              10            Yes.
11      Q      Okay. And in the e-mail that you                      11      Q       So she's encouraging you to have David
12   responded to, you're talking about -- you used                  12   Boies also help you in the book writing department,
13              correct?                                             13   right?
14      A      It does concern me what they could want to            14            MR. EDWARDS: Object to the form.
15   write about me considering tha                 walked           15   Mischaracterizes the exhibit.
16   into VF and threatened them not to write sex                    16      A     Is the question pending?
17   trafficking articles about his good friend JE.                  17      Q       (BY MS. MENNINGER) Yes.
18      Q      Right. Does that refresh your memory that             18      A     She -- yeah, she encouraged me to -- I
19   when you got this e-mail unredacted                      was    19   mean, once she saw that, you know, there was more
20   included as well as                        ?                    20   litigation going on, she thought -- like she says,
21           MR. EDWARDS: Object to the form.                        21   How fantastic. And up until recently she's still
22      Q      (BY MS. MENNINGER) In the line referred               22   been trying to get me to get the book out.
23   to as two of the world's most respected politicians?            23      Q       And in May of 2015, do you have -- did you
24      A      It could be. But, again, I would be                   24   have any active agreement to publish your book?
25   making an assumption because I don't know who that              25      A     In May of 2015, no. Jarred wanted to do

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 1   name is.                                                         1   something again, but his only thing was, he wanted
 2       Q     I don't either.                                        2   Sharon to be in on it as like a ghostwriter. And I
 3       A     Okay.                                                  3   said, Look, Sharon is all well and good, but I don't
 4       Q     Maybe our lawyers can tell us.                         4   want a journalist, you know, as they can twist things
 5            MS. MENNINGER: All right. Last one, and                 5   around writing my story.
 6   then you can get your break.                                     6            So he was like, Well, I'm sorry, I don't
 7            (Exhibit 25 marked.)                                    7   want to work with you then. And I said, Well, that's
 8       Q     (BY MS. MENNINGER) Defendant's                         8   fine. No problem.
 9   Exhibit 25. Again, e-mails to and from yourself and              9      Q       Do you, as you sit here today, have any
10   Sharon Churcher, correct?                                       10   agreement to publish your story in written form?
11       A     Yes.                                                  11      A       No, we have no agreement.
12       Q     And in this e-mail, it's dated 4/12/2015              12      Q       Do you have an agreement for anyone else
13   on the first page of this composite e-mail?                     13   to write your story?
14       A     Yes.                                                  14      A       No.
15       Q     She is encouraging you to do a book,                  15      Q       Have you got any ghostwriter in the book?
16   correct?                                                        16      A       Besides Sandra, who I didn't like, no.
17       A     As she has from the beginning, yes.                   17            MS. MENNINGER: All right. I think now is
18       Q     Right. And she suggested a roman a clef.              18   a good time for a break. And then --
19   Do you know what that means?                                    19            MR. EDWARDS: Okay.
20       A     No.                                                   20            THE VIDEOGRAPHER: We are off the record
21       Q     On the third page back, she wrote you to              21   at 4:12.
22   compliment you about David Boies taking your case, 22                         (Recess taken from 4:12 p.m. to 4:22 p.m.)
23   correct?                                                        23            THE VIDEOGRAPHER: We are back on the
24       A     (Deponent perused document sotto voce.)               24   record at 4:22.
25            Just reading about David Boies taking your             25      Q       (BY MS. MENNINGER) When you were

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 1   e-mailing and speaking with Sharon Churcher in 2011             1      A       I believe there was -- and this is just
 2   about the Vanity Fair possibly purchasing your                  2   going off my recollection.
 3   photograph --                                                   3      Q       Um-hum.
 4      A      Um-hum.                                               4      A       I believe there was a time when she was --
 5      Q      -- do you recall whether you shared with              5   oh, God, I can't remember. I really can't remember
 6   Sharon Churcher anything that you had discussed with            6   and don't want to say anything without looking at
 7   your attorney, Mr. Edwards?                                     7   that exact e-mail. Do you have it to show me?
 8      A      In relationship to what? Like, have I                 8      Q       Well, I'm sure it's probably in there but
 9   identified people to her?                                       9   I don't want to take the time to look for it now.
10      Q      Right.                                               10      A       Okay.
11      A      Yes.                                                 11      Q       So I understand you're just repeating what
12      Q      Okay. So you -- you identified people to             12   you recall from your memory.
13   her and you then looped back to her about your                 13      A       Yes.
14   conversations with Mr. Edwards, correct?                       14      Q       And it may not be accurate because you're
15          MR. EDWARDS: Object to the form.                        15   not looking at the document. I've got that caveat.
16      A      I'm sorry, can you rephrase? I don't                 16            What do you recall, just as you're sitting
17   understand.                                                    17   there?
18      Q      (BY MS. MENNINGER) All right. So you                 18      A       I know there was e-mails that Sharon sent
19   were e-mailing with her --                                     19   to me suggesting to say to Brad Edwards, I know that.
20      A      Um-hum.                                              20   I don't remember or recall exactly what was in those
21      Q      -- getting her advice about whether or not           21   statements.
22   to sell your                            to Vanity Fair?        22      Q       Okay. And did you send those e-mails to
23      A      Right.                                               23   Mr. Edwards, as you recall today?
24      Q      She asked you to run some information by             24      A       I don't know. I'm sorry.
25   Brad --                                                        25      Q       And do you know if you went back to Sharon

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 1      A      Yes.                                                  1   Churcher and told her about the conversations or
 2      Q      -- Edwards. And you said that you were                2   e-mails you had with Mr. Edwards?
 3   going to do that?                                               3      A       Some of them, I'm sure, yes.
 4      A      Um-hum.                                               4      Q       Because you were in fairly regular contact
 5      Q      And then you spoke to Mr. Edwards,                    5   with Sharon Churcher at that time, correct?
 6   correct?                                                        6      A       Right, at that time.
 7      A      I don't know if I spoke to him or if I                7      Q       All right. I want to introduce to you
 8   e-mailed him.                                                   8   Defendant's Exhibit 26.
 9      Q      Okay. And then did you report back to                 9              (Exhibit 26 marked.)
10   Sharon Churcher what you had discussed with                    10      Q       (BY MS. MENNINGER) Have you seen this
11   Mr. Edwards?                                                   11   document before?
12      A      I'm not too sure. Like I said, going back            12      A       I don't know if I've seen this specific
13   to the 2011 e-mails, look at this pile here. It's              13   document before, but I've seen something close to it,
14   impossible for me to know.                                     14   I think.
15      Q      So you were having a lot of communications           15      Q       All right. Do you see the date on the
16   with Sharon Churcher in 2011?                                  16   document?
17      A      In 2011, yes.                                        17      A       March 10th, 2011.
18      Q      All right. And Mr. Edwards was your                  18      Q       March 9th?
19   attorney in 2011, correct?                                     19      A       I see March 10th, sorry.
20      A      Yes.                                                 20      Q       Hmm.
21      Q      And did you ever have Sharon Churcher                21      A       London, March 10th, 2011.
22   draft for you e-mail to send to Mr. Edwards?                   22              MR. EDWARDS: Both dates are there.
23      A      Yes, I believe -- I believe she did.                 23              MS. MENNINGER: I'm sure they are. I'm
24      Q      And why did she draft e-mails for you to             24   just not seeing the one that you're seeing.
25   send to Mr. Edwards?                                           25              THE DEPONENT: Oh, I'm sorry.

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 1            MS. MENNINGER: That's okay.                            1      A     It doesn't surprise me, but I don't
 2            THE DEPONENT: Yeah. Sorry about that.                  2   remember reading this. I know that, you know, there
 3            MS. MENNINGER: Okay.                                   3   was a lot of stories in press going on and a lot of
 4            MR. EDWARDS: One is right on top of the                4   them I decided I just didn't want to read. There was
 5   other.                                                          5   a lot of stuff in there that just, I didn't want to
 6       Q     (BY MS. MENNINGER) I don't doubt you. I               6   go through.
 7   was just looking for it.                                        7      Q     Okay. Were you harmed on March 10th or
 8       A     Okay.                                                 8   March 11th, 2011 by the issuance of a statement on
 9       Q     All right. So after the word London,                  9   behalf of Ghislaine Maxwell?
10   March 10th, 2011, correct?                                     10      A     I am harmed by Ghislaine Maxwell denying
11       A     Correct.                                             11   anything that has ever happened between us, whether
12       Q     And above that is a title, Statement on              12   it's in 2002 or 2011 or 2015. I think that she knows
13   behalf of Ghislaine Maxwell, right?                            13   what she did, and she should be held accountable for
14       A     Yes.                                                 14   them. And not only has she hurt me once, but she's
15       Q     By Devonshires Solicitors, PRNE, correct?            15   hurt me apparently twice and now three times.
16       A     Correct.                                             16      Q     So on March 11th, 2011, say, how were you
17       Q     And then Wednesday, March 9th, 2011,                 17   harmed by the issuance of this press statement?
18   correct?                                                       18      A     She's denied that she had any involvement
19       A     Correct.                                             19   in the procuring of me and other young girls.
20       Q     And you understand that March 9th or                 20      Q     Um-hum.
21   March 10th, 2011 is roughly the time your original             21      A     And she tries to make herself look like
22   stories were published in the press --                         22   she had no partake in it.
23       A     Correct.                                             23      Q     Did you suffer any physical symptoms on
24       Q     -- internationally, correct?                         24   March 11th, 2011 after this statement was issued, as
25       A     Correct.                                             25   a consequence of this statement being issued?

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 1      Q     And this statement issued by Ghislaine                 1      A     Not being able to remember reading this in
 2   Maxwell or issued by Devonshires Solicitors on her              2   2011, it's hard to say. But it's the same thing that
 3   behalf denied allegations about her that have                   3   I'm going through right now. I mean, she's denied it
 4   appeared recently in the media, correct?                        4   again. And it is painful. It's physically painful.
 5      A     Correct.                                               5   I am taking medication to help me deal with this.
 6      Q     It says, These allegations are all                     6   And --
 7   entirely false, correct?                                        7      Q     Okay. I'm just limiting you right now to
 8            Did I read that properly?                              8   March of 2011.
 9      A     Ghislaine Maxwell denies the various                   9            MR. EDWARDS: I would just ask that she's
10   allegations about her -- oh, yeah, right -- yeah,              10   able to finish her answer, though, please.
11   right below that. These allegations are entirely               11            MS. MENNINGER: Well, the answer is
12   false.                                                         12   nonresponsive, so --
13      Q     All right. In 2011, were you aware that               13            MR. EDWARDS: In your opinion it's not
14   Ghislaine Maxwell issued a statement denying the               14   responsive.
15   allegations about her that had appeared in the media?          15      Q     (BY MS. MENNINGER) I want you to
16      A     I'm not too sure what I recall from 2011              16   understand that the question is related to any
17   about Ghislaine Maxwell denying it. I know that she            17   physical symptoms you suffered in March of 2011 as a
18   denied it recently in 2015. I know that for a fact.            18   consequence of Defendant's Exhibit 26 being issued.
19      Q     So you don't know whether she denied it in            19      A     If I would have seen this in March 10th,
20   2011?                                                          20   2011, this would have been harmful to me.
21      A     I can't recall back to 2011, if I do                  21      Q     Okay. Do you recall, as you sit here
22   remember that.                                                 22   today, experiencing any physical symptoms as a
23      Q     And you don't know whether she put out a              23   consequence of Defendant's Exhibit 26 being issued to
24   press statement that said these allegations are all            24   the press?
25   entirely false, correct?                                       25            MR. EDWARDS: Objection. Asked and

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 1   answered. Lacks predicate.                                      1   can't believe you've been through this. I never
 2      A     I have been suffering from Ghislaine                   2   knew. I'm so sorry. You know, that kind of stuff.
 3   Maxwell and Jeffrey Epstein since the summer of 2000.           3   So they never -- I never spoke to anybody about this
 4   So hearing again in 2011 that she's denied it, of               4   except for my husband.
 5   course, it's going to hurt me.                                  5       Q        All right. So the first time you recall
 6            Did I hear about this in 2011? I can't                 6   any sort of people in your community referencing
 7   tell you I honestly have.                                       7   things to you is when the press picked up on it in
 8            In 2015 is when I know that she denied it.             8   2014 or 2015?
 9   And again, I haven't stopped suffering from the                 9       A        Yeah, I think it may be end of 2014, early
10   repercussions that they put me through.                        10   2015.
11      Q     (BY MS. MENNINGER) And I'm asking you to              11       Q        All right. And so in March of 2011 you
12   separate, if you can, any symptoms that you                    12   don't recall any neighbors or anybody saying anything
13   experienced anew in March of 2015 -- I mean, excuse            13   to you about this?
14   me, March of 2011, as a consequence of this statement 14                A        No, I don't recall.
15   being issued, which I believe you said you don't               15       Q        Did anyone tell you in March of 2011 about
16   recall seeing at the time; is that fair?                       16   Defendant's Exhibit 26, the statement on behalf of
17      A     But you're asking me now about 2015?                  17   Ghislaine Maxwell?
18      Q     Nope. March of 2011. Sorry, I misspoke                18       A        No, otherwise I would have been able to
19   there.                                                         19   recall it.
20      A     You're still on 2011?                                 20       Q        Okay. Do you remember anyone in 2011
21      Q     Yes. Did you start taking any new                     21   ridiculing you because of Defendant's Exhibit 26?
22   medications in March of 2011?                                  22       A        Well, because nobody knew me as Virginia,
23            Let me ask you that.                                  23   everybody knows me as Jenna, no one probably put two
24      A     I've been taking medication to control my             24   and two together. And like I told you, I didn't tell
25                            since 2002.                           25   anybody. So there was nobody there to ridicule me in

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 1      Q     Okay. So did you take any new medications              1   2011 over this.
 2   or any additional amounts of medications in March of            2       Q         Where were you living in 2011 when Shaza
 3   2011?                                                           3   came to see you --
 4      A     I have been taking the same medication                 4       A        Oh,                                          .
 5   since 2002.                                                     5       Q         Do you recall applying for any job in or
 6      Q     Okay.                                                  6   around 2011 and someone referencing Defendant's
 7      A     And that's due to                                      7   Exhibit 26 and denying you a job?
 8   caused from the pain that I suffered at the hands of            8       A        I don't -- I don't think I applied for a
 9   Ghislaine Maxwell and Jeffrey Epstein.                          9   job in 2011.
10      Q     Did you -- do you recall any neighbors or             10       Q         Okay. Did you go see a doctor and talk to
11   other moms at the school or anybody in 2011                    11   any doctor about Defendant's Exhibit 26?
12   referencing to you in any way the fact that Ghislaine          12       A        Not about this. Not about this paper
13   Maxwell had issued a denial of the allegations about           13   right here. But I have talked to doctors about my
14   her that had been published in the media in March of           14   abuse at the hands of Ghislaine and Jeffrey.
15   2011?                                                          15       Q         Have you talked to a doctor about any
16      A     No. I didn't speak to any -- I didn't                 16   statements in the press made by Ghislaine Maxwell?
17   speak to any moms about what I had gone through. I             17       A        Recent statements, yes.
18   mean, when it came out in the press, I don't think             18       Q         Which doctor did you speak to about that?
19   any -- like, Australians don't pay attention to news,          19       A        Her name is Judith Lightfoot.
20   number one.                                                    20       Q         And where is she?
21            Number two, the first time that my friends            21       A        She's in Australia.
22   contacted me they were shocked. And this was, I                22       Q         Where in Australia?
23   believe in -- when the press picked it up again, I             23       A        She's in Sydney, but we do phone
24   think, was 2014/2015. And I got a whole bunch of               24   conversations.
25   like Facebook texts from them saying, Oh, my God, I            25       Q         Have you ever met her in person?

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 1      A    Yes.                                                    1   the same. Maxwell strongly denies -- excuse me.
 2      Q      When?                                                 2   Excuse me -- strongly denies allegations of an
 3      A    In 2011.                                                3   unsavory nature, which have appeared in the British
 4      Q      All right. And is she affiliated with an              4   press and elsewhere and reserves her right to seek
 5   office or a hospital or what?                                   5   redress at the repetition of such old defamatory
 6      A    She's a psychiatrist.                                   6   claims.
 7      Q      All right. Have you seen her in person                7      Q      All right. Have you seen this statement
 8   since 2011?                                                     8   before?
 9      A    No, because I've lived so far away and                  9      A      I've seen it recently, yes.
10   she's kind of the only person that -- like, I've seen          10      Q      All right. What -- have you discussed
11   a lot of doctors. And I can honestly tell you --               11   this statement with Ms. Lightfoot? I don't know if
12   it's really hard for them to break down the walls and          12   she's a doctor or what.
13   be comfortable enough to talk to them about this               13      A      Psychiatrist, yeah.
14   stuff. Judith is different. She's somebody that I              14      Q      Is she an MD?
15   feel I can trust. She's 76 and she's just a very               15      A      I don't know what her levels of credential
16   lovely lady.                                                   16   are. I'm sure she is.
17           And she offers me other ways to deal with              17      Q      Okay. When is the first time that you saw
18   my pain and suffering. And I continue to see her               18   the statement?
19   over the phone because I can't see her in person.              19      A      This full statement I have only seen
20      Q      Do you recall ever discussing with her               20   through discovery. The original statement that I saw
21   Defendant's Exhibit 26?                                        21   in the press was, Ms. Roberts' claims are obvious
22      A    I can't recall ever seeing this exhibit.               22   lies and so on, so forth. I don't remember seeing
23   So --                                                          23   this in the press.
24      Q      Okay.                                                24      Q      Okay. So the part that you remember
25           (Exhibit 27 marked.)                                   25   seeing in the press is Ms. Roberts' claims are

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 1      Q      (BY MS. MENNINGER) I'm going to give you              1   obvious lies?
 2   Defendant's Exhibit 27.                                         2      A      Yes.
 3      A    Yes.                                                    3      Q      Anything else about this?
 4      Q      All right. Have you seen this document                4      A      I can't remember what else she printed in
 5   before?                                                         5   the press. It's a very horrible thing for her to do,
 6      A    Yes.                                                    6   turn around and call me a liar after everything that
 7      Q      And what do you understand it to be?                  7   she knows she's done. And I didn't expect her to
 8      A                             sounds like a PR, if           8   come out and be truthful.
 9   I'm not right -- if I'm not wrong. Sent -- or                   9             Jeffrey Epstein hasn't even issued a
10   subject is Ghislaine Maxwell. I don't know                     10   statement.
                                                                    11      Q      Sorry. I'm sorry if you misunderstood my
                                                                    12   question.
13           It says: To whom it may concern, Please                13      A      Yes.
14   find attached credible statement on behalf of                  14      Q      Was there anything else within this
15   Ms. Maxwell.                                                   15   statement that you recall seeing in the press besides
16           And then it goes on, to hear about that                16   the line, Ms. Roberts' claims are obvious lies?
17   she is saying: Each time the story is retold it                17      A      Without saying 100 percent, I think that
18   changes with new salacious details about public                18   the original allegations are not new and have been
19   figures and world leaders and now it is alleged by             19   fully responded to be shown to be untrue. I don't
20   Ms. Roberts that                   is involved in              20   know if that's in the press or not, but I've read
21   having sexual relations with her, which he denies.             21   this before.
22           Ms. Roberts' claims are obvious lies and               22             So I don't know if I'm confusing this with
23   should be treated as such and not publicized as news,          23   what I've read out of this or what I've read in the
24   as they are defamatory. Ghislaine Maxwell's original           24   press. The main thing is, I know she called me a
25   response to the lies and defamatory claims remains             25   liar, and that's what she publicized.

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 1      Q    And when you say she called you a liar,               1   a liar from the people that abused me.

 2   that's the Ms. Roberts' claims are obvious lies part?         2      Q     Okay. Do you recall specifically

 3      A    Yes.                                                  3   mentioning to him Ghislaine Maxwell's statement to

 4      Q    Okay. When is the first time that you saw             4   the press?

 5   this whole document?                                          5       A    I mentioned a lot of names to him.

 6      A    I guess when you guys handed it over for              6      Q     Okay. What new symptoms did you

 7   discovery.                                                    7   experience following January 2nd, 2015?

 8      Q    Okay. And who showed it to you?                       8       A    I think it's one thing to be a victim of

 9      A    It was sent to me by e-mail.                          9   sexual abuse and survive it and come out trying to

10      Q    Okay. Just through the course of                     10   tell the world my story, and then another thing for

11   communicating with your attorneys?                           11   it to be shut down because these people, Ms. Maxwell

12      A    Yes.                                                 12   and others are calling me liars (sic).

13      Q    You've never seen it published?                      13      Q     And I asked you what symptoms had you

14      A    Not this whole e-mail, no.                           14   experienced --

15      Q    All right. Did you -- I'm sorry, did you             15            MR. EDWARDS: She's going to finish her

16   discuss this publication of what you saw in the press        16   answer to this question. You cut her off so many

17   with Judith Lightfoot?                                       17   times.

18      A    Yes.                                                 18            MS. MENNINGER: It has nothing to do with

19      Q    All right. And when did you discuss it               19   this.

20   with her?                                                    20            MR. EDWARDS: It absolutely does. Because

21      A    When I got back to Australia, Judith and I           21   this is a psychological damages claim, and she is

22   started seeing each other again. Before then, I              22   trying to explain to you what those damages are.

23   spoke with a doctor in Colorado about this. His name         23      Q     (BY MS. MENNINGER) Okay. What are your

24   is Dr. Olsen. And it was causing me a lot of                 24   symptoms that you experienced since January 2nd, 2015

25   distress to have to deal with being called a liar all        25   that are new?

                                                       Page 314                                                              Page 316
 1   over again, when I know I'm standing up doing the             1       A     Very strong anxiety attacks, bad panic
 2   right thing. And the doctor prescribed me                     2   attacks. My throat closes up, I can't breathe. I
 3                           . And, yeah.                          3   vomit when I have anxiety attacks. My -- this is
 4      Q    Okay. So my question was, when did you                4   personal, but my sex life has suffered. My marriage
 5   discuss it with Judith Lightfoot?                             5   has suffered. Psychologically, it's just hurt me all
 6          I think I now understand you did that                  6   over again. I mean, they've hurt me before, and now
 7   after you returned to Australia in November or so of          7   they've hurt me again by doing this.
 8   2015; is that right?                                          8            And I felt like I was in the process of
 9      A    I returned to Australia in October, and               9   healing before this came out because I had opened up
10   that's when I picked up talking to her again.                10   this wonderful charity called Victims Refuse Silence.
11      Q    All right. And you're saying that at                 11   And then my aim was to heal by helping other girls
12   another point in time you talked to another doctor,          12   get out of the situations that I was in before.
13   Dr. Olsen, in Colorado, correct?                             13            And my lawyers were nice enough to help
14      A    Correct.                                             14   me. I have this beautiful website where you can
15      Q    And when did you meet with Dr. Olsen?                15   click on in any state and you can find a place. I
16      A    I don't know the first date that I met               16   have personally called all of them and they will help
17   with him.                                                    17   you get out of the situation that you're in. They
18      Q    Did you meet with him more than once?                18   will get you medical help. They will get you legal
19      A    I believe so.                                        19   advice. I think I was in the really good process of
20      Q    And you believe you spoke with him about             20   healing. And when this came out, it just ruined me
21   Ghislaine Maxwell's published statement in the press         21   all over again.
22   that Ms. Roberts' claims are obvious lies.                   22       Q     (BY MS. MENNINGER) All right. Tell me
23          That's what you believe you spoke with                23   all of the damages that you claim occurred to you
24   Dr. Olsen about?                                             24   because of Defendant's Exhibit 27.
25      A    I spoke with Dr. Olsen about being called            25       A     My reputation, my psychological abuse,

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 1   physical ailments. My marriage has suffered, my                    1      A    Well, number one, my charity. I mean,
 2   family life has suffered. I'm constantly battling                  2   that's -- that was my voice for other people to get
 3   depression. I feel like I've taken 10 steps forward                3   help. And I don't think that people want to get help
 4   and 12 steps back since this all happened.                         4   from somebody who's being called a liar in the press,
 5         Q    Okay. And by since this all happened, do                5   somebody who is claiming to be a victim that isn't.
 6   you mean since January 2nd, 2015?                                  6   I mean, I wouldn't want to get help from somebody who
 7         A   That's correct.                                          7   did that, you know.
 8         Q    All right. Have you lost any income since               8           And I know when I introduce myself to
 9   January 2nd, 2015 as a consequence of Defendant's                  9   people these days, I don't introduce myself as
10   Exhibit 27?                                                       10   Virginia anymore. I introduce myself as another name
11         A   Well, I believe that my charity that was                11   because I'm afraid that if people read papers or if
12   going to go forward and help other victims was going              12   people Google or find out who I am that they'll think
13   to not only bring in income but also be able to                   13   differently of me.
14   provide women with shelters and food and assistance               14      Q    What do you introduce yourself as?
15   that I wanted to help them with.                                  15      A    I tell everybody my name is Jenna.
16             I haven't been able to get a job or work                16      Q    In what country or location has your
17   or anything like that. You know, financially, my                  17   reputation been damaged as a consequence of
18   husband brings home the money for me. But as myself               18   Defendant's Exhibit 27?
19   goes, I couldn't work right now with everything going             19      A    Considering this is worldwide publication,
20   on.                                                               20   I would saying England, America, Australia. You
21         Q    How much income were you making prior to               21   know, friends in Australia were seeing my face on
22   December 30th, 2014?                                              22   national TV. Like I said, I can't remember if it was
23         A   Well, I've been a stay-at-home mom since                23   2014 or 2015. And I have since not been in contact
24   2006.                                                             24   with those friends. I thanked them for their
25         Q    So how much income have you lost as a                  25   sympathies, but it's not something I want people to

                                                            Page 318                                                              Page 320
 1   result of Defendant's Exhibit 27?                                  1   know about. You know, especially people close to me.
 2         A   I could only imagine, you know, being the                2           I mean, I want to go out there and I want
 3   head of a corporation, a charity, I would be earning               3   to help other victims. But being called a liar and
 4   a decent wage. It's hard to say how much I would be                4   people having to sit there and second guess if I'm
 5   earning because it is a non for-profit.                            5   telling the truth or not doesn't really give me much
 6             But because of these statements telling                  6   incentive to want to make friends.
 7   everybody in the world that I'm a liar, my charity                 7      Q     Did anyone in Penrose, Colorado approach
 8   has not been able to take off. And as a consequence                8   you and mention Ghislaine Maxwell's name?
 9   of that, I have missed out on the results of not                   9      A    We have reporters at our door.
10   being able to go forward with it.                                 10      Q     Did anyone in Penrose, Colorado approach
11         Q   Okay. Have you applied for any job that                 11   you and mention Ghislaine Maxwell's name?
12   you've been denied since January 2nd, 2015?                       12      A    What, reporters? Yes, plenty of them.
13         A   I haven't been denied a job. I haven't --               13      Q     Did anyone who lives in Penrose, Colorado
14   I've just -- I thought about applying for jobs, but I             14   approach you and mention Ghislaine Maxwell's name?
15   mean, the second that you Google my name, people are              15      A    Have you ever been to Penrose? It's --
16   going to know exactly who I am. And these days,                   16   it's in the middle of nowhere. So you really -- I
17   employers Google everything, and it makes me fearful              17   didn't have friends in Penrose. There was nobody
18   that if I do go apply for a job, which I would like               18   that I knew there.
19   to. I mean, my kids are all at school now. I'd like               19      Q     All right. And which reporters mentioned
20   to get back into the work force.                                  20   you and Maxwell's name to you in Penrose, Colorado?
21             But I'm afraid if I do, my past is going                21      A    We have reporters chasing us down the
22   to stop me from being able to do that. No one wants               22   street, in car parks, taking my kids to the doctor's,
23   to hire a sex slave.                                              23   going to the grocery store. You know, asking me all
24         Q   How has your reputation been harmed by                  24   kinds of questions about it. And I didn't talk to
25   Defendant's Exhibit 27?                                           25   any journalists or reporters about it.

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                                                       Page 321                                                               Page 323
 1      Q     And what do you recall any reporter saying           1   Trafficking Coalition sometime after January 2nd,
 2   to you that included the name Ghislaine Maxwell?              2   2015?
 3      A     Asking me -- I don't remember what they              3      A     I did give -- I did go for a speaking
 4   asked me, to be honest. There was regarding                   4   engagement. I don't remember when.
 5   Ghislaine and                     and Jeffrey Epstein. I      5      Q     Was there any speaking engagement you had
 6   mean, it was an array -- you know how reporters can           6   booked that was canceled after January 2nd, 2015?
 7   be when they're hashing at you.                               7      A     I can't remember off the top of my head.
 8      Q     Okay. So no one in Penrose, Colorado who             8      Q     All right. You founded Victims Refuse
 9   lived there mentioned Ghislaine Maxwell by name to            9   Silence in February of 2014, correct?
10   you?                                                         10      A     It was -- it was a process because,
11      A     Besides reporters?                                  11   obviously, you have to go through all the bylaws and
12      Q     Right. People who live in Penrose,                  12   everything. I think we started it in October of
13   Colorado.                                                    13   2014, but it wasn't official until January, I think.
14      A     Right. I didn't know anyone in Penrose,             14      Q     Okay. So in the period it was in
15   except for my mom.                                           15   operations before January 2nd, 2015, had you gotten
16      Q     Okay. Now, in March or April of 2015 did            16   any -- had you been paid any salary by Victims Refuse
17   you fly to New York?                                         17   Silence?
18      A     I'm sorry, what date?                               18      A     No, I hadn't.
19      Q     March or April of 2015, did you fly to New          19      Q     Had --
20   York?                                                        20      A     I mean, it was just up and running. So
21      A     It's a possibility.                                 21   there was no --
22      Q     Did you stay at the Ritz-Carlton?                   22      Q     Had any contributions been made to Victims
23      A     It's definitely a possibility.                      23   Refuse Silence before January 2nd, 2015?
24      Q     Were you there with Mr. Edwards and                 24      A     I can't recall. You know, we've only had
25   Mr. Cassell and Sigrid McCawley?                             25   a few contributions. I don't know what dates they

                                                       Page 322                                                               Page 324
 1      A     I've been to New York quite a few times.             1   were put in.
 2   So I'd have to refresh my memory. But I have been to          2      Q     Has anyone else called you a liar in the
 3   New York with Brad Edwards and Paul Cassell and               3   press?
 4   Sigrid McCawley.                                              4      A     Yes.
 5      Q     Was that after January 2nd, 2015?                    5      Q     Who?
 6      A     Definitely could be.                                 6      A                       .
 7      Q     Did you give an interview to ABC News on             7      Q     Anyone else?
 8   camera?                                                       8      A     Ghislaine Maxwell, obviously.
 9      A     I did.                                               9      Q     Anyone else?
10      Q     And that was after January 2nd, 2015?               10      A     Not that I know of.
11      A     I did.                                              11      Q     Has anyone else publicly denied your
12      Q     Did you give an interview to Good Morning           12   allegations?
13   America?                                                     13      A     From what Ghislaine Maxwell said?
14      A     No.                                                 14      Q     Have you seen any press in which another
15      Q     All right. Did you correspond at all with           15   person has denied your allegations?
16   Good Morning America about the publication of your           16            MR. EDWARDS: Objection. Vague.
17   story?                                                       17      A     I've seen allegations denied by
18      A     I can't remember if ABC and Good Morning            18   Ms. Maxwell. And I've seen the allegations denied by
19   America wanted to do something together. I can't --          19                     .
20   all I know is I was interviewed by one person at ABC.        20      Q     (BY MS. MENNINGER) And
21   I never was interviewed by anyone from Good Morning          21   actually went on TV and called you a serial liar,
22   America. Maybe they were going to show the same              22   correct?
23   airing in the same show, but powers that be, of              23      A     Very correct.
24   course, wouldn't let it go forward.                          24      Q     You saw that, correct?
25      Q     Did you give a lecture to the Human                 25      A     Yes.

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                                                           Page 325                                                              Page 327
 1      Q        And that hurt your feelings?                          1   context?
 2      A        Badly.                                                2           MR. EDWARDS: Object to the form of the
 3      Q                                                              3   question.
                                                                       4      A    Can I point to a person -- I'm sorry. I
                                                                       5   don't understand. Can you rephrase it for me --
                                                                       6      Q    (BY MS. MENNINGER) All right.
                                                                       7      A    -- so I can understand what you mean?
 8           MR. EDWARDS: Form.                                        8      Q    Where you live in Australia now, has
 9      A                                                              9   anyone referenced the name Ghislaine Maxwell to you?
10      Q        (BY MS. MENNINGER) How do you know which             10      A    After all of the news hits, after the
11   harm you've suffered is attributable to Ghislaine                11   press hits in 2015 and, you know, everyone is calling
12   Maxwell's denial versus                                          12   me a liar, all of my friends in Australia called me
                                                                      13   and talked to me and said, I can't believe this. I
14      A        Ghislaine Maxwell brought me into the sex            14   can't believe what you went through.
15   trafficking industry. She's the one who abused me on             15           That was very embarrassing for something
16   a regular basis. She's the one that procured me,                 16   that I tried to keep separate from my other life
17   told me what to do, trained me as a sex slave, abused            17   where I would like to help victims. I didn't want
18   me physically, abused me mentally.                               18   the friends of my kids parents knowing about that
19           She's the one who I believe, in my heart                 19   stuff. You know, and of course they all felt sorry
20   of hearts, deserves to come forward and have justice             20   for me. And you know, like I said. I didn't know
21   happen to her more than anybody. Being a woman, it's             21   anybody in Penrose. So there's nobody that could
22   disgusting.                                                      22   have come up to me and talked to me about it. My
23      Q        So you cannot delineate what harm you have           23   mom.
24   suffered in terms of all of the psychological damage             24      Q    This question was about Australia, sorry.
25   you just disclosed?                                              25      A    Oh, sorry, I thought you were talking

                                                           Page 326                                                              Page 328
 1      A     Oh, of course.                                           1   about pointing out people.
 2      Q     -- if that is attributable to Ghislaine                  2      Q     No.
 3   Maxwell's statement on January 2nd versus                         3      A     Okay, well in Australia, yes, at least a
 4                   calling you a serial liar on Good Morning         4   dozen friends.
 5   America?                                                          5      Q     They came up and they mentioned Ghislaine
 6      A     Of course, it all hurts. Okay? I                         6   Maxwell's denial to the press to you?
                                                                       7      A     They couldn't believe what I had been
                                Of course those hurt. It               8   through and, you know, that these were, you know,
 9   doesn't feel good to have people who have done                    9   being denied, and they felt sorry for me. And, you
10   something to you deny something that's happened, when            10   know, it was the whole circumference of things.
11   I'm actually brave enough to come forward and talk               11      Q     So the people in Australia that came up to
12   about it.                                                        12   you had sympathy for you and believed you, correct?
13           What hurts me the worst is that Ghislaine                13      A     Yes.
14   Maxwell brought me into this. Not only has she hurt              14      Q     All right. And when you spoke to
15   me once, but she's hurt me twice coming forward and              15   Dr. Olsen you recall specifically mentioning
16   saying, This is not true, this is categorically                  16   Ghislaine Maxwell's press release?
17   untrue and obvious lies.                                         17           MR. EDWARDS: Object to the form.
18           That to me is a stick in the mud and that                18      A     Yes, I remember mentioning her, as well as
19   to me is what caused the most harm to me.                        19   the press release, as well as other press releases.
20      Q     Okay. And so can you point to any person                20   And the abuse that I had occurred (sic) from the
21   who has referenced Ghislaine Maxwell's denial in the             21   hands of Jeffrey and Ghislaine.
22   press or to your face or anywhere?                               22      Q     (BY MS. MENNINGER) Okay. When have you
23      A     Can I point to a person?                                23   been diagnosed with a mental health condition, first?
24      Q     Can you point to any time that someone has              24      A     I don't know. I mean, I've been told that
25   referenced Ghislaine Maxwell's denial to you in any              25   I've                              . You know --

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                                                            Page 329                                                           Page 331
 1         Q   When were you first told that?                           1   just got to Australia and Judith Lightfoot was
 2         A   Well, early in -- early in 2003, I believe               2   helping me.
 3   is the first time that I was suffering from
 4                               And then my doctor, Judith                           And I told him the reason.
 5   Lightfoot, has in 2011                                             5      Q      And this is since you returned to
 6                                                                      6   Australia?
 7             And, you know, I've recently seen another                7      A      Correct.
 8   doctor who said that I've got the exact same symptoms              8      Q      And this is the first time you had seen
 9   that Judith Lightfoot mentioned, which is                          9   that doctor?
10                                                                     10      A      I've seen that doctor twice now.
                  .                                                    11      Q      I'm sorry, what was the name again? I
12         Q   Which doctor is that?                                   12   know you already said it, but I just --
13         A   You know, I don't honestly know his name.               13      A      Dr. Donahue.
14         Q   When did you see this new doctor?                       14      Q      Donahue, all right.
15         A   Um --                                                   15           This doctor that you haven't yet
16             MR. EDWARDS: Sorry. If you're referring                 16   disclosed, where did you see that person? In what
17   to a doctor that's been sent to you by one of your                17   country?
18   lawyers --                                                        18      A      United States.
19             THE DEPONENT: Yes.                                      19      Q      And in what state?
20             MR. EDWARDS: -- at this time, I'm                       20      A      San Francisco.
21   instructing you not to answer.                                    21      Q      And when did you see that doctor?
22             THE DEPONENT: Okay.                                     22      A      Um, Friday. Last Friday.
23             MS. MENNINGER: Wait. What is it? You've                 23      Q      And how many times have you seen that
24   seen a doctor and you're not going to answer what                 24   doctor?
25   doctor you've seen?                                               25      A      Once. Well, twice actually. I saw him

                                                            Page 330                                                           Page 332
 1             MR. EDWARDS: Sure. If it's a consulting                  1   the next day, too.
 2   witness in this case that has seen her at the                      2      Q    All right. Did you suffer from anxiety
 3   direction of an attorney, that has not yet been                    3   before meeting Jeffrey Epstein?
 4   disclosed per any expert witness disclosure, then I'm              4      A    I was never prescribed anything for
 5   instructing her not to answer that question.                       5   anxiety before I met Jeffrey Epstein.
 6             If that's what you're referring to. I                    6      Q    That wasn't my question.
 7   don't know if that's what you're referring to.                     7      A    Did I --
 8             THE DEPONENT: That's what I'm referring                  8      Q    Were you suffering from anxiety before you
 9   to.                                                                9   met Jeffrey Epstein?
10         Q    (BY MS. MENNINGER) All right. So you                   10      A    I think a person who has gone through as
11   recall seeing Dr. Lightfoot. You recall seeing                    11   much trauma as I have in my life would suffer from
12   Dr. Olsen. And you recall seeing a new unnamed                    12   quite a few problems. But like I said, I was never
13   doctor recently.                                                  13   prescribed anything until I met Jeffrey Epstein.
14             Anyone else you've seen since January 2nd,              14      Q    Did you suffer from panic attacks before
15   2015?                                                             15   meeting Jeffrey Epstein?
16         A    Dr. Olsen, Dr. Lightfoot. Oh,                          16      A    Nowhere near as bad, no.
17   Dr. Donahue.                                                      17      Q    So you did suffer from                        .
18         Q    Where is Dr. Donahue located?                          18   They just weren't as severe; is that what your
19         A    He's in my suburb or he's a suburb next to             19   testimony is?
20   me in Australia.                                                  20      A    No, what I'm trying to say is I did have
21         Q    And is that a psychiatric-type doctor, a               21             I did have              I had lived a very
22   medical-type doctor?                                              22   hard life prior to meeting Jeffrey Epstein as well.
23         A    He's medical.                                          23           After meeting Jeffrey Epstein and
24         Q    And what did you see him for or her for?               24   Ghislaine Maxwell, everything escalated. That's when
25         A    I didn't have anybody to basically -- I                25   I started to take Xanax and smoke marijuana to help

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 1   calm the anxiety and everything down.                           1      Q       How much does it cost you every time you
 2      Q     Before you met Jeffrey Epstein, had you                2   talk to Dr. Lightfoot?
 3   used any drugs?                                                 3      A       Her normal fee is $200.
 4      A     Sure, yes.                                             4      Q       And how much do you pay?
 5      Q     Which drugs had you used prior to meeting              5      A       She doesn't charge me anything anymore.
 6   Jeffrey Epstein?                                                6      Q       When did she stop charging you?
 7      A     I smoked pot. I've taken Ecstasy.                      7      A       Since I got back to Australia.
 8      Q     Cocaine?                                               8      Q       So before you left for Titusville,
 9      A     Yeah, I would have snorted cocaine,                    9   Florida, you saw her and you were paying $200 per
10   um-hum.                                                        10   session?
11      Q     Did you ever abuse alcohol before meeting             11      A       Yes.
12   Jeffrey Epstein?                                               12      Q       And what has Dr. Lightfoot recommended
13      A     No, I was -- I wasn't even of age to be               13   that you do in order to get better?
14   able to buy it. I mean, if there was alcohol at                14      A       She loves what I'm doing with speaking
15   parties I would have drank it, but I wouldn't say I            15   out. She thinks the more that I speak out about it,
16   abused it.                                                     16   the stronger I'll become. She recommends that I
17      Q     Okay. Were there ever occasions upon                  17   write my book, I tell my story. She thinks not only
18   which you were observed to be drunk by other people,           18   will it help me, but by helping me it'll help others
19   prior to meeting Jeffrey Epstein?                              19   find a way to get out of the situation and to know
20      A     If you're drinking, the possibility of                20   that there's other girls who have gone through what
21   getting drunk is always there. I don't -- I can't              21   I've gone through and what they're going through.
22   recall exact situation where that was the case,                22             She recommends meditation, breathing
23   but --                                                         23   techniques, focus techniques.
24      Q     Were you diagnosed as a drug addict prior             24      Q       Does she prescribe medications for you?
25   to meeting Jeffrey Epstein?                                    25      A       No, she doesn't. She's a spiritual

                                                         Page 334                                                           Page 336
 1      A     No, I was not diagnosed as a drug addict.              1   doctor.
 2      Q     Were you sent to live at a rehabilitation              2      Q      Is there anything that she's recommended
 3   facility because of your use of drugs?                          3   that you do that you're not doing?
 4      A     No, that was more of a group home. Yes,                4      A      Is there anything that I do that she
 5   it was also a rehab facility, but it wasn't because I           5   recommends I don't? Sorry, say that one more time.
 6   was a drug addict. I wasn't coming off of anything.             6      Q      That's okay. Is there anything that
 7      Q     Had you abused drugs prior to meeting                  7   Dr. Lightfoot has recommended that you do that you
 8   Jeffrey Epstein?                                                8   are not actually doing?
 9      A     I took drugs. I didn't abuse them, but I               9             Are you following her advice?
10   took them.                                                     10      A      Yes, I am.
11      Q     Okay.                                                 11      Q      Okay. And what has Dr. Donahue
12      A     Recreationally.                                       12   recommended that you do?
13      Q     How often do you see Dr. Lightfoot?                   13
14      A     Once a week every Monday. I've skipped
15   this week because I've been over here and it's
16   expensive to call back home right now, unless you
17   FaceTime, but --
18      Q     Has Dr. Lightfoot recommended that you see
19   a treating doctor in person?
20      A     No, she's -- she knows my history pretty
21   well. And she's a very wonderful woman and I
22   honestly wouldn't -- Dr. Donahue wants me to go see
23   another psychiatrist in person, but I prefer to stay
24   with Judith because she's someone I can personally
25   relate to.

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                           15      Q       All right.
                           16          MS. MENNINGER: I'm going to ask that we
                           17   take just a brief break and that I can hopefully then
                           18   come back and just ask a few final follow-up
                           19   questions, okay?
                           20          THE DEPONENT: Okay.
                           21          THE VIDEOGRAPHER: We are off the record
                           22   at 5:16.
                           23          (Recess taken from 5:16 p.m. to 5:25 p.m.)
                           24          THE VIDEOGRAPHER: We're back on the
                           25   record at 5:25.

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1                           1      Q




                            8




                           22




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                                                         Page 341                                                          Page 343
 1      Q      When was it?                                          1   read it.
 2       A    I don't know the exact date.                           2              MS. MENNINGER: We're going off the
 3      Q      What's your best recollection?                        3   record.
 4       A    I don't know. I would have to have dates               4              MR. EDWARDS: Yeah, that's fine. She'll
 5   in front of me. If you've got something that has a              5   read.
 6   date on there, I'm happy to look at it and tell you             6              THE VIDEOGRAPHER: That concludes today's
 7   it's right or wrong.                                            7   proceedings. We're off the record at 5:28.
 8      Q      It was a few months ago or many months                8              (Proceedings concluded at 5:28 p.m.)
 9   ago?                                                            9
10       A    Um, to my best recollection, it was about             10                 *******
11   a year ago.                                                    11
12            MS. MENNINGER: I have no further                      12
13   questions for you at this time. As you know, there             13
14   are some questions that you refused to answer and              14
15   other questions that your attorney directed you not            15
16   to answer. So we will take those up with the Court             16
17   and may see you again.                                         17
18            THE DEPONENT: Okay.                                   18
19            MR. EDWARDS: And just as a matter of                  19
20   clarification, I don't believe that there's anything           20
21   she's refused to answer. There may be things that              21
22   I've instructed her not to answer because I believe            22
23   that they were privileged or for whatever reason I             23
24   instructed her not to answer but she hasn't refused            24
25   to answer them.                                                25

                                                         Page 342                                                          Page 344
 1            Either way, the record is what it is.                  1           I, VIRGINIA GIUFFRE, do hereby certify that
 2            MS. MENNINGER: I was going to say, do you              2   I have read the foregoing transcript and that the
 3   dispute that the court reporter has been taking down            3   same and accompanying amendment sheets, if any,
 4   what was said this entire time?                                 4   constitute a true and complete record of my
 5            MR. EDWARDS: I'll read it. She'll read.                5   testimony.
 6            MS. MENNINGER: Actually, that's a good                 6
 7   question.                                                       7
 8      Q     (BY MS. MENNINGER) Do you have any                     8
                                                                                         ________________________________
 9   questions that I've asked you today that you don't              9                   Signature of Deponent
                                                                                         ( ) No Amendments
10   feel like you understood?                                      10                   ( ) Amendments Attached
11      A     No, I don't think that there's questions              11           Acknowledged before me this
12   that you've asked me that I don't think I've                   12   _____ day of ______________, 2016.
13   understood. But, you know, I really just want to               13
14   state something for my own piece of mind, if that's            14           Notary Public: ________________________
15   okay, if I'm allowed to do that.                               15           Address: _____________________________
16      Q     No, that's not really what this forum is              16                    _____________________________
17   about.                                                         17           My commission expires _________________
18      A     Okay.                                                 18           Seal:
19      Q     There are other forums.                               19
20            MR. EDWARDS: That will only be good for               20
21   them. There is no reason to say that.                          21   KAM
22            THE DEPONENT: Okay.                                   22
23            MR. EDWARDS: You get a chance to talk                 23
24   later.                                                         24
25            Do you have an order form? And she'll                 25

                                                      VIRGINIA GIUFFRE 5/3/2016                                      86 (341 - 344)
                                    Agren Blando Court Reporting & Video, Inc.
                                                          Page 345                                                          Page 347
 1   STATE OF COLORADO)                                               1    AGREN BLANDO COURT REPORTING & VIDEO, INC.
                                                                           216 - 16th Street, Suite 600
 2               )   ss.   REPORTER'S CERTIFICATE                     2    Denver, Colorado 80202
                                                                           4450 Arapahoe Avenue, Suite 100
 3   COUNTY OF DENVER )                                               3    Boulder, Colorado 80303
 4          I, Kelly A. Mackereth, do hereby certify                  4
 5   that I am a Registered Professional Reporter and                 5
 6   Notary Public within the State of Colorado; that                 6               VIRGINIA GIUFFRE
                                                                                        May 3, 2016
 7   previous to the commencement of the examination, the             7               Giuffre v. Maxwell
                                                                                    Case No. 15-cv-07433-RWS
 8   deponent was duly sworn to testify to the truth.                 8
 9          I further certify that this deposition was                9
                                                                           The original videotaped deposition was filed with
10   taken in shorthand by me at the time and place herein           10
                                                                           Laura A. Menninger, Esq., on approximately the
11   set forth, that it was thereafter reduced to                    11
                                                                           11th day of May, 2016.
12   typewritten form, and that the foregoing constitutes            12
                                                                           _____ Signature waived.
13   a true and correct transcript.                                  13
                                                                           _____ Unsigned; signed signature page and
14          I further certify that I am not related to,              14       amendment sheets, if any, to be filed at
                                                                              trial.
15   employed by, nor of counsel for any of the parties or           15
                                                                           _____ Reading and signing not requested pursuant
16   attorneys herein, nor otherwise interested in the               16       to C.R.C.P. Rule 30(e).
17   result of the within action.                                    17    _XXX_ Unsigned; amendment sheets and/or signature
                                                                              pages should be forwarded to Agren Blando to
18          In witness whereof, I have affixed my                    18       be filed in the envelope attached to the
                                                                              sealed original.
19   signature this 11th day of May, 2016.                           19
20          My commission expires April 21, 2019.                    20
21                                                                   21    Thank you.
22              ____________________________                         22    AGREN BLANDO COURT REPORTING & VIDEO, INC.
                Kelly A. Mackereth, CRR, RPR, CSR
23              216 - 16th Street, Suite 600                         23    cc: All Counsel
                Denver, Colorado 80202
24                                                                   24
25                                                                   25

                                                          Page 346
 1   AGREN BLANDO COURT REPORTING & VIDEO, INC.
     216 - 16th Street, Suite 600                                                   - AMENDMENT SHEET -
 2   Denver, Colorado 80202
     4450 Arapahoe Avenue, Suite 100
 3   Boulder, Colorado 80303                                                 Videotaped Deposition of VIRGINIA GIUFFRE
                                                                                        May 3, 2016
 4   May 11, 2016                                                                    Giuffre v. Maxwell
                                                                                   Case No. 15-cv-07433-RWS
 5   Sigrid S. McCawley, Esq.
     BOIES, SCHILLER & FLEXNER LLP                                        The deponent wishes to make the following changes in
 6   401 East Las Olas Boulevard                                          the testimony as originally given:
     Suite 1200                                                           Page Line          Should Read       Reason
 7   Fort Lauderdale, FL 33301-2211                                       ____ ____ ______________________________ ______
 8   Re: Videotaped Deposition of VIRGINIA GIUFFRE                        ____ ____ ______________________________ ______
        Giuffre v. Maxwell
 9      Case No. 15-cv-07433-RWS                                          ____ ____ ______________________________ ______
10   The aforementioned deposition is ready for reading                   ____ ____ ______________________________ ______
     and signing. Please attend to this matter by
11   following BOTH of the items indicated below:                         ____ ____ ______________________________ ______
12   _____ Call 303-296-0017 and arrange with us to read                  ____ ____ ______________________________ ______
        and sign the deposition in our office.
13                                                                        ____ ____ ______________________________ ______
     _XXX_ Have the deponent read your copy and sign
14      the signature page and amendment sheets, if
        applicable; the signature page is attached.                       ____ ____ ______________________________ ______
15                                                                        ____ ____ ______________________________ ______
     _____ Read the enclosed copy of the deposition and
16      sign the signature page and amendment
        sheets, if applicable; the signature page is                      ____ ____ ______________________________ ______
17      attached.
                                                                          ____ ____ ______________________________ ______
18   _XXX_ WITHIN 30 DAYS OF THE DATE OF THIS LETTER
                                                                          ____ ____ ______________________________ ______
19   _____ By ______ due to a trial date of _______
                                                                          ____ ____ ______________________________ ______
20   Please be sure the original signature page and
     amendment sheets, if any, are SIGNED BEFORE A NOTARY                 Signature of Deponent: ____________________
21   PUBLIC and returned to Agren Blando for filing with
     the original deposition. A copy of these changes
22   should also be forwarded to counsel of record.                       Acknowledged before me this ____ day of
     Thank you.                                                           ______________, 2016.
23                                                                                 Notary's signature ________________
     AGREN BLANDO COURT REPORTING & VIDEO, INC.                           (seal)
24
                                                                                   My commission expires ____________.
25   cc: All Counsel

                                                       VIRGINIA GIUFFRE 5/3/2016                                         87 (345 - 348)
